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                   Exhibit 3
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                                                                          Page 1

  1
                      IN THE UNITED STATES DISTRICT COURT
  2                        FOR THE DISTRICT OF DELAWARE
  3
                                               - - -
  4
        MICROCHIP TECHNOLOGY      : C.A. No. 17-1194
  5     INCORPORATED,             :
                                  :
  6                 Plaintiff,    :
                                  :
  7               vs.             :
                                  :
  8     APTIV SERVICES US, LLC,   :
                                  :
  9               Defendant.      :
 10                             - - -
 11                    TRANSCRIPT OF PROCEEDINGS
 12                        CLOSING ARGUMENTS
 13                             VOLUME 6
 14                             - - -
 15              Date:  Wednesday, April 13, 2022
 16              Time:  8:35 a.m.
 17            Place:  J. Caleb Boggs Federal Building
                       844 N. King Street
 18                    Courtroom 6B
                       Wilmington, Delaware  19801
 19
 20           Before:       HONORABLE JOSHUA D. WOLSON, JUDGE
 21
        Reporter:        Rose A. Tamburri, RPR, CM, CRR
 22                      Notary Public of Delaware
                                       - - -
 23                           VERITEXT LEGAL SOLUTIONS
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                         Philadelphia, Pennsylvania  19103

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  1
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  1                                         I N D E X
  2
        WITNESS                                                               PAGE
  3
  4
        CLOSING ARGUMENTS
  5
  6           BY MR. SLAYDEN                                                    32
  7
              BY MS. DURIE
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   1                  (Whereupon, the Court commenced

   2    proceedings at 8:35 a.m.)

   3                  THE COURT CLERK:      All rise.                          08:23:14

   4    Honorable Joshua D. Wolson presiding.                                  08:23:20

   5                  THE COURT:     Good morning,                             08:23:33

   6    everybody.                                                             08:40:39

   7                  MR. SLAYDEN:     Good morning.                           08:40:39

   8                  MS. DURIE:     Good morning.                             08:40:41

   9                  THE COURT:     Have a seat, please.                      08:40:42

 10                   We have a few things to do this                          08:40:48

 11     morning before we get the jury in.          I think                    08:40:51

 12     from my standpoint, probably the first thing                           08:40:56

 13     we should do is probably the Rule 50 motions                           08:41:00

 14     and then we can tackle a couple of interior                            08:41:03

 15     issues that we flagged from last night.                                08:41:06

 16                   So let's start with Rule 50.         I                   08:41:09

 17     think it's a logical matter to let Ms. Durie                           08:41:19

 18     go first.    So, Ms. Durie, I'll hear from you                         08:41:22

 19     first.                                                                 08:41:25

 20                   MR. RUSSELL:     Your Honor, can I                       08:41:25

 21     raise one issue which is our evidentiary issue                         08:41:27

 22     we raised is actually limiting an argument                             08:41:29

 23     that they were going to present in their                               08:41:32

 24     Rule 50, so it might make more logical sense                           08:41:35


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   1    to address that first.                                                 08:41:37

   2                  THE COURT:     Well, you can just                        08:41:39

   3    argue it in response to the motion, if that's                          08:41:40

   4    okay, if you want to.       I know there's some                        08:41:44

   5    relationship --                                                        08:41:49

   6                  MS. DURIE:     If they were right,                       08:41:50

   7    which they're not, it could just be dismissed                          08:41:50

   8    in my motion.                                                          08:41:57

   9                  THE COURT:     I think that's kind of                    08:41:57

 10     where I am anyway, just to hear the basis for                          08:42:00

 11     the motion, argue the motion anyway.                                   08:42:01

 12                   MR. RUSSELL:     Thank you, Your                         08:42:05

 13     Honor.                                                                 08:42:06

 14                   MS. DURIE:     Thank you, Your Honor.                    08:42:06

 15                   Claim 23 of the '243 Patent, from                        08:42:10

 16     which claims 24 and 25 depend, requires two                            08:42:12

 17     hosts to share a single USB device block.           No                 08:42:14

 18     reasonable jury could find that the accused                            08:42:18

 19     dual role hub involves two hosts sharing a                             08:42:21

 20     single device block.       The evidence                                08:42:22

 21     demonstrates that, in Aptiv's solution, each                           08:42:25

 22     host interacts with and has independent access                         08:42:31

 23     to its own block; each host and each device is                         08:42:33

 24     on its own network; and each device provides a                         08:42:35


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   1    different function, rather than a shared                               08:42:38

   2    function, to its host.                                                 08:42:40

   3                   Microchip contends that claim 23                        08:42:41

   4    requires a multi-host device controller, but                           08:42:43

   5    no reasonable jury could find that the accused                         08:42:46

   6    dual role hub contains a multi-host                                    08:42:49

   7    controller.     The evidence demonstrates that                         08:42:51

   8    the dual role hub contains two separate device                         08:42:52

   9    controllers, each of which is controlled by a                          08:42:55

 10     single host.                                                           08:42:57

 11                    Claim 23 requires that the shared                       08:42:58

 12     device block be operable to be simultaneously                          08:42:59

 13     configured by two or more USB hosts.          No                       08:43:01

 14     reasonable jury could find that the accused                            08:43:04

 15     dual role hub meets this limitation.          The                      08:43:06

 16     evidence shows that, by design, one of the                             08:43:08

 17     devices must be configured after the other.                            08:43:11

 18                    No reasonable jury could find                           08:43:13

 19     sufficient evidence that Aptiv directly                                08:43:14

 20     infringed claims 23 to 25 by selling or                                08:43:16

 21     offering for sale the accused dual role hub.                           08:43:19

 22     There is no evidence that the dual role hub,                           08:43:22

 23     as sold by Aptiv to its customers, and before                          08:43:24

 24     it is connected to a head unit with the                                08:43:27


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   1    appropriate software, by its customers, can                            08:43:28

   2    meet certain limitations of claims 23 to 25.                           08:43:31

   3                  The evidence shows that the dual                         08:43:34

   4    role hub, as sold to Aptiv's customers, is                             08:43:36

   5    only capable of connecting to one host.           Thus,                08:43:39

   6    there exists no evidence that the dual role                            08:43:42

   7    hub has a shared USB device block operable to                          08:43:44

   8    be simultaneously configured by two or more                            08:43:47

   9    USB hosts, has a controller configured to                              08:43:48

 10     establish concurrent respective dedicated USB                          08:43:52

 11     connections between the shared USB device                              08:43:55

 12     block and the two or more hosts, or a                                  08:43:57

 13     controller that is operable to receive and                             08:43:59

 14     respond to simultaneous access requests sent                           08:44:02

 15     by the two or more USB hosts when it is sold                           08:44:05

 16     to Aptiv's customers.                                                  08:44:07

 17                   Claim 23 requires that the                               08:44:08

 18     controller be operable to receive and respond                          08:44:10

 19     to simultaneous respective USB access requests                         08:44:13

 20     sent by the two or more USB hosts for                                  08:44:16

 21     accessing a function of the shared USB device                          08:44:18

 22     block.   Even were there a shared USB device                           08:44:22

 23     block, which there is not, no reasonable jury                          08:44:25

 24     could find that a single function is shared by                         08:44:28


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   1     both USB hosts because each host sends an                              08:44:31

   2     access request for accessing a different                               08:44:34

   3     function.                                                              08:44:36

   4                    These are the reasons that the                          08:44:36

   5     Aptiv solution is USB compliant and the                                08:44:38

   6     patented solution is not.                                              08:44:41

   7                    No reasonable jury could fail to                        08:44:44

   8     find that claims 23 to 25 are obvious in view                          08:44:46

   9     of Dickens and Belkin/US-98 because it is                              08:44:52

  10     undisputed that the elements of those claims                           08:44:55

  11     are disclosed by that combination of prior                             08:44:57

  12     art, and no reasonable jury could fail to find                         08:44:59

  13     a motivation to combine the prior art where it                         08:45:01

  14     is undisputed that such elements are necessary                         08:45:02

  15     to support the claimed function.                                       08:45:04

  16                    No reasonable jury could fail to                        08:45:09

  17     find claims 23 to 25 invalid for a failure to                          08:45:10

  18     enable or describe the full scope of the                               08:45:13

  19     claimed invention because the only method of                           08:45:16

  20     allowing two devices to share a single device                          08:45:18

  21     block discussed in the '243 Patent is                                  08:45:21

  22     arbitration.                                                           08:45:23

  23                    Moreover, a person of skill in the                      08:45:24

  24     art would recognize that the inventors did not                         08:45:25


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   1     possess a way to share a single device without                        08:45:29

   2     arbitration.     For the same reasons, if claims                      08:45:32

   3     23 to 25 cover a shared USB device without an                         08:45:35

   4     arbitration mechanism, the patent is not                              08:45:38

   5     enabled because no reasonable jury could find                         08:45:39

   6     a person of skill in the art could implement                          08:45:42

   7     such an invention given the '243 Patent's                             08:45:43

   8     disclosure, nor does the specification show                           08:45:45

   9     possession of any multi-host device controller                        08:45:47

  10     that permits simultaneous use of the device                           08:45:49

  11     function by both hosts or that enables any                            08:45:51

  12     host-to-host functionality.                                           08:45:54

  13                    And that latter argument is true                       08:45:55

  14     with respect to both written description and                          08:46:00

  15     enablement, the lack of disclosure and                                08:46:02

  16     enabling disclosure from host-to-host                                 08:46:04

  17     functionality.                                                        08:46:07

  18                    No reasonable jury could find                          08:46:07

  19     direct infringement to award damages under                            08:46:08

  20     Microchip's damages theories because Microchip                        08:46:11

  21     failed to present evidence that any of the                            08:46:13

  22     dual role hubs sold by Aptiv were directly                            08:46:16

  23     infringing, and Microchip did not proffer any                         08:46:18

  24     damages theory based on any allegedly                                 08:46:21


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   1     infringing acts other than sales of the dual                          08:46:23

   2     role hub.                                                             08:46:25

   3                  No reasonable jury could award                           08:46:26

   4     lost profits because Microchip failed to                              08:46:28

   5     present evidence of the profits allegedly lost                        08:46:30

   6     by the patent holding entity, Microchip                               08:46:31

   7     Technology, Inc.; and no reasonable jury could                        08:46:35

   8     find that Aptiv willfully infringed claims 23                         08:46:36

   9     to 25 of the '243 Patent based on the evidence                        08:46:39

  10     presented.                                                            08:46:42

  11                  Thank you, Your Honor.                                   08:46:42

  12                  MR. GRAY:     Thank you, Your Honor.                     08:46:45

  13                  I am not sure what level of detail                       08:46:53

  14     you'd like in opposition.       There is one                          08:46:54

  15     primary issue that is the issue we emailed                            08:46:58

  16     about last night that did fall into the                               08:47:02

  17     infringement bucket of what we just heard.                            08:47:03

  18                  As I was trying to quickly write                         08:47:06

  19     these down, I believe the first three                                 08:47:08

  20     arguments that Ms. Durie made is that two                             08:47:11

  21     hosts don't share a single device block, there                        08:47:13

  22     is no multi-host device controller -- well, at                        08:47:15

  23     least those two relate to the Device A/Device                         08:47:19

  24     B dispute on which the parties have both                              08:47:22


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   1     presented evidence, including through                                 08:47:24

   2     cross-examination of Mr. Garney yesterday,                            08:47:27

   3     showing that the EP Bridge within the Boston                          08:47:29

   4     chip contains components that satisfy each of                         08:47:34

   5     the claim limitations, and therefore, that                            08:47:37

   6     issue should go to the jury.                                          08:47:39

   7                    The same with the invalidity                           08:47:43

   8     issues of obviousness, enablement and written                         08:47:46

   9     description.     We will affirmatively move on                        08:47:49

  10     those issues as well, but clearly there is                            08:47:51

  11     evidence to support the -- that Aptiv has not                         08:47:54

  12     met its burden by clear and convincing                                08:47:59

  13     evidence on those issues.                                             08:48:01

  14                    Now, to address the selling and                        08:48:03

  15     offering to sell doesn't infringe claim 23 --                         08:48:07

  16     and I apologize in advance for this because                           08:48:12

  17     some context is necessary to understand this                          08:48:15

  18     argument.                                                             08:48:17

  19                    During discovery, Microchip served                     08:48:18

  20     interrogatories asking for the complete                               08:48:20

  21     factual basis for Aptiv's contention of                               08:48:22

  22     non-infringement, and nothing about this issue                        08:48:25

  23     was ever disclosed.      This first came to our                       08:48:27

  24     attention, we sort of smelled it on Monday,                           08:48:29


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   1     and we discussed that in the charge                                   08:48:32

   2     conference, that there was an issue about use.                        08:48:34

   3                  Claims 23 through 25 are device                          08:48:37

   4     claims; they are not method claims that have                          08:48:39

   5     to be performed.     They are components or                           08:48:41

   6     functionality within the chip as sold.           And                  08:48:43

   7     what I think we are hearing, and it hasn't                            08:48:48

   8     been fully explained yet, is that because --                          08:48:50

   9     what we did hear just now is that software                            08:48:53

  10     from the head unit must be installed on the                           08:48:56

  11     chip before the second device can be                                  08:48:59

  12     connected.                                                            08:49:01

  13                  Now, this goes back to the fact                          08:49:02

  14     that claim 23 is a comprising claim, so                               08:49:03

  15     additional elements can be used to, you                               08:49:06

  16     know -- in addition to what's claimed, but                            08:49:11

  17     that doesn't mean that the configured to or                           08:49:13

  18     operable to language means on its own, it has                         08:49:15

  19     to be in that state, and so -- or capable of                          08:49:18

  20     becoming in that state on its own.                                    08:49:23

  21                  We believe that if Aptiv had                             08:49:25

  22     disclosed this theory, there would have been a                        08:49:28

  23     clear dispute of claim scope that we could                            08:49:30

  24     have become aware of before two days ago, and                         08:49:33


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   1     that issue would have been raised to the Court                        08:49:35

   2     and it would have needed to have been resolved                        08:49:37

   3     under 02 Micro.                                                       08:49:39

   4                   The jury is not supposed to hear                        08:49:41

   5     arguments over claim scope.        Disputes over                      08:49:44

   6     claim construction must be raised ahead of                            08:49:45

   7     time and non-infringement positions must be                           08:49:48

   8     disclosed when specifically asked during                              08:49:50

   9     discovery.                                                            08:49:52

  10                   So what I think we are about to                         08:49:52

  11     hear for the very first time, and it didn't                           08:49:54

  12     come out of Mr. Garney's mouth, I think we are                        08:49:56

  13     going to hear Ms. Durie make a brand new                              08:49:58

  14     non-infringement argument that we never knew                          08:50:02

  15     about before two days ago based on a                                  08:50:04

  16     construction of the claims that should have                           08:50:06

  17     been raised much earlier.                                             08:50:07

  18                   MS. DURIE:    May I respond just to                     08:50:09

  19     that point?                                                           08:50:10

  20                   THE COURT:    Yes.                                      08:50:10

  21                   MS. DURIE:    So a couple points,                       08:50:11

  22     Your Honor.    First, the Complaint in this case                      08:50:12

  23     contended that Delphi directly infringed the                          08:50:16

  24     patent through using and/or testing.          This is                 08:50:21


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   1     at paragraph 48 of the Complaint.         And that                    08:50:24

   2     Delphi's customers directly infringed -- this                         08:50:27

   3     is paragraph 49 -- by making, using, selling,                         08:50:31

   4     offering to sell and/or use the device.                               08:50:34

   5                  So the Complaint contended using                         08:50:36

   6     and testing as the active direct infringement                         08:50:40

   7     by Delphi and an indirect infringement case                           08:50:46

   8     with respect to our customers.         They dropped                   08:50:49

   9     the indirect infringement case right on the                           08:50:51

  10     eve of trial.    That left only the direct                            08:50:54

  11     infringement case which, as pled, was only                            08:50:56

  12     directed to our use and testing.                                      08:50:59

  13                  Two, in our interrogatory response                       08:51:01

  14     on infringement, we said, "When an iPhone that                        08:51:04

  15     has CarPlay enabled is attached to the dual                           08:51:08

  16     role hub, it does not and cannot serve as a                           08:51:12

  17     USB host automatically just at that moment.                           08:51:14

  18     First, it must go through the process of being                        08:51:18

  19     enumerated as a peripheral device.                                    08:51:20

  20                  "The head unit initially                                 08:51:23

  21     enumerates the iPhone as a USB device.           Such                 08:51:26

  22     enumeration is independent of and does not                            08:51:30

  23     involve the host-to-host bridge," which is                            08:51:33

  24     precisely our point.                                                  08:51:37


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   1                  This issue only came to light as                         08:51:39

   2     being significant when two things happened;                           08:51:43

   3     one, they dropped their indirect infringement                         08:51:47

   4     case; and two, they presented a damages case                          08:51:49

   5     that was only tethered to sales of the accused                        08:51:53

   6     products and that did not articulate any                              08:51:56

   7     damages theory that would link Aptiv's use or                         08:52:00

   8     testing to any cognizable measure of damages.                         08:52:03

   9                  So that is -- that is the basis                          08:52:06

  10     for the Rule 50 motion.                                               08:52:08

  11                  THE COURT:     All right.                                08:52:09

  12                  Let me -- on the disclosure issue,                       08:52:13

  13     what was the interrogatory to which that                              08:52:17

  14     response was made?                                                    08:52:19

  15                  MR. GRAY:     I have copies, Your                        08:52:21

  16     Honor, if you'd like me to pass them up.                              08:52:22

  17                  MS. DURIE:     The interrogatory was,                    08:52:24

  18     "State the entire factual basis, including all                        08:52:25

  19     facts and documents, for your contention that                         08:52:28

  20     you have not infringed any claim in the                               08:52:30

  21     asserted patents."                                                    08:52:31

  22                  THE COURT:     So, and that's -- Mr.                     08:52:35

  23     Gray, you agree that that's the interrogatory                         08:52:40

  24     that's at issue, Interrogatory No. 3, it looks                        08:52:45


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   1     like, in the set you just handed up to me?                            08:52:47

   2                    MR. GRAY:    Correct, Your Honor.                      08:52:50

   3                    MS. DURIE:    And the relevant                         08:52:51

   4     language that I read for Your Honor is at                             08:52:52

   5     page 11, numbered paragraph 5.                                        08:52:55

   6                    I would note, at the time that                         08:53:01

   7     this interrogatory response was propounded, it                        08:53:05

   8     wasn't actually a factual basis for why we                            08:53:10

   9     didn't infringe because of the indirect                               08:53:13

  10     infringement allegations; in other words, at                          08:53:14

  11     that point in time, this would not have been a                        08:53:17

  12     defense because of the indirect infringement                          08:53:19

  13     allegations, but we did, nevertheless, lay                            08:53:21

  14     out, as a factual matter, what is the factual                         08:53:24

  15     predicate for our arguments today.                                    08:53:27

  16                    MR. GRAY:    And to be clear, Your                     08:53:38

  17     Honor, direct infringement was alleged at that                        08:53:39

  18     same point in time.                                                   08:53:42

  19                    THE COURT:    Right.    I understand                   08:53:43

  20     that it was.                                                          08:53:44

  21                    (Brief pause.)                                         08:53:48

  22                    THE COURT:    Okay.                                    08:54:14

  23                    From a disclosure standpoint, I                        08:54:18

  24     think this interrogatory response is                                  08:54:22


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   1     sufficient.    I mean, it doesn't outright say,                       08:54:24

   2     therefore, we don't directly infringe, it                             08:54:31

   3     doesn't have that conclusory statement, but it                        08:54:34

   4     lays out a factual predicate for a                                    08:54:36

   5     non-infringement argument, and so I think that                        08:54:39

   6     that's sufficient.                                                    08:54:44

   7                   As far as the scope issue goes, I                       08:54:46

   8     mean, Mr. Gray, I am looking at the Complaint                         08:54:58

   9     now.   It's paragraph 48, I see it.         It does                   08:55:06

  10     say at least for using and/or testing the                             08:55:13

  11     Delphi dual role hub.      I assume there was                         08:55:18

  12     discovery on this as well; I would be                                 08:55:20

  13     surprised if there wasn't.                                            08:55:22

  14                   MS. DURIE:    Sure.                                     08:55:24

  15                   THE COURT:    And so what did                           08:55:25

  16     Microchip say in discovery to explain the                             08:55:26

  17     basis for its direct infringement claim?           Do                 08:55:31

  18     you have that?                                                        08:55:36

  19                   MR. GRAY:    We are going to find                       08:55:41

  20     that interrogatory response now.         I do know                    08:55:43

  21     that the infringement expert reports and                              08:55:46

  22     damages reports, as disclosed, were based on,                         08:55:47

  23     you know, the sales of the device as claimed.                         08:55:50

  24                   And one thing that's odd here that                      08:55:55


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   1     I don't quite understand still is the basis                            08:55:57

   2     for the 50A motion we just heard is that                               08:56:00

   3     selling and offering for sale doesn't                                  08:56:03

   4     infringe.    This is a phase device claim.                             08:56:06

   5     That's how device claims are infringed.                                08:56:10

   6                    It sounds like Aptiv is attempting                      08:56:12

   7     to convert this into a method claim, which,                            08:56:14

   8     for method claims, that's correct, the sale of                         08:56:16

   9     a device doesn't infringe a method                                     08:56:19

  10     necessarily.     But this is a device claim and a                      08:56:21

  11     sale of a device.                                                      08:56:24

  12                    THE COURT:    Well, it is almost --                     08:56:25

  13     I mean, that's, I guess, partly why it is a                            08:56:26

  14     Rule 50 motion, is the idea that it could                              08:56:29

  15     never infringe because of the nature of the                            08:56:31

  16     product.                                                               08:56:33

  17                    MS. DURIE:    Let me be clear.                          08:56:34

  18                    MR. GRAY:    I'm sorry, let me just                     08:56:35

  19     finish one point.                                                      08:56:37

  20                    THE COURT:    Yes.                                      08:56:38

  21                    MR. GRAY:    And that's that what                       08:56:38

  22     this appears to be is a concealed claim                                08:56:40

  23     construction argument over the term                                    08:56:43

  24     "configured to" or "operable to."          And what                    08:56:45


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   1     Aptiv is trying to say is that configured to                          08:56:48

   2     has a very narrow meaning, that it must be                            08:56:50

   3     configured or enumerated as defined in the USB                        08:56:53

   4     specification, right?      So that's a narrower                       08:56:57

   5     claim than plain -- narrower construction than                        08:56:59

   6     plain ordinary meaning.                                               08:57:02

   7                  And during claim construction,                           08:57:03

   8     Aptiv did propose several constructions where                         08:57:05

   9     they were trying to define the claim terms                            08:57:08

  10     under the USB specification and the Court                             08:57:11

  11     rejected those arguments.       And so this is just                   08:57:14

  12     a runaround of that, in our view.                                     08:57:18

  13                  MS. DURIE:     Let me be clear about                     08:57:20

  14     what the argument is.      The argument is that                       08:57:22

  15     the device, as sold, does not meet each of the                        08:57:24

  16     claim limitations.     It is not about a method                       08:57:27

  17     claim, it is a device claim, but the argument                         08:57:30

  18     is about the characteristics of that device.                          08:57:32

  19                  The distinction that was drawn,                          08:57:34

  20     and I get that the language in the Complaint                          08:57:36

  21     was open-ended, but the distinction the                               08:57:38

  22     Complaint was drawing in paragraphs 48 and 49                         08:57:41

  23     is precisely this distinction.         So it should                   08:57:43

  24     not have come as any surprise, direct                                 08:57:46


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   1     infringement predicated on use or testing                             08:57:48

   2     because that additional software is required                          08:57:52

   3     in order for the device to infringe; and then                         08:57:55

   4     an indirect infringement claim based on the                           08:57:58

   5     device after it has been configured by                                08:58:03

   6     customers on the theory that that device would                        08:58:05

   7     then directly infringe.       And that Aptiv would                    08:58:08

   8     have been liable for contributing to or                               08:58:11

   9     inducing that infringement by selling the chip                        08:58:13

  10     to its customers.                                                     08:58:16

  11                  But the argument, to be very                             08:58:18

  12     clear, is the capabilities of the chip.                               08:58:20

  13                  Now, this is not a sandbagging                           08:58:22

  14     issue.   This was in the Complaint.         I mean,                   08:58:24

  15     this is what we always understood the precise                         08:58:26

  16     distinction that the Complaint was drawing.                           08:58:28

  17                  And the language of the claim is                         08:58:32

  18     clear that the controller has to be configured                        08:58:34

  19     with certain capabilities and has to be                               08:58:37

  20     operable to receive and respond to                                    08:58:40

  21     simultaneous access requests sent by two                              08:58:43

  22     hosts.   And it simply is not operable to do                          08:58:45

  23     that until the configuration has happened                             08:58:49

  24     allowing it to interact with two hosts.                               08:58:52


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   1                    MR. GRAY:    I have just been                          08:58:58

   2     informed, Your Honor, that our initial                                08:58:59

   3     infringement conditions did spell out making,                         08:59:01

   4     using, selling, offering for sale as acts of                          08:59:04

   5     infringement.                                                         08:59:07

   6                    THE COURT:    So that's the                            08:59:07

   7     contention.     I take it the contentions are                         08:59:10

   8     listed in the docket; right?                                          08:59:14

   9                    MS. DURIE:    And I would say,                         08:59:15

  10     that's fine.     I mean, we are not arguing that                      08:59:17

  11     they are precluded by virtue of the language                          08:59:19

  12     in the Complaint for making that direct                               08:59:21

  13     infringement argument.                                                08:59:24

  14                    THE COURT:    Wait, you were asking                    08:59:25

  15     in the Rule 50 rule --                                                08:59:27

  16                    MS. DURIE:    Well, what they needed                   08:59:28

  17     -- I mean, my point is not that something in                          08:59:30

  18     their discovery responses should have caused                          08:59:31

  19     them to have forfeited such an argument.           My                 08:59:33

  20     point is the evidence that they presented does                        08:59:36

  21     not establish that the device, as sold,                               08:59:39

  22     indirectly is infringing because it's not.                            08:59:41

  23                    THE COURT:    Okay.                                    08:59:44

  24                    MS. DURIE:    They made a decision                     08:59:45


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   1     to drop their indirect infringement claim.                            08:59:46

   2     They may now regret that, but that is what it                         08:59:48

   3     is.                                                                   08:59:51

   4                  THE COURT:     Okay.    All right.                       08:59:51

   5                  I am not going to preclude Aptiv                         08:59:52

   6     from making the argument.       You know, look, I                     08:59:54

   7     have instructed the jury about how to construe                        09:00:02

   8     the language that is not subject to claim                             09:00:07

   9     construction opinion.      So at least for now,                       09:00:12

  10     I'll let the argument go and, you know, they                          09:00:14

  11     can argue that that is a plain and ordinary                           09:00:17

  12     reading of the language of the statute -- I'm                         09:00:20

  13     sorry, of the claim.      And the jury will decide                    09:00:25

  14     if they agree with that or not.                                       09:00:31

  15                  And then I'll -- as for the                              09:00:33

  16     Rule 50 motions, I will reserve for now.           All                09:00:35

  17     right.                                                                09:00:35

  18                  Do you want to say something?                            09:00:39

  19                  MR. RUSSELL:      Microchip moves,                       09:00:46

  20     under Rule 50, for judgment as a matter of law                        09:00:48

  21     of infringement, willfulness, damages of                              09:00:50

  22     $84.4 million and no invalidity.                                      09:00:53

  23                  As to infringement, no reasonable                        09:00:56

  24     jury could find that the accused Boston chip                          09:00:57


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   1     and Aptiv's accused dual role hub product does                        09:01:01

   2     not meet all elements of claim 23, 24 and 25,                         09:01:04

   3     or that Aptiv's sale of the dual role hub does                        09:01:07

   4     not constitute an act of infringement under                           09:01:10

   5     claims 23, 24 and 25.                                                 09:01:13

   6                    On damages, Microchip presented                        09:01:14

   7     evidence at trial that Microchip -- from which                        09:01:17

   8     a reasonable jury must find that Microchip is                         09:01:21

   9     entitled to damages for sales of at least                             09:01:22

  10     44,927,401 units of the accused Boston chip.                          09:01:25

  11     Of those, Microchip is entitled to lost                               09:01:31

  12     profits damages for REDACTED         units of                         09:01:34

  13     Aptiv's accused sales at a rate of        REDACTED   per              09:01:39

  14     unit, for a total damages number of                                   09:01:45

  15     $70,862,439.     And Aptiv failed to carry its                        09:01:49

  16     burden to show that Microchip's but-for                               09:01:54

  17     causation claim is unreasonable for any of the                        09:01:57

  18     sales for which Microchip's -- through which                          09:01:58

  19     Microchip claims lost profits.                                        09:02:02

  20                    Microchip also presented evidence                      09:02:04

  21     at trial from which a reasonable jury must                            09:02:07

  22     find that Microchip is entitled to a                                  09:02:10

  23     reasonable royalty for at least                                       09:02:12

  24    REDACTED    units of Aptiv accused sales at a                          09:02:14


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   1     rate of $1.40 per accused sale, for a total of                         09:02:18

   2    REDACTED       in reasonable royalty.                                   09:02:22

   3                   The evidence presented at trial                          09:02:28

   4     showed that the total damages -- that the jury                         09:02:31

   5     must find that the total damages award is                              09:02:33

   6     $84.4 million, and Aptiv failed to rebut any                           09:02:36

   7     of Dr. Becker's damages or lost profit --                              09:02:39

   8     damages points on lost profits or reasonable                           09:02:47

   9     royalty.                                                               09:02:51

  10                   On willfulness, Microchip is                             09:02:52

  11     entitled to a judgment of lawful infringement                          09:02:53

  12     based on the evidence presented and no                                 09:02:57

  13     reasonable jury could find otherwise.                                  09:02:59

  14                   On invalidity, no reasonable jury                        09:03:00

  15     could find invalidity of the '243 Patent.                              09:03:03

  16     They failed to show that, by clear and                                 09:03:07

  17     convincing evidence, that the patent is                                09:03:10

  18     obvious in light of a combination of the                               09:03:11

  19     Dickens reference and Belkin, or the Dickens                           09:03:14

  20     reference and US-98, in part, because, number                          09:03:16

  21     one, the elements don't meet the combination                           09:03:22

  22     and the -- the combination does not meet all                           09:03:24

  23     of the elements of the claims and the physical                         09:03:26

  24     prior devices are not prior art.          Moreover,                    09:03:28


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   1     they didn't show any motivation to combine.                           09:03:31

   2                  On enablement, no reasonable jury                        09:03:35

   3     could find the lack of enablement because the                         09:03:38

   4     patent is not required to enable the accused                          09:03:40

   5     product, nor is it required to enable                                 09:03:42

   6     host-to-host communications.        It enabled --                     09:03:44

   7     they failed to show that the patent did not                           09:03:48

   8     enable the full scope of the claims and their                         09:03:51

   9     argument on enablement is legally erroneous.                          09:03:53

  10                  On written description, Aptiv                            09:03:56

  11     failed to show that the patent failed to                              09:03:58

  12     describe the full scope of the claims.           The                  09:04:02

  13     patent describes each and every limitation of                         09:04:04

  14     claims 23, 24 and 25.      There is no requirement                    09:04:07

  15     to describe host-to-host communication, and                           09:04:12

  16     Aptiv's written description argument is                               09:04:15

  17     legally erroneous.                                                    09:04:17

  18                  THE COURT:     Okay.    All right.                       09:04:19

  19                  That's really, in many respects,                         09:04:23

  20     the inverse of the motion I just heard, and so                        09:04:25

  21     I will reserve on that one as well and decide                         09:04:29

  22     all at one time, so I'll just keep this in                            09:04:33

  23     mind.                                                                 09:04:33

  24                  And then I know there was one more                       09:04:37


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   1     issue to tackle, right?                                               09:04:39

   2                   MR. RUSSELL:     Your Honor, the                        09:04:43

   3     issue of the photographs has been resolved.                           09:04:44

   4                   THE COURT:     Oh, it has.                              09:04:46

   5                   MR. WIENER:     There is one other                      09:04:48

   6     issue we'd like to raise with Your Honor.                             09:04:49

   7                   THE COURT:     Okay.                                    09:04:51

   8                   MR. WIENER:     And this came to                        09:04:51

   9     light as a result of meeting and conferring                           09:04:52

  10     with the other side after the email they sent                         09:04:54

  11     last night.    We believe --                                          09:04:57

  12                   THE COURT:     Can you just move                        09:04:59

  13     closer to the microphone you have there?           It                 09:05:00

  14     is a little hard to hear.                                             09:05:03

  15                   MR. WIENER:     Absolutely.                             09:05:05

  16                   Your Honor, Aptiv would ask that                        09:05:09

  17     Microchip be precluded in their closing                               09:05:11

  18     arguments from arguing that Aptiv's supposed                          09:05:14

  19     willful infringement was based on any bases                           09:05:19

  20     other than the fact that Aptiv continued to                           09:05:22

  21     sell the dual role hub after the January 2015                         09:05:24

  22     notice letter, or the second bases being that                         09:05:28

  23     it filed IPRs that did not successfully                               09:05:32

  24     invalidate all of the claims.                                         09:05:36


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   1                  Those were the two bases that                            09:05:38

   2     Microchip provided in response to an                                  09:05:39

   3     interrogatory seeking the entire factual basis                        09:05:41

   4     for your contention that defendant's alleged                          09:05:43

   5     infringement has been willful.                                        09:05:46

   6                  We believe, based on the                                 09:05:49

   7     cross-examination of Mr. Rob Voto, that                               09:05:50

   8     Microchip intends to stand up and tell the                            09:05:53

   9     jury that as a result of Mr. Voto's pre-suit                          09:05:56

  10     patent investigations, that those facts                               09:05:58

  11     somehow support a finding of willfulness.                             09:06:00

  12                  Setting aside whether that could                         09:06:03

  13     ever support the finding of willfulness, that                         09:06:04

  14     was not one of the factual bases that they                            09:06:06

  15     identified in their interrogatory response,                           09:06:08

  16     and so we would ask for two things:                                   09:06:10

  17                  First, that they not make that                           09:06:12

  18     argument to the jury that those facts somehow                         09:06:14

  19     support willfulness; and second, if they can't                        09:06:17

  20     use those facts for willfulness, it's our                             09:06:20

  21     position that those facts, the pre-suit                               09:06:22

  22     investigation by Mr. Voto, are not relevant to                        09:06:24

  23     any remaining issues in the case and would be                         09:06:27

  24     highly prejudicial because they are going to                          09:06:29


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   1     imply that by not doing some sort of patent                           09:06:31

   2     analysis or investigation, Mr. Voto was being                         09:06:34

   3     improperly diligent in his search.                                    09:06:37

   4                  And so those are the two requests                        09:06:40

   5     we would have as they pertain to Microchip's                          09:06:42

   6     closing argument.                                                     09:06:44

   7                  THE COURT:     Well, I'm not sure                        09:06:44

   8     what the distinction is between the two                               09:06:46

   9     requests.   The first one is to say to me that,                       09:06:48

  10     you know, they shouldn't be allowed to argue                          09:06:52

  11     it, and I understand the request, but what's                          09:06:55

  12     the second request?                                                   09:06:58

  13                  MR. WIENER:      The second request                      09:06:59

  14     would be even if you grant that request, that                         09:07:01

  15     they can't explicitly tell the jury that the                          09:07:02

  16     infringement or alleged infringement was                              09:07:06

  17     willful because of this, that they also not                           09:07:08

  18     even be able to mention those facts as part of                        09:07:10

  19     a story line or chronology suggesting that                            09:07:12

  20     it's willful, even if they don't say those                            09:07:17

  21     words.                                                                09:07:19

  22                  Those facts really have nothing to                       09:07:19

  23     do with anything else in the case and that we                         09:07:21

  24     believe are excludable under 403 under that                           09:07:23


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   1     basis.                                                                 09:07:27

   2                    THE COURT:     Okay.                                    09:07:27

   3                    Well, I'll hear argument on it as                       09:07:29

   4     to the first request.       The second request is,                     09:07:32

   5     I guess, additional to the first request, but                          09:07:36

   6     I am not going to go as far as the second                              09:07:38

   7     request.     I mean, the facts came into                               09:07:39

   8     evidence.                                                              09:07:41

   9                    MS. DURIE:     Your Honor --                            09:07:42

  10                    THE COURT:     Yes, there was an                        09:07:43

  11     objection.     I don't know that I could then                          09:07:45

  12     just tell the jury to disregard the testimony,                         09:07:46

  13     which I am not going to do at this late point.                         09:07:49

  14     I think that ship has sailed.                                          09:07:51

  15                    But I'm certainly okay to hear the                      09:07:54

  16     argument on the first request.          Is that you,                   09:07:58

  17     Mr. Russell?                                                           09:08:00

  18                    MR. RUSSELL:     Yes.                                   09:08:01

  19                    So first of all, it's moot because                      09:08:02

  20     we are not planning on making those arguments                          09:08:04

  21     in the closing.      Mr. Voto's testimony is                           09:08:06

  22     relevant to various things that Aptiv has put                          09:08:09

  23     in issue and that have been in issue,                                  09:08:12

  24     including infringement, and Mr. Voto's                                 09:08:14


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   1     testimony may come up for other subjects, but                         09:08:17

   2     we are not planning to make this willfulness                          09:08:19

   3     argument that they are talking about in                               09:08:22

   4     closings.                                                             09:08:24

   5                    THE COURT:     Okay.     All right.                    09:08:24

   6     That's fine.     Then, so it won't make it an                         09:08:25

   7     issue, you know, and we'll go from.                                   09:08:29

   8                    MR. RUSSELL:     And one other thing                   09:08:33

   9     I wanted to put on the record actually, Your                          09:08:34

  10     Honor, just to avoid any question of waiver,                          09:08:37

  11     we did disclose the argument under Rule 26E,                          09:08:39

  12     not necessarily in supplemental responses, but                        09:08:42

  13     throughout the case.                                                  09:08:44

  14                    THE COURT:     Yeah.     Okay.   All                   09:08:46

  15     right.   I think that's everything.                                   09:08:48

  16                    Mr. Koehler, do you want to bring                      09:08:50

  17     the jury in?                                                          09:08:52

  18                    MR. GRAY:    Your Honor, can I make                    09:08:53

  19     one point of clarification?           I think this is                 09:08:55

  20     abundantly clear, but because we started                              09:08:57

  21     talking about the issue on non-infringement, I                        09:08:59

  22     didn't discuss damages at all in our                                  09:09:02

  23     opposition.     Obviously Microchip disputes all                      09:09:04

  24     of those remarks.                                                     09:09:06


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   1                   THE COURT:     I think you have made                     09:09:07

   2     clear, even just by virtue of your own                                 09:09:08

   3     counter-motion, that you are not in agreement.                         09:09:11

   4     I am not deeming anything as conceded on                               09:09:13

   5     Rule 50.                                                               09:09:18

   6                   MR. GRAY:     Thank you, Your Honor.                     09:09:18

   7                   (Whereupon, the jury entered the                         09:09:19

   8     courtroom.)                                                            09:09:31

   9                   THE COURT:     All right.      Everybody                 09:10:55

  10     can have a seat.                                                       09:10:56

  11                   All right.     Good morning,                             09:10:58

  12     everybody.    So, as I told you yesterday as we                        09:10:59

  13     wrapped up the instructions, we are going to                           09:11:03

  14     hear closing arguments this morning.           It is a                 09:11:06

  15     chance for each party to sum up its positions                          09:11:08

  16     in the case and tell you why they think you                            09:11:10

  17     should find in their favor.                                            09:11:13

  18                   So, Mr. Slayden, the floor is                            09:11:14

  19     yours.                                                                 09:11:16

  20                   MR. SLAYDEN:      Good morning, ladies                   09:11:31

  21     and gentlemen.     Before I start, I would like                        09:11:34

  22     to sincerely thank you for your time and                               09:11:37

  23     attention in this matter.        It is an important                    09:11:39

  24     matter to us and I know you've taken a lot of                          09:11:42


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   1     time out of your personal lives to be here,                           09:11:45

   2     some hardship for some in terms of being able                         09:11:47

   3     to pick up kids, so I want to thank you, my                           09:11:50

   4     team wants to thank you for your attention                            09:11:54

   5     during this case, and it didn't go unnoticed                          09:11:56

   6     that you all paid a lot of attention to the                           09:11:58

   7     matter.                                                               09:12:00

   8                  Also, my clients, Mr. Obolsky, Mr.                       09:12:01

   9     Ghosh and Mr. Bohm would also like me to thank                        09:12:08

  10     you for your attention to this matter.           It is                09:12:11

  11     a very important matter to them and they noted                        09:12:13

  12     that you took this matter seriously and paid                          09:12:16

  13     really good attention, and so we thank you for                        09:12:18

  14     your attention.                                                       09:12:21

  15                  And it goes to the point of we                           09:12:24

  16     have the best judicial system in the world and                        09:12:26

  17     it starts with you, the jury.        It is not                        09:12:30

  18     replicated anywhere else.       And so again, you                     09:12:37

  19     are the most important part of this process                           09:12:40

  20     and we thank you.                                                     09:12:42

  21                  Now, this morning I have been                            09:12:43

  22     given a lot of time to speak to you, and I was                        09:12:48

  23     thinking about if I were you, what would I                            09:12:50

  24     want to hear today.      And I guess the first                        09:12:53


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   1     issue came down that I would probably think                           09:12:57

   2     about each party, and I wouldn't necessarily                          09:13:04

   3     want to hear a lot of attorney argument.                              09:13:05

   4                  You've heard the witnesses, you've                       09:13:08

   5     seen the documents, you will have the exhibits                        09:13:10

   6     to look at and you can make your                                      09:13:13

   7     determination.                                                        09:13:16

   8                  I will point out a few things to                         09:13:16

   9     hopefully helpfully guide you in that process,                        09:13:18

  10     but I will not use my entire hour-and-a-half                          09:13:21

  11     telling you what you should do.         But I will                    09:13:25

  12     point out a few evidentiary points and some                           09:13:27

  13     documents that I think will help you.                                 09:13:30

  14                  And I was thinking about it from                         09:13:32

  15     your perspective.     I was wondering how do I                        09:13:35

  16     make this decision and what can I rely upon.                          09:13:40

  17     I mean, a lot of witnesses, we have paid                              09:13:45

  18     experts, everybody had paid experts, we had                           09:13:47

  19     corporate witnesses that have a vested                                09:13:50

  20     interest in the case, and so where would I                            09:13:52

  21     look?   Where could I find that most reliable                         09:13:54

  22     evidence?                                                             09:13:58

  23                  And I thought about it, and it                           09:14:02

  24     seems to me that the most reliable evidence                           09:14:04


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   1     that I saw in this case that, if I was in your                        09:14:06

   2     shoes, is pre-litigation documents from the                           09:14:09

   3     companies, themselves.                                                09:14:16

   4                  And why do I say that?         Well,                     09:14:18

   5     those documents contain the statements and                            09:14:20

   6     information that aren't tainted by litigation                         09:14:23

   7     environment where people change their stories                         09:14:28

   8     to fit a narrative that fits their case.            They              09:14:31

   9     seem to be more pure.      They were just, at the                     09:14:35

  10     time, just facts, and they can't be                                   09:14:39

  11     manipulated now.                                                      09:14:44

  12                  The testimony can be manipulated,                        09:14:45

  13     documents that lead closer and closer to the                          09:14:47

  14     dispute; remember the dispute started around                          09:14:50

  15     2015 when Microchip sent a notice letter.            At               09:14:53

  16     that point in time, and right before that,                            09:14:57

  17     they were having arguments with our customer,                         09:15:02

  18     things started to change and the narrative                            09:15:05

  19     started to change.                                                    09:15:06

  20                  So I would encourage you and I                           09:15:07

  21     will point out a couple documents that we went                        09:15:09

  22     over here in the case, that I think, in                               09:15:12

  23     particular on the infringement issue of what                          09:15:13

  24     is a bridge device, how many devices it is,                           09:15:15


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   1     which you heard a lot about, and I think                              09:15:18

   2     you'll find that the pre-litigation documents,                        09:15:21

   3     early on, and the technical documents, not the                        09:15:25

   4     high level concept.                                                   09:15:28

   5                    I told you there's going to be                         09:15:29

   6     three boxes.     You're going to see the three                        09:15:31

   7     boxes a lot.     I guess it's the wrong color.                        09:15:34

   8     They had blue and green, those you saw, and                           09:15:36

   9     there were also yellow and red.                                       09:15:40

  10                    But the document that goes to the                      09:15:43

  11     heart of the chip was the schematic.          And if                  09:15:44

  12     you remember that point, and I will come to it                        09:15:47

  13     later, but I want to lay that foundation for                          09:15:51

  14     you today before I start.                                             09:15:54

  15                    So let's start with where we                           09:15:56

  16     started in this case.      The case started with                      09:15:58

  17     the patent, of course.      We wouldn't be here                       09:16:03

  18     without it and we wouldn't be here without Mr.                        09:16:06

  19     Bohm inventing it; otherwise, we wouldn't have                        09:16:08

  20     a patent case.                                                        09:16:11

  21                    And just to remind you, this                           09:16:12

  22     started back in 2006 when Mr. Bohm was part of                        09:16:14

  23     SMSC, and was issued three years later in                             09:16:17

  24     2009.                                                                 09:16:24


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   1                   Now, the time that you heard, USB                       09:16:25

   2     standards required only one host and one                              09:16:29

   3     device.    So at the time, this was a little bit                      09:16:32

   4     out of the box and there was two hosts and one                        09:16:33

   5     device.                                                               09:16:37

   6                   So we talked about it a lot in the                      09:16:39

   7     case, I won't belabor the point, but also the                         09:16:43

   8     key point here is just the title.         What is                     09:16:47

   9     this patent about?      It is about the multi-host                    09:16:50

  10     USB device controller.      That's what it's                          09:16:53

  11     about.    And it enables, as you see in the                           09:16:56

  12     figure, two hosts to connect to the same                              09:16:59

  13     device.    Excuse me.                                                 09:17:02

  14                   Now, in the history of this                             09:17:08

  15     patent, we talked about 16 years have passed                          09:17:13

  16     since it was filed.      That IPR petition by                         09:17:16

  17     Delphi, now Aptiv, challenging the claims that                        09:17:20

  18     are issued here, and we went through that.                            09:17:24

  19     And we talked about Mr. Garney submitting an                          09:17:26

  20     89-page declaration challenging all the                               09:17:29

  21     claims, and so it's gone through that rigorous                        09:17:34

  22     challenge.                                                            09:17:36

  23                   And at the end of it, we -- the                         09:17:37

  24     patent office disagreed and agreed with us                            09:17:43


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   1     that claims 22 -- well, in this case, 23                              09:17:45

   2     through 25 survived that challenge.          It was a                 09:17:48

   3     lengthy challenge.     Three patent judges, as we                     09:17:52

   4     discussed, agreed amongst themselves, it was                          09:17:55

   5     unanimous, that claims 23 through 25 that are                         09:17:59

   6     at issue here are valid.                                              09:18:02

   7                  And it will come up later, but I                         09:18:03

   8     just want to make a quick note here that --                           09:18:08

   9     I'm sorry.   I want to make a note here that                          09:18:16

  10     this challenge in the IPR was based upon                              09:18:21

  11     Dickens, the same reference you heard about                           09:18:25

  12     here, and but the main reference in the IPR                           09:18:28

  13     was the same reference Mr. Garney relied upon                         09:18:35

  14     in here, Dickens, and that argument was                               09:18:38

  15     rejected.                                                             09:18:40

  16                  And you see here that they                               09:18:41

  17     appealed it; we talked about that.          It was                    09:18:42

  18     appealed to the highest court for patent                              09:18:47

  19     appeals, which is the United States Court of                          09:18:48

  20     Appeals for the Federal Circuit, and they                             09:18:50

  21     affirmed, without even writing an opinion,                            09:18:52

  22     they just stamped and said PTAB judges, excuse                        09:18:56

  23     me, the patent office judges, we call it the                          09:18:59

  24     PTAB, Patent Trial and Appeal Board, affirmed                         09:19:02


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   1     it.                                                                   09:19:05

   2                    Again, three more judges on that                       09:19:05

   3     panel agreed with us and agreed that Mr.                              09:19:07

   4     Bohm's claims 23 through 25 that we assert                            09:19:11

   5     here are valid.                                                       09:19:14

   6                    So once that happened, as you                          09:19:15

   7     hopefully have in your binders, a last page                           09:19:20

   8     was added to the patent, so it's on the last                          09:19:23

   9     page of the patent, and it confirms and                               09:19:26

  10     publicizes for anyone looking at the patent                           09:19:30

  11     that those claims have gone through this                              09:19:33

  12     rigorous challenge and survived.                                      09:19:35

  13                    Let's talk a little bit about                          09:19:39

  14     infringement, and this really gets to the                             09:19:41

  15     point I was making earlier.        Where do you find                  09:19:43

  16     the evidence?     What's the most reliable                            09:19:45

  17     evidence?                                                             09:19:47

  18                    You've got two experts.       You've                   09:19:48

  19     got one expert saying there's two devices,                            09:19:50

  20     there's no shared device here, and you've got                         09:19:53

  21     another expert saying no, it's one device and                         09:19:55

  22     it's shared.     So let's look at it.                                 09:19:57

  23                    Now, first of all, I want to step                      09:19:59

  24     into the jury instruction and read for you                            09:20:02


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   1     what you have been instructed.         "As long as                    09:20:05

   2     Aptiv's accused chip includes all the elements                        09:20:10

   3     of the asserted patent claim, then the patent                         09:20:12

   4     claim is infringed," and this is the important                        09:20:15

   5     part that came up in this case, "even if the                          09:20:18

   6     accused chip also has additional elements,                            09:20:20

   7     features, or improvements."                                           09:20:23

   8                  Now, what does that mean?         We                     09:20:26

   9     heard a lot about the improvement allegedly of                        09:20:28

  10     the host-to-host bridge and how that makes                            09:20:32

  11     them non-infringing.      But the fact of the                         09:20:34

  12     matter is, they have a multi-host device                              09:20:37

  13     controller that implements this, and that's                           09:20:40

  14     the title of the patent.       The fact that they                     09:20:43

  15     add a bridge to it doesn't change that, even                          09:20:45

  16     if that happens to be an improvement or an                            09:20:47

  17     additional feature.                                                   09:20:50

  18                  Now, what's our burden to prove                          09:20:51

  19     infringement?     Now, we have to prove that by a                     09:20:56

  20     preponderance of the evidence.         And what does                  09:21:00

  21     that mean?   That it is more likely than not                          09:21:02

  22     true that Aptiv made, sold, offered for sale                          09:21:07

  23     or imported products covered by at least one                          09:21:11

  24     asserted claim.     So our burden to prove                            09:21:15


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   1     infringement is more likely than not.                                 09:21:19

   2                   Now, this is a document -- excuse                       09:21:20

   3     me -- we went through with Mr. Garney                                 09:21:23

   4     yesterday.    You might remember it.        And it                    09:21:28

   5     was -- we had to put two documents                                    09:21:33

   6     side-by-side because the Exhibit 201 was, as                          09:21:36

   7     you can tell, a terrible copy produced to us.                         09:21:40

   8     And 201 includes the language at 5.1 at the                           09:21:44

   9     top and tells you what is disclosed here.                             09:21:49

  10                   And, this is important now, when                        09:21:52

  11     you go back and look at 201, it's an Unwired                          09:21:55

  12     document in 2013, before anybody or any                               09:21:59

  13     lawyers got involved to set up a narrative to                         09:22:05

  14     avoid infringement.                                                   09:22:11

  15                   And what did they say in the                            09:22:14

  16     document?    And you might remember the                               09:22:16

  17     testimony.    This document was also amended by                       09:22:18

  18     AyDeeKay, which is the company who was the                            09:22:25

  19     expert of designing and building the Boston                           09:22:28

  20     chip for Aptiv.     So they kind of know what                         09:22:31

  21     they're doing.                                                        09:22:34

  22                   Let's read what the sentence says.                      09:22:35

  23     "The bridge device" -- and that's one of the                          09:22:37

  24     key arguments here, is whether there is a                             09:22:40


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   1     bridge device or if there's two devices --                            09:22:42

   2     "consists of six blocks."       You've heard that                     09:22:45

   3     language before and you are going to see it in                        09:22:48

   4     claim 23, a shared device block.         These are                    09:22:50

   5     the same blocks here.                                                 09:22:56

   6                  "A bridge device consists of six                         09:22:57

   7     blocks, red text, integrated within a USB                             09:23:00

   8     connectivity module as described below."                              09:23:02

   9                  And we mapped it to the two                              09:23:05

  10     documents and we put it on Exhibit 7, which is                        09:23:08

  11     a color copy that is much easier to read.            And              09:23:11

  12     you see that in these blocks, there's six of                          09:23:14

  13     them, and those blocks make up the bridge                             09:23:18

  14     device, single device.      And you see in --                         09:23:22

  15     that's shown in Exhibit 7 right there, the UDC                        09:23:27

  16     downstream and UDC upstream.                                          09:23:34

  17                  Those are the -- those are the two                       09:23:37

  18     that Mr. Garney points to as separate devices.                        09:23:40

  19     He says those are USB Device A and USB Device                         09:23:44

  20     B, and those are shown in -- typically they                           09:23:49

  21     refer to the three boxes that I mentioned.            So              09:23:52

  22     those are the two he claims as being Device A                         09:24:08

  23     and B.                                                                09:24:12

  24                  Now, they, as we talked about,                           09:24:13


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   1     have a FIFO in between them, which is a                               09:24:16

   2     buffer, it's a memory, and everything that                            09:24:19

   3     comes into this downstream -- and if you                              09:24:22

   4     remember, that downstream is coming here and                          09:24:25

   5     that's where the iPhone connects, and                                 09:24:28

   6     everything coming in here, which is the                               09:24:31

   7     upstream, that's the upstream port and that's                         09:24:33

   8     where the head unit attaches.                                         09:24:37

   9                  All information coming in through                        09:24:39

  10     both of these are shared across this bridge.                          09:24:41

  11     Those are the yellow arrows.        And those yellow                  09:24:45

  12     arrows are not -- shouldn't be depicted as                            09:24:48

  13     wireless like the state of jumping across                             09:24:52

  14     there.   Those are metal traces, they are                             09:24:55

  15     called, in the semiconductor industry, so they                        09:24:57

  16     are wired together, these two are wired                               09:25:01

  17     together.                                                             09:25:03

  18                  And you have what's called an MCU                        09:25:04

  19     as part of the bridge.      That's a                                  09:25:07

  20     microcontroller unit.      And that                                   09:25:09

  21     microcontroller unit, along with these                                09:25:14

  22     controllers, are tied together.         But the blue                  09:25:16

  23     line, those are also metal traces that go to a                        09:25:21

  24     bus that ends up in the MCU.                                          09:25:25


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   1                    And this document, I submit to                         09:25:29

   2     you, dated 2013, is the purest document, the                          09:25:32

   3     purest evidence of what the bridge device is.                         09:25:38

   4     Excuse me.                                                            09:25:42

   5                    Now, there's another document.                         09:25:43

   6     Now, I pointed out previously, you remember,                          09:25:54

   7     we talked about -- you can hardly see it, and                         09:25:57

   8     I apologize, but you'll have these documents                          09:26:00

   9     that go back with you, updated by AyDeeKay.                           09:26:03

  10                    AyDeeKay was identified in the                         09:26:06

  11     document as the experts in doing this type of                         09:26:08

  12     chip design.     Unwired relied on them because                       09:26:10

  13     Unwired is not a chip manufacturer, so they                           09:26:15

  14     looked for someone to help them.                                      09:26:18

  15                    The other important part of this                       09:26:20

  16     document is, it says, "EP Bridge, bridge                              09:26:22

  17     logic, containing both UDCs."        And those UDCs                   09:26:26

  18     are Mr. Garney's Device A and B, and FIFO                             09:26:31

  19     logic.   And that was added to this graph by                          09:26:35

  20     AyDeeKay.    Well, it was updated by CSP based                        09:26:40

  21     on some comments.                                                     09:26:46

  22                    So an EP Bridge is defined here,                       09:26:48

  23     so I submit to you that this document, dated                          09:26:52

  24     2013 -- and it is shown in this box a little                          09:26:57


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   1     small here and I apologize.         But if you look                    09:27:02

   2     at Exhibit 201 and you use the color diagram                           09:27:05

   3     from 7 to see it, you'll see that this fully                           09:27:10

   4     submits -- fully supports Microchip's position                         09:27:14

   5     and its expert's position on infringement and                          09:27:18

   6     refutes this idea that there's two separate                            09:27:22

   7     devices that don't -- that are not shared by                           09:27:25

   8     the host, as Mr. Garney states.                                        09:27:29

   9                    Now, one of those points is -- and                      09:27:31

  10     let me go back -- I'm sorry -- is that each of                         09:27:38

  11     these UDCs, for example, have their own                                09:27:46

  12     address.     And if you remember me talking about                      09:27:49

  13     it, I don't have a slide for it, but that's                            09:27:53

  14     exactly what Mr. Bohm identified in his patent                         09:27:55

  15     on the first page of the abstract, and you can                         09:27:58

  16     look for it yourself, that the shared device                           09:28:00

  17     will have distinct and separate addresses for                          09:28:03

  18     each host.                                                             09:28:07

  19                    And if you remember, that's where                       09:28:09

  20     the iPhone connects, but has its own address                           09:28:11

  21     to the bridge device, and the head unit                                09:28:15

  22     connects right here and it has its own address                         09:28:18

  23     for the bridge device.                                                 09:28:21

  24                    So we submit to you that that                           09:28:23


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   1     is -- if you're looking for evidence that's                           09:28:25

   2     untainted by paid testimony or litigation,                            09:28:27

   3     design documents, this one is before the                              09:28:33

   4     litigation, before there is any type of                               09:28:37

   5     controversy in 2013.                                                  09:28:39

   6                  So what other is some good                               09:28:45

   7     evidence?   So Mr. Voto testified and while                           09:28:50

   8     semi-interested, of course, because he was                            09:28:57

   9     involved, is no longer at Aptiv, so he didn't                         09:28:58

  10     have to worry about what his boss is going to                         09:29:02

  11     say if he testifies to something that is                              09:29:05

  12     helpful to Microchip.                                                 09:29:07

  13                  He has sold out his interest in                          09:29:10

  14     this project and was paid, which I don't                              09:29:12

  15     begrudge him that, but he's at a new company.                         09:29:17

  16     In fact, he went to AyDeeKay I believe was                            09:29:19

  17     renamed Indie, I think he went to that                                09:29:22

  18     company, so he's there.       Listen to what he                       09:29:25

  19     says.                                                                 09:29:27

  20                  And the question was, "And is                            09:29:27

  21     there a portion of this diagram that relates                          09:29:30

  22     specifically to this host-to-host bridging                            09:29:32

  23     functionality we have been talking about?                             09:29:35

  24                  "Yes."                                                   09:29:37


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   1                    So we see this box down here that                      09:29:40

   2     says, "H2H controller."       And remember, the                       09:29:42

   3     '243 Patent is directed to a USB multi-host                           09:29:48

   4     device controller, that's the key to the                              09:29:51

   5     patent.     H2H there stands for, as you see from                     09:29:54

   6     the question, it's short for host-to-host.                            09:29:59

   7                    Now, what does he say?       "That's                   09:30:02

   8     what we had to add, you know, largely on top                          09:30:05

   9     of everything else that the hub already did to                        09:30:09

  10     make the bridge function work."                                       09:30:12

  11                    And that's a key point.       That's                   09:30:16

  12     what we allege is shared between the two                              09:30:19

  13     devices, is the bridge function.         It functions                 09:30:22

  14     to allow these two hosts to be connected                              09:30:26

  15     together.                                                             09:30:29

  16                    And he wasn't -- he's no longer an                     09:30:31

  17     Aptiv employee.     He is not a paid expert.          He              09:30:35

  18     did get paid for his time a little bit, but on                        09:30:39

  19     his basic compensation rate.        So I submit to                    09:30:43

  20     you that that is some reliable evidence you                           09:30:45

  21     can rely upon.                                                        09:30:48

  22                    Now, this is Mr. Petku, and he                         09:30:50

  23     testified -- this is his deposition                                   09:30:55

  24     transcript.     And you might have missed it, it                      09:30:59


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   1     was kind of, like, quick the way these                                 09:31:01

   2     depositions go, because we didn't have a                               09:31:02

   3     live -- we didn't have him here live because                           09:31:05

   4     he wasn't within the subpoena range, and I                             09:31:08

   5     don't believe he is still an Aptiv employee                            09:31:10

   6     either, he's moved on also.         And I think                        09:31:13

   7     you'll see from the clip that he supports                              09:31:15

   8     Microchip's position regarding the bridge                              09:31:17

   9     function.     Let's see what he says.                                  09:31:20

  10                    (Whereupon, a videotape excerpt of                      09:31:22

  11     Mr. Petku was played for the jury.)                                    09:31:26

  12                    MR. SLAYDEN:     So did you catch                       09:31:42

  13     that?     He caught himself, because he was                            09:31:43

  14     instructed not to say bridge function and not                          09:31:46

  15     to say that there was a single bridge.            Let's                09:31:48

  16     look at it again.                                                      09:31:51

  17                    (Whereupon, the excerpt was                             09:31:52

  18     replayed for the jury.)                                                09:31:53

  19                    MR. SLAYDEN:     Okay.    So you can                    09:32:19

  20     see that was a little bit of a contrived                               09:32:21

  21     answer.     He told the truth to begin with, and                       09:32:23

  22     then he remembered what the lawyers told him                           09:32:25

  23     to say and so he changed his story to meet the                         09:32:26

  24     narrative that Mr. Garney has been telling us,                         09:32:30


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   1     there's two devices.      That was him saying oh,                     09:32:32

   2     it's not one device, I didn't mean to say                             09:32:35

   3     that.    It's a collection of components that                         09:32:37

   4     have different functions for two different                            09:32:40

   5     hosts.    But you heard it from him clear as day                      09:32:42

   6     that he agreed with us actually.         Excuse me.                   09:32:45

   7                   So we heard from Mr. Zatkovich,                         09:32:56

   8     Microchip's expert, that we met all the                               09:33:00

   9     elements of claim 23.      And I will tell you                        09:33:05

  10     that I agree, but I also like to look at the                          09:33:09

  11     independent evidence of the document,                                 09:33:14

  12     Exhibit 7, with 201 and Mr. Voto's testimony                          09:33:17

  13     and Mr. Petku's testimony that supports Mr.                           09:33:23

  14     Zatkovich's opinion.                                                  09:33:28

  15                   And I will note that during Mr.                         09:33:30

  16     Garney's cross-examination, he agreed with me                         09:33:33

  17     that those documents, Exhibit 7 and 201, are                          09:33:36

  18     consistent with what Mr. Zatkovich informed                           09:33:40

  19     you regarding infringement.        That is the                        09:33:43

  20     same -- the same position that Mr. Zatkovich                          09:33:47

  21     took.                                                                 09:33:50

  22                   Now, claim 23 looks like a                              09:33:53

  23     mouthful -- 24, excuse me, looks like a                               09:33:58

  24     mouthful, but the first part is repeating the                         09:34:01


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   1     claim 23, and at the end, it just says, "The                          09:34:03

   2     controller is operable to maintain" --                                09:34:07

   3     actually, let me go back.       I'm sorry.     Let's                  09:34:09

   4     talk one minute about this language.                                  09:34:15

   5                   So this claim 23 is down at the                         09:34:18

   6     chip level.     It is talking about the Boston                        09:34:24

   7     chip.    And it's about a chip that's not                             09:34:28

   8     connected to the host yet.        And how do you                      09:34:30

   9     know that?    Because it's about the chip just                        09:34:33

  10     sitting there on the table, it's as made.                             09:34:38

  11                   So does it have a shared USB                            09:34:42

  12     device block?     And we talked about the blocks                      09:34:44

  13     from Exhibit 7 and 201.       Those are the blocks,                   09:34:47

  14     and the one block is the EP Bridge that they                          09:34:50

  15     both share.                                                           09:34:53

  16                   Are they operable to be                                 09:34:54

  17     simultaneously configured by two or more USB                          09:34:55

  18     hosts?                                                                09:34:58

  19                   Now, what you're going to hear is                       09:34:59

  20     that that language means that the device block                        09:35:03

  21     has to be configured at exactly the same time,                        09:35:08

  22     and the language, while a bit clumsy, what I                          09:35:15

  23     would say to you is that, from a grammar                              09:35:18

  24     standpoint, I would agree with you, if the                            09:35:22


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   1     claim was written as shared USB device block                          09:35:24

   2     operable to be configured simultaneously, a                           09:35:28

   3     subtle difference, configured simultaneously.                         09:35:34

   4     If "configured" came before "simultaneously,"                         09:35:38

   5     then it would be -- I would agree with you.                           09:35:41

   6                  And the example that is shown is                         09:35:43

   7     that you can imagine in our head is this thing                        09:35:45

   8     about Mr. Bohm's patent, with two computers                           09:35:48

   9     going to a printer, for example, Figure 2.                            09:35:52

  10     Someone was plugging in USB cables in the back                        09:35:55

  11     of it at the exact same time, which is not a                          09:35:59

  12     real world example.      No one is sitting there                      09:36:03

  13     trying to plug two computers into a printer at                        09:36:05

  14     the same time.                                                        09:36:08

  15                  So what it really means is -- what                       09:36:08

  16     this means is that the USB device block here,                         09:36:11

  17     the bridge, is in a state to -- is                                    09:36:16

  18     configured -- is in a state -- sitting there                          09:36:25

  19     configured by both hosts at the same time;                            09:36:29

  20     that is, they have both been configured                               09:36:32

  21     already and they are sitting there waiting.                           09:36:33

  22                  And in the printer example, that                         09:36:36

  23     is they have been plugged in and one got                              09:36:38

  24     configured and the next one got configured.                           09:36:41


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   1     They are both now configured, and that way,                           09:36:45

   2     when a signal comes from either computer to                           09:36:49

   3     send a print job, they are ready to take that                         09:36:52

   4     signal and print.     It doesn't have to wait, it                     09:36:54

   5     doesn't have to reconfigure like you would if                         09:36:57

   6     you unplugged it or you switched it like on a                         09:37:00

   7     switch.   It's ready to go.                                           09:37:03

   8                   So this language here is they are                       09:37:06

   9     both in the state, as a printer has seen,                             09:37:09

  10     sitting there waiting to get a signal from the                        09:37:13

  11     two computers.    They don't have to configure                        09:37:16

  12     once they get a signal.       They are sitting                        09:37:18

  13     there in the configured state.         That's what                    09:37:20

  14     that means.                                                           09:37:21

  15                   I would agree with Aptiv and                            09:37:22

  16     counsel if "configured" came before                                   09:37:24

  17     "simultaneously."     So configured                                   09:37:27

  18     simultaneously would be an incidence where you                        09:37:30

  19     had to plug them both in at the same time.                            09:37:32

  20                   That's not what the claim is                            09:37:34

  21     talking about.    It's talking about they are in                      09:37:36

  22     a state of both being -- they are already                             09:37:38

  23     configured, they are sitting there together,                          09:37:40

  24     and when you get a print job from either                              09:37:42


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   1     computer, it will take that job and then have                          09:37:45

   2     to configure at that point, which you would                            09:37:47

   3     see as a delay if you ever remember plugging                           09:37:50

   4     in a computer and unplugging it, it had to                             09:37:54

   5     reconfigure that computer and recognize it in                          09:37:56

   6     order to print.      It had a delay of sitting                         09:37:59

   7     there.     This avoided that.                                          09:38:02

   8                    And I will note that the claim                          09:38:03

   9     says, "device block operable to be."                                   09:38:05

  10     "Operable to be" means is capable of doing it                          09:38:11

  11     in the future.     It doesn't mean it's doing it                       09:38:15

  12     now.     It's just a chip sitting there.        It's                   09:38:18

  13     not doing anything right now, it's just                                09:38:20

  14     sitting there.                                                         09:38:24

  15                    But you are going to hear some                          09:38:24

  16     arguments today for the first time on claim                            09:38:27

  17     terms that aren't in this case.          You got a                     09:38:31

  18     claim instruction from the Court and you                               09:38:36

  19     also -- that you can look at and all the rest                          09:38:41

  20     of the claims and the elements should be you                           09:38:43

  21     supply plain, ordinary meaning.          If someone                    09:38:47

  22     wants to construe something specifically, they                         09:38:50

  23     should ask the Court for it previously, which                          09:38:53

  24     they did.                                                              09:38:55


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   1                    Now, the next element is a                             09:38:55

   2     controller configured to establish.          Well,                    09:38:58

   3     here we go again.     That's very similar to                          09:39:00

   4     operable to.     It means it's configured to do                       09:39:02

   5     something.     And in this case, we're not                            09:39:05

   6     talking about configured as a device as in USB                        09:39:07

   7     terms; we are just talking about something                            09:39:11

   8     that's similar as operable to sitting there                           09:39:13

   9     and can establish.                                                    09:39:15

  10                    You don't configure to establish                       09:39:16

  11     concurrent settings; it's something that's                            09:39:18

  12     going to happen in the future.         It's not                       09:39:20

  13     happening now, it's going to happen in the                            09:39:23

  14     future as the device is sitting there and can                         09:39:24

  15     do it when it's required to; for example, when                        09:39:27

  16     it gets a signal from either one of the hosts.                        09:39:30

  17                    And at the bottom, "wherein the                        09:39:33

  18     controller is operable to receive and                                 09:39:36

  19     respond."    Again, it just has to be capable of                      09:39:39

  20     doing that, not that it's doing it.          This                     09:39:42

  21     claim is not -- don't be confused.          It is not                 09:39:44

  22     a method claim.     There are method claims as                        09:39:47

  23     you look at the patent, which is claim 18                             09:39:49

  24     which requires active; each element ends with                         09:39:51


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   1     I-N-G, an active statement of doing something                         09:39:55

   2     in a method step.     This is not -- this is not                      09:40:00

   3     that claim.                                                           09:40:02

   4                   And claim 25, Mr. Zatkovich went                        09:40:03

   5     through that, and Mr. Garney agreed that his                          09:40:11

   6     interpretation of it is consistent with the                           09:40:19

   7     documents, even though Mr. Garney disagreed.                          09:40:21

   8                   Now, one of the other things, here                      09:40:24

   9     we have evidence of infringing sales, and we                          09:40:28

  10     had to have an active infringement.          And Dr.                  09:40:30

  11     Becker testified that as an uncontested                               09:40:34

  12     fact -- you can see the claim down there as                           09:40:38

  13     you see at the bottom, "Aptiv has tested and                          09:40:41

  14     used the dual role hub in the United States.                          09:40:44

  15     Aptiv offers for sale and sells the dual role                         09:40:46

  16     hub in the United States."                                            09:40:50

  17                   And Dr. Becker testified, and                           09:40:51

  18     we'll talk about it later, uncontested.           They                09:40:52

  19     didn't submit -- I don't know if you noticed                          09:40:55

  20     that, but they didn't submit a damages expert.                        09:40:56

  21     They had designated one, Mr. Chase, but he                            09:41:00

  22     never testified.     So Mr. Becker's testimony                        09:41:02

  23     sits unchallenged from another expert's                               09:41:05

  24     standpoint.                                                           09:41:11


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   1                  But he found that, from Aptiv's                          09:41:12

   2     own documents which they produced, had sold                           09:41:15

   3     44.9 million units and those sales infringed,                         09:41:20

   4     according to Mr. Zatkovich and our position,                          09:41:26

   5     are infringing sales.      So that's how we get                       09:41:29

   6     there.                                                                09:41:31

   7                  Now, we heard a lot about                                09:41:32

   8     validity, and it centered around Dickens,                             09:41:35

   9     which we talked about, and a switch, two                              09:41:41

  10     switches, according to Mr. Garney, are nearly                         09:41:45

  11     identical in operation and function.          So let's                09:41:48

  12     look at what the jury instruction is.                                 09:41:53

  13                  So first of all, as I talked about                       09:41:55

  14     in the opening, each claim is presumed valid.                         09:41:58

  15     So you go into this with a lens that the                              09:42:02

  16     patent office did its job, and in this case,                          09:42:06

  17     even more so because we talked about besides                          09:42:10

  18     them just being granted by two patent                                 09:42:13

  19     examiners, they went through that rigorous                            09:42:17

  20     review by the IPR.     Those three judges looked                      09:42:18

  21     at it and said oh, yeah, we agree.                                    09:42:22

  22                  So this presumption here has been                        09:42:24

  23     confirmed by the PTAB judges; in addition, of                         09:42:26

  24     course, as I mentioned, it was also appealed                          09:42:30


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   1     to the Federal Circuit, our highest patent                            09:42:33

   2     court, three judges appointed by the                                  09:42:35

   3     president, and they confirmed what the three                          09:42:38

   4     judges did, which all confirms the issuance by                        09:42:41

   5     the original examiners 16 years ago -- or                             09:42:44

   6     13 years ago of issuing claims 23 through 25.                         09:42:49

   7                   So in this case, this presumption                       09:42:54

   8     is -- you can rely upon it, is stronger than                          09:42:58

   9     normal.                                                               09:43:04

  10                   Now, this presumption fits the                          09:43:06

  11     burden of proving invalidity on Aptiv by clear                        09:43:09

  12     and convincing evidence on a claim-by-claim                           09:43:12

  13     basis.    And what does that mean?       It's written                 09:43:14

  14     there.    And I know the judge instructed you,                        09:43:17

  15     but it's worth emphasizing.                                           09:43:19

  16                   You must be left with abiding                           09:43:22

  17     conviction that each asserted claim of the                            09:43:26

  18     '243 Patent is invalid.       Abiding conviction;                     09:43:28

  19     that's pretty strong.                                                 09:43:32

  20                   So as in my opening, I showed you                       09:43:34

  21     a slide that kind of gave you the scales of                           09:43:37

  22     justice and showed you preponderance, and it's                        09:43:40

  23     more like this.     And we're going to talk                           09:43:43

  24     about -- excuse me -- clear and convincing                            09:43:46


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   1     evidence, more like this.       And we'll talk                        09:43:48

   2     about, on the infringement side, it's more                            09:43:51

   3     like this, just a preponderance of the                                09:43:53

   4     evidence.     Not clear and convincing, just a                        09:43:55

   5     preponderance.                                                        09:44:01

   6                    So here their burden is clear and                      09:44:01

   7     convincing, which is a pretty high burden.                            09:44:03

   8                    Now, they didn't submit a, what we                     09:44:07

   9     call a anticipatory argument, they submitted a                        09:44:07

  10     103 argument, which is an obviousness                                 09:44:14

  11     argument.     So they say you combine Dickens                         09:44:16

  12     with Belkin or US-98 and that makes the                               09:44:19

  13     claimed invention, for example in 23, invalid                         09:44:30

  14     as obvious.                                                           09:44:34

  15                    And the one point in the middle                        09:44:34

  16     that I highlight is the key point I want you                          09:44:36

  17     to keep in mind, and I am going to read it.                           09:44:39

  18     "The existence of each and every element of                           09:44:41

  19     the claimed invention in the prior art does                           09:44:45

  20     not necessarily prove obviousness."                                   09:44:47

  21                    Now, while I don't agree that they                     09:44:49

  22     were able to prove that each and every element                        09:44:51

  23     was in the prior art, as we'll see, Dr. Levy                          09:44:53

  24     testified they didn't submit anything to meet                         09:44:55


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   1     the first element of claim 23, 23A.          But even                 09:44:57

   2     if they did, let's say that all the elements                          09:45:00

   3     were there, there was certainly no -- that                            09:45:03

   4     doesn't mean that they actually invalidate the                        09:45:06

   5     claim.                                                                09:45:08

   6                    You have to figure out why someone                     09:45:09

   7     would want to combine those, and in this case,                        09:45:11

   8     you didn't hear anything about that.          In fact,                09:45:14

   9     the testimony of Mr. Garney tells you that the                        09:45:16

  10     two devices are similar so you would combine                          09:45:18

  11     them.                                                                 09:45:20

  12                    Let's think about that comment for                     09:45:21

  13     a minute.     If you had two devices that are                         09:45:22

  14     similar and did the same thing, what was the                          09:45:27

  15     need to combine them?                                                 09:45:29

  16                    Typically in these situations,                         09:45:32

  17     there is a missing element from the claimed                           09:45:34

  18     invention in the device; it doesn't do one of                         09:45:39

  19     the things.     So you go look for something else                     09:45:41

  20     in the art that would do this additional                              09:45:43

  21     element, a feature.                                                   09:45:45

  22                    You didn't hear that.      What you                    09:45:46

  23     heard was Dickens.     And if you look at                             09:45:49

  24     Dickens, and I actually invite you to look at                         09:45:50


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   1     it, as you look at the block diagram, it is                            09:45:54

   2     actually a block diagram with a Belkin or                              09:45:57

   3     US-98 product.     They have two hosts coming in                       09:45:59

   4     at the top of it, a dual box and peripherals,                          09:46:03

   5     printers at the bottom, come out at the                                09:46:07

   6     bottom, and they share those.                                          09:46:09

   7                   It is a switch.       It's actually                      09:46:11

   8     titled a switch.      And we talked about                              09:46:13

   9     switches, you'll remember.                                             09:46:15

  10                   So if you look at it, there's not                        09:46:16

  11     really a reason why you'd want to combine                              09:46:18

  12     Dickens with Belkin, something you bought off                          09:46:21

  13     the Internet in this case in 2019.                                     09:46:27

  14                   And that's kind of the point down                        09:46:29

  15     at the bottom there.       You must base your                          09:46:35

  16     decision on -- you have to include a physical                          09:46:37

  17     device.    So they have to -- their only                               09:46:42

  18     combination is Dickens plus a physical device,                         09:46:45

  19     which is US-98 or Belkin.                                              09:46:47

  20                   And I submit to you that there is                        09:46:50

  21     absolutely no evidence of why you would submit                         09:46:51

  22     two similar -- you would combine two similar                           09:46:54

  23     devices.    It doesn't make any sense.                                 09:46:56

  24                   So let's look at this on the                             09:47:00


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   1     validity side; we went through this.           This is                 09:47:04

   2     the IPR.    And it was all based -- Mr. Garney                         09:47:06

   3     based his attack for Aptiv on Dickens that we                          09:47:09

   4     just talked about.      Dickens was considered as                      09:47:13

   5     a main reference; it is one of the two                                 09:47:15

   6     references, I believe.                                                 09:47:17

   7                    But also, as you see up there in                        09:47:18

   8     ground 2, it is a 102, which means Dickens by                          09:47:20

   9     itself would invalidate claims 23 through 25.                          09:47:23

  10     That was rejected.      And then the rest of the                       09:47:27

  11     grounds include Dickens and obviousness                                09:47:30

  12     combination.                                                           09:47:32

  13                    So it's Dickens plus some other                         09:47:33

  14     written prior art, you all heard the Japanese                          09:47:34

  15     reference, Wurzburg, and other -- and I guess                          09:47:39

  16     Wurzburg twice.                                                        09:47:48

  17                    So they went to the patent office                       09:47:48

  18     and they submitted a Dickens 103 argument                              09:47:50

  19     already, which I would submit to you was a                             09:47:53

  20     better argument than Dickens, plus a physical                          09:47:55

  21     device, Belkin, that looks a lot like Dickens.                         09:47:58

  22     And I can't figure out why you would combine                           09:48:02

  23     the two, which is a necessary step in this                             09:48:03

  24     process of invalidity.                                                 09:48:07


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   1                    Now, I went through this in the                        09:48:12

   2     opening and during the case a little bit.           Mr.               09:48:14

   3     Bohm told the patent office all about these                           09:48:18

   4     switches that they are talking about, these                           09:48:21

   5     stand-alone switches.      I don't know if you                        09:48:23

   6     remember the boxes we had up here with Mr.                            09:48:24

   7     Garney.   These were the stand-alone switches.                        09:48:27

   8                    So they would just sit on the desk                     09:48:29

   9     and you would plug in computers and a printer,                        09:48:31

  10     or whatever peripheral you had, and it was a                          09:48:34

  11     stand-alone.                                                          09:48:38

  12                    This is what he's talking about.                       09:48:39

  13                    "There also exist stand-alone USB                      09:48:41

  14     switches that provide the capability of                               09:48:44

  15     switching a device between upstream USB host                          09:48:45

  16     controllers."                                                         09:48:48

  17                    As you saw, of course, the host                        09:48:49

  18     controllers are in the host, which, in this                           09:48:50

  19     case, is an example of a computer.                                    09:48:53

  20                    So Mr. Bohm told the patent office                     09:48:55

  21     at the time that he submitted his application                         09:48:58

  22     that these switches that are shown to you                             09:49:00

  23     today are known and the patent office                                 09:49:04

  24     considered that type of art on whether to                             09:49:06


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   1     grant this patent in the first place.                                 09:49:09

   2                  And once they granted it, of                             09:49:11

   3     course, I won't belabor the point, but, of                            09:49:13

   4     course, they went through all this process of                         09:49:15

   5     the IPR, considered all of that, and they had                         09:49:18

   6     the opportunity to submit not just -- they                            09:49:19

   7     couldn't submit a physical device to the                              09:49:22

   8     patent office, but there's a lot of -- and we                         09:49:24

   9     went through some of it.                                              09:49:26

  10                  On the face of the patent even,                          09:49:28

  11     there is a lot of switch art identified that                          09:49:30

  12     they could have submitted to the patent office                        09:49:33

  13     at the time, but they didn't.                                         09:49:35

  14                  And this discussion of switch art                        09:49:37

  15     that Mr. Bohm submitted is in the issued                              09:49:41

  16     patent.   You can read it yourself.         You will                  09:49:43

  17     have the patent and it will show that he                              09:49:46

  18     submitted that to the patent office.          So it's                 09:49:48

  19     worth making a point here about switches and                          09:49:51

  20     Mr. Bohm's patent.                                                    09:49:54

  21                  Now, switches, as the slide shows,                       09:49:56

  22     is connecting one computer and then switching                         09:50:00

  23     to the other and back and forth.         And that's                   09:50:04

  24     important because the distinction is that only                        09:50:08


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   1     one host is connected at a time and the switch                         09:50:11

   2     is either to the right or the left, for                                09:50:13

   3     example.                                                               09:50:15

   4                    Mr. Bohm's '243 Patent is not, and                      09:50:15

   5     you will read in claim 23, a dedicated                                 09:50:19

   6     connection.     These were dedicated intimate                          09:50:21

   7     connections to each in the one device.            So                   09:50:26

   8     there's no switching.       And I kind of mentioned                    09:50:29

   9     it previously, they are both sitting there                             09:50:32

  10     ready to receive a signal.         There's no                          09:50:34

  11     switching back and forth.        They maintain their                   09:50:36

  12     state and already receive a signal to perform                          09:50:39

  13     a function.                                                            09:50:42

  14                    Now, here is the art we saw.            As              09:50:44

  15     you see, these were stand-alone switches.                              09:50:50

  16     This is exactly what Mr. Bohm told the patent                          09:50:52

  17     office about and they considered it.            And I                  09:50:55

  18     didn't put all the statements in about the                             09:50:57

  19     switches.     Mr. Bohm included more than what I                       09:51:00

  20     just showed you.      You can read it for                              09:51:02

  21     yourself, it's in the patent, and I invite you                         09:51:05

  22     to do so.                                                              09:51:07

  23                    But these are the type of                               09:51:08

  24     stand-alone switches we see here.          On one hand                 09:51:09


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   1     you'll have printers or other peripherals                             09:51:12

   2     attached, and on the other side, you will have                        09:51:14

   3     the device.    You have computers.       And you kind                 09:51:18

   4     of see Dickens up here.       And you can see,                        09:51:20

   5     there is a box, and I invite you to look at                           09:51:27

   6     it.                                                                   09:51:32

   7                   Now, these are -- I don't know why                      09:51:32

   8     Dickens didn't draft these, but it is                                 09:51:33

   9     handwritten -- but again, most of them are                            09:51:37

  10     peripherals over here, and it is going through                        09:51:40

  11     a box, and they can share these over here, but                        09:51:43

  12     it is a switch.                                                       09:51:46

  13                   So they failed with Dickens in the                      09:51:48

  14     patent office, but they're not done with it.                          09:51:49

  15     They bring it back here to combine with Belkin                        09:51:51

  16     and SW211A, which is also interesting.           They                 09:51:55

  17     call it the US-98, but there is no indicia of                         09:52:01

  18     the device being a US-98.                                             09:52:04

  19                   And Mr. Garney thinks it was sold                       09:52:06

  20     by USBGear and it was sold by Black Box, so                           09:52:08

  21     there is some confusion there.                                        09:52:12

  22                   Anyway, we have the device and it                       09:52:14

  23     is an SW211A, and I will submit to you that                           09:52:17

  24     these stand-alone switches, in combination                            09:52:21


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   1     with Dickens, is not a reasonable combination                         09:52:23

   2     and they don't invalidate Mr. Bohm's patent.                          09:52:25

   3                  And we heard from Dr. Levy that                          09:52:28

   4     neither Dickens nor SW211A or Belkin combined                         09:52:34

   5     would meet 23A.     Even if you combine the                           09:52:40

   6     language, I submit to you, it's not a                                 09:52:44

   7     reasonable combination.       And you heard from                      09:52:46

   8     Dr. Levy.                                                             09:52:49

   9                  And that's worth bringing up, too.                       09:52:53

  10     This goes back to what Mr. Bohm disclosed to                          09:52:56

  11     the patent office.     He disclosed whatever he                       09:52:59

  12     could find about the Belkin 4-by-4 USB                                09:53:01

  13     peripheral switch for the unit.         Not a device,                 09:53:04

  14     you usually don't submit devices to the patent                        09:53:07

  15     office, of course, it is usually written                              09:53:09

  16     documentation, and this is what it had.                               09:53:11

  17                  It is four pages; it is a review.                        09:53:14

  18     It gives you a good idea.       It is in evidence.                    09:53:16

  19     It's in Exhibit 270, I believe.         It is in                      09:53:19

  20     evidence and you can look at it yourself.           And               09:53:23

  21     it is about four pages, I think it says there,                        09:53:26

  22     and it tells you a lot about what this device                         09:53:28

  23     does.   It's not super complicated.                                   09:53:30

  24                  And Dr. Levy talked about the fact                       09:53:33


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   1     that it was submitted to the patent office.                           09:53:36

   2     So the patent office had a lot of information.                        09:53:39

   3                  And I don't know if you remember                         09:53:43

   4     hearing Mr. Garney's testimony, I kind of went                        09:53:44

   5     through all the art on the patent, on the                             09:53:49

   6     other publication side, just the title, not to                        09:53:52

   7     belabor the point and bring up every document,                        09:53:53

   8     but all the titles were -- a bunch of them                            09:53:56

   9     were to switches.     So he submitted switches.                       09:53:58

  10     And they are more complicated than these                              09:54:01

  11     switches, they were made by semiconductor                             09:54:03

  12     companies.                                                            09:54:06

  13                  There is the picture of the                              09:54:06

  14     review, and again, we have highlighted there                          09:54:11

  15     the cons of this Belkin, and Mr. Garney says                          09:54:14

  16     they are similar so it has to be 211A also.                           09:54:19

  17     He says -- one of the down sides is you can                           09:54:23

  18     get an error during switching.         And again, we                  09:54:26

  19     are not talking about switching in Mr. Bohm's                         09:54:29

  20     patent; we are talking about maintaining                              09:54:31

  21     dedicated connections and being ready to                              09:54:33

  22     receive that signal to perform, to access a                           09:54:37

  23     function.                                                             09:54:40

  24                  Now, excuse me one second.                               09:54:41


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   1     Written description and enablement.           The                      09:54:48

   2     instruction is Aptiv bears the burden of                               09:54:54

   3     establishing by clear and convincing evidence.                         09:54:57

   4                   Well, we talked about clear and                          09:54:59

   5     convincing evidence, the higher burden of                              09:55:01

   6     preponderance, and the burden is to -- and the                         09:55:04

   7     requirement is must disclose sufficient                                09:55:10

   8     information to enable or teach one with skill                          09:55:13

   9     in the art, as of the filing date of the                               09:55:16

  10     claimed invention, how to make and use the                             09:55:20

  11     full scope of the claimed invention.                                   09:55:22

  12                   Now, what you're going to hear is                        09:55:24

  13     -- and what you heard a little bit during the                          09:55:28

  14     trial that maybe it didn't dawn on you at the                          09:55:30

  15     time, but what you're going to hear is Mr.                             09:55:33

  16     Bohm, in his patent, didn't enable the accused                         09:55:37

  17     product.                                                               09:55:41

  18                   That's a bit confusing.         But                      09:55:42

  19     that's not the requirement.         And the judge is                   09:55:45

  20     going to instruct you that -- and you see down                         09:55:47

  21     there it says, in the last -- on the bottom,                           09:55:50

  22     "The specification does not have to describe                           09:55:54

  23     or enable the accused product."                                        09:55:57

  24                   So the fact that they asked                              09:56:00


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   1     something to, for example in this case, this                          09:56:03

   2     focus on multi-host device controller, that's                         09:56:06

   3     what the '243 Patent is about.         The fact they                  09:56:09

   4     add something else, they are going to tell you                        09:56:12

   5     that something else is the host-to-host bridge                        09:56:14

   6     and they are going to say see, they didn't                            09:56:16

   7     enable that.     There's no host-to-host bridge                       09:56:19

   8     discussion in the patent.                                             09:56:21

   9                    I agree with you, there's not.                         09:56:23

  10     And there's also no host-to-host bridge in the                        09:56:26

  11     claim.   So we don't have to describe and                             09:56:29

  12     enable a host-to-host bridge.        Ours is about                    09:56:32

  13     enable host-to-host controller.         That's what                   09:56:37

  14     we have to do, describe and enable.          The fact                 09:56:39

  15     they add something in addition doesn't make it                        09:56:41

  16     necessary for us to describe that enabled in                          09:56:44

  17     our patent.                                                           09:56:47

  18                    If you think about it in this way,                     09:56:48

  19     it would seem unfair if the patent is for                             09:56:50

  20     20 years, so does an inventor have to describe                        09:56:54

  21     and enable every future application or every                          09:56:58

  22     future product that may use this invention,                           09:57:01

  23     every additional feature on top of it?                                09:57:05

  24                    That makes no sense.      That would                   09:57:07


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   1     be unfair, it would be unreasonable.                                  09:57:09

   2     Technology changes a lot in 20 years, so the                          09:57:11

   3     fact that you add something on top of it, it                          09:57:13

   4     doesn't matter.                                                       09:57:16

   5                   So in this case -- and we heard                         09:57:17

   6     about cookies in the opening by the other                             09:57:20

   7     side, how we'll all go to the cookie, the old                         09:57:24

   8     cookie analogy.     But this is a simple term.                        09:57:27

   9                   We claim, for example, this claim                       09:57:30

  10     is A plus B plus C.      And what I'll tell you                       09:57:34

  11     is, what they are going to tell you is they                           09:57:39

  12     don't infringe because they add D.                                    09:57:40

  13                   They are going to say no, we're A,                      09:57:43

  14     B, C, but we have D.      And you didn't have D in                    09:57:45

  15     your patent, you didn't enable D in your                              09:57:48

  16     patent, so it's invalid.                                              09:57:51

  17                   Well, the claimed invention is A                        09:57:53

  18     plus B plus C.    That's all we have to describe                      09:57:56

  19     and enable.    The fact that you add something                        09:57:59

  20     on top of it plus D doesn't matter.          You are                  09:58:01

  21     still practicing A plus B plus C.                                     09:58:04

  22                   So here we did that.       It's clear.                  09:58:07

  23     You can read -- you can look in the patent                            09:58:09

  24     yourself and see that.                                                09:58:11


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   1                  But, in any event, they have to                          09:58:13

   2     prove lack of written description and                                 09:58:16

   3     enablement by clear and convincing evidence.                          09:58:20

   4     And again, the patent is presumed valid.           And                09:58:23

   5     what does that mean?      It's presumed to have                       09:58:26

   6     met these requirements, not just valid on the                         09:58:29

   7     prior art, but it means the actual patent                             09:58:31

   8     statute requirements, and those include                               09:58:34

   9     written description and enablement.                                   09:58:36

  10                  Now, Dr. Levy testified under the                        09:58:37

  11     correct legal analysis that the claimed                               09:58:43

  12     invention is enabled.      Now, Mr. Garney                            09:58:53

  13     testified that since there's no host-to-host                          09:58:57

  14     communication in the description, that the                            09:59:00

  15     claims aren't enabled.                                                09:59:04

  16                  Well, I have mentioned, you don't                        09:59:07

  17     have to have host-to-host communication unless                        09:59:08

  18     you claim it.    We didn't claim that.        We                      09:59:10

  19     claimed a multi-host device controller.                               09:59:12

  20     That's what we claimed.       And it's clear they                     09:59:17

  21     used that, as Mr. Voto and Mr. Petku testified                        09:59:20

  22     about.                                                                09:59:25

  23                  So on the right-hand side, they                          09:59:26

  24     are going to tell you that we didn't describe                         09:59:30


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   1     or enable again a host-to-host bridge and we                          09:59:34

   2     don't claim host-to-host bridge.         It's just                    09:59:37

   3     part of their device.      It happened to be a                        09:59:40

   4     shared device in our case, but we don't have                          09:59:43

   5     to describe and enable that.                                          09:59:45

   6                  I have gone on to written                                09:59:47

   7     description, I kind of put those two together,                        09:59:51

   8     they kind of go together.       Same standard.       And              09:59:54

   9     again, it says on the written description it                          09:59:56

  10     is "The specification does not have to                                10:00:03

  11     describe the accused product."         That's the                     10:00:05

  12     law.                                                                  10:00:09

  13                  Now, they are going to tell you                          10:00:10

  14     that the patent is invalid because it doesn't                         10:00:12

  15     describe the accused product.        That is not the                  10:00:14

  16     law.                                                                  10:00:17

  17                  So again, we see Dr. Levy applying                       10:00:20

  18     the correct legal standard, what the claimed                          10:00:23

  19     invention is, described, and he concludes it                          10:00:27

  20     is.                                                                   10:00:32

  21                  And Dr. Garney, I guess in a                             10:00:32

  22     back-handed way, opposes that or challenges                           10:00:36

  23     that, but he uses the wrong standard.          He says                10:00:39

  24     well, there's no host-to-host communication,                          10:00:42


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   1     there's no host-to-host bridge discussed, so                          10:00:44

   2     since we have this element, we don't -- I                             10:00:47

   3     mean, you don't describe that so your patent                          10:00:51

   4     is invalid.    That's not the law.                                    10:00:54

   5                   So let's go to damages.        So you                   10:00:56

   6     are going to be instructed that your damages                          10:01:02

   7     award, if you reach this issue, should put                            10:01:05

   8     Microchip in approximately the same financial                         10:01:07

   9     position that it would have been had the                              10:01:09

  10     infringement not occurred.                                            10:01:12

  11                   Now, in this case, we only heard                        10:01:14

  12     from one damages expert, and they are going to                        10:01:16

  13     tell you that they didn't need one because                            10:01:20

  14     they don't infringe, the patent is invalid,                           10:01:22

  15     and they sent their -- well, he never was                             10:01:26

  16     here, you never saw him, Mr. Chase never                              10:01:29

  17     appeared in the courtroom.                                            10:01:32

  18                   So Dr. Becker's analysis is the                         10:01:35

  19     only analysis you have that's been submitted                          10:01:38

  20     to you.   And Dr. Becker went through the                             10:01:42

  21     Panduit factors of the lost profits, and as is                        10:01:49

  22     stated here, there is a demand for the                                10:01:52

  23     patented product.     I think you heard a lot of                      10:01:54

  24     testimony about that.      There is certainly                         10:01:57


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   1     demand for each product.                                              10:01:58

   2                   Absence of acceptable                                   10:02:00

   3     non-infringing substitutes; we didn't hear                            10:02:01

   4     anything about that, any other party having a                         10:02:04

   5     non-infringing substitute.        That is, no one                     10:02:07

   6     can look somewhere else to find a chip to put                         10:02:10

   7     in place of these that wouldn't infringe.                             10:02:12

   8                   In fact, there is no one else                           10:02:14

   9     making these chips, there's only two, there's                         10:02:16

  10     only Aptiv and Microchip.                                             10:02:19

  11                   Microchip's capacity to make extra                      10:02:19

  12     sales.    I mean, you heard from Mr. Obolsky                          10:02:23

  13     that to make the sales that Aptiv -- to make                          10:02:25

  14     the chips that Aptiv sold, that number of                             10:02:28

  15     chips, for example, of Sandia to replace those                        10:02:31

  16     would be about half a day of production for                           10:02:35

  17     them.    So clearly we have capacity.        That's                   10:02:37

  18     not really challenged.                                                10:02:42

  19                   And then the calculation of lost                        10:02:43

  20     profits, which we'll walk through here.           So if               10:02:45

  21     Microchip proves, by a preponderance of the                           10:02:50

  22     evidence, that there were only two suppliers                          10:02:52

  23     in the market, which that's all there is,                             10:02:54

  24     there is Sandia and Boston 2, they are the                            10:02:57


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   1     only suppliers in the market, that's not                               10:03:00

   2     challenged, then Microchip has proven the                              10:03:01

   3     first two factors.      So a demand for the                            10:03:04

   4     product is proven.                                                     10:03:07

   5                   Absence of an acceptable                                 10:03:08

   6     non-infringing substitute is also proven.            We                10:03:09

   7     talked about capacity already.          I just have to                 10:03:13

   8     add a little bit, so let's go over to the                              10:03:16

   9     damages summary.                                                       10:03:20

  10                   So you heard Dr. Becker, and what                        10:03:22

  11     does this slide mean?       It talks about -- this                     10:03:24

  12     is segregated between 2017, when Sandia came                           10:03:28

  13     on the market, and this is only for lost                               10:03:33

  14     profits.                                                               10:03:37

  15                   So the concept is we couldn't have                       10:03:38

  16     been damaged for lost profits -- that is, on                           10:03:41

  17     profits we would have made on our chip --                              10:03:43

  18     because we didn't have a chip in the market.                           10:03:45

  19     So we allege their infringement started back                           10:03:48

  20     in 2015 when they were making the Boston 2                             10:03:50

  21     chip, but we can't claim lost profits on that                          10:03:53

  22     because we weren't in the market.          So we                       10:03:56

  23     didn't lose a sale, per se.                                            10:03:58

  24                   Now, so what is that blue box?                           10:04:00


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   1     Under the patent statute, it says a patentee                           10:04:03

   2     is due, at a minimum, a reasonable royalty.                            10:04:07

   3     So if you had a patent and you didn't use it,                          10:04:10

   4     you could still bring a suit against a company                         10:04:15

   5     that's infringing it and you can obtain                                10:04:18

   6     damages.                                                               10:04:20

   7                   You haven't been personally                              10:04:21

   8     damaged, per se, you haven't lost sales, but                           10:04:22

   9     you would be due a reasonable royalty to be                            10:04:26

  10     determined by the Court and the jury.           And so                 10:04:28

  11     that's this piece.                                                     10:04:31

  12                   And the question mark is whether                         10:04:32

  13     we should be allowed to have a reasonable                              10:04:36

  14     royalty there.     And at a minimum, we believe                        10:04:38

  15     that as soon as Sandia came on the market, we                          10:04:44

  16     would have made the sales of Boston 2 but for                          10:04:47

  17     their infringement.                                                    10:04:50

  18                   Now, we talked about -- we talked                        10:04:52

  19     about -- you might remember this slide, we had                         10:04:56

  20     similar slides -- a negotiation range.            And                  10:04:58

  21     since we don't have any challenging testimony,                         10:05:03

  22     Dr. Becker set some benchmarks on either end                           10:05:12

  23     of the range and then came to the middle                               10:05:15

  24     ground.    And he looked at Sandia and Aptiv as                        10:05:18


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   1     to what we thought that would be, and then he                          10:05:23

   2     just kind of backed the reasonable royalty to                          10:05:24

   3     be ultra conservative and agreeing that that                           10:05:27

   4     came to $1.40.                                                         10:05:30

   5                    That hasn't been challenged in                          10:05:32

   6     this case, so right now, that's the only                               10:05:34

   7     reasonable royalty assertion we have and                               10:05:36

   8     testimony we have.      That's it.                                     10:05:39

   9                    So now, we talked about the blue                        10:05:42

  10     box before; that's the reasonable royalty                              10:05:45

  11     portion.     That would be if you decided that                         10:05:47

  12     Microchip was due a reasonable royalty that                            10:05:49

  13     was during the period that we weren't making a                         10:05:52

  14     product yet.     But we had the patent, the                            10:05:55

  15     patent was already issued, and if you                                  10:05:58

  16     remember, we sent the notice letter in 2015.                           10:06:00

  17                    So we think we are due a                                10:06:03

  18     reasonable royalty during that period, even                            10:06:06

  19     though we didn't make a product at the time.                           10:06:12

  20                    2017, Sandia came on the market,                        10:06:15

  21     and we allege that now we had a product                                10:06:18

  22     available.     Sale of Boston 2, we may have                           10:06:21

  23     made -- because there is no other chips                                10:06:23

  24     available, there is just a two-supplier                                10:06:25


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   1     market, we would have made those sales, and                           10:06:28

   2     that gives you the lost profits number and                            10:06:30

   3     that total is 84 million.                                             10:06:32

   4                  Now, there is another way to look                        10:06:36

   5     at this that I will mention to you.          If you                   10:06:38

   6     had a patent and you weren't practicing it,                           10:06:41

   7     you would still be due a reasonable royalty at                        10:06:43

   8     a minimum.   That's the law.       And in this case,                  10:06:46

   9     if you were to decide well, Microchip is not                          10:06:48

  10     due any lost profits at all, the minimum                              10:06:51

  11     damage award, if you are to agree to issue                            10:06:55

  12     one, would be a reasonable royalty for the                            10:06:59

  13     entire period.    And that number comes to $1.40                      10:07:01

  14     a chip and equals 62 million based on around                          10:07:07

  15     44 or 45 million chips sold by Aptiv.                                 10:07:12

  16                  And that concludes my slides.                            10:07:17

  17     Thank you for your attention.        I probably went                  10:07:20

  18     longer than I intended to.        There was more                      10:07:23

  19     there to cover than I anticipated, but again,                         10:07:26

  20     I want to thank you for your attention today.                         10:07:28

  21     You listened very attentively and I appreciate                        10:07:32

  22     it, and during the trial.                                             10:07:34

  23                  It was distinct for me, through                          10:07:37

  24     jury trials, sometimes we don't have that, but                        10:07:40


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   1     you folks were very attentive and we                                  10:07:42

   2     appreciate it and Microchip appreciates your                          10:07:44

   3     time.   Thank you.                                                    10:07:48

   4                    THE COURT:   All right.      Thank you,                10:07:49

   5     Mr. Slayden.                                                          10:07:51

   6                    We are going to turn to Aptiv's                        10:07:54

   7     argument now.     We can take a five-minute break                     10:07:56

   8     if you want to, if anyone wants to.          It will                  10:08:02

   9     be an hour or an hour-and-a-half for Aptiv,                           10:08:06

  10     but do you want to keep going or not?                                 10:08:10

  11                    Anyone want a break, raise your                        10:08:11

  12     hand.   No?    Okay.   All right.    We're ready.                     10:08:14

  13                    MS. DURIE:   Thank you.                                10:08:16

  14                    Good morning.    I think of a jury                     10:08:23

  15     trial as being a little bit like a detective                          10:08:26

  16     story where each of you is cast in the role of                        10:08:30

  17     the detective.     You come in after the facts,                       10:08:33

  18     you get shown a lot of evidence, and it's up                          10:08:36

  19     to you to decide what happened, to look at the                        10:08:39

  20     evidence that's presented to you and try to                           10:08:43

  21     figure out the real story.                                            10:08:46

  22                    So I want to start there with what                     10:08:49

  23     the evidence has shown you about what                                 10:08:52

  24     happened.     You got pretty starkly different                        10:08:54


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   1     perspectives on that story at the beginning of                        10:09:00

   2     the case.                                                             10:09:02

   3                  At the very beginning of his                             10:09:03

   4     opening statement, Microchip's counsel said,                          10:09:05

   5     "The inventor, Mr. Bohm, was way ahead of his                         10:09:09

   6     time, so no one used his invention for eight                          10:09:13

   7     years.   Microchip, however, was ready and                            10:09:16

   8     waiting for the day when the market would                             10:09:19

   9     catch up."   That was their perspective.                              10:09:21

  10                  What I said to you at the                                10:09:24

  11     beginning of my opening was that "We're here                          10:09:26

  12     because Microchip made a bad business                                 10:09:30

  13     decision, and they want Aptiv to pay for it."                         10:09:32

  14                  It's going to be up to you to                            10:09:36

  15     decide which of those perspectives is                                 10:09:39

  16     supported by the evidence that you've seen.                           10:09:43

  17                  Now, there is one thing that                             10:09:46

  18     counsel and I agree about.        You heard                           10:09:48

  19     testimony from witnesses, and obviously it's                          10:09:51

  20     up to you to judge their credibility.          You've                 10:09:53

  21     also seen a lot of documents, documents from                          10:09:56

  22     back in the day.     And I agree that in thinking                     10:09:59

  23     about this, it makes a lot of sense to put                            10:10:05

  24     weight on those documents, and especially the                         10:10:08


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   1     documents that the parties created before they                        10:10:12

   2     started to have a dispute, because those                              10:10:14

   3     documents reflect what they were thinking at                          10:10:16

   4     the time.                                                             10:10:19

   5                  So I want to review with you some                        10:10:20

   6     of that evidence.     You're going to have it in                      10:10:22

   7     the jury room.     I have put up some exhibit                         10:10:24

   8     numbers and I will try to cull them out, but I                        10:10:28

   9     want to start back at the beginning, right?                           10:10:30

  10                  You heard that Apple was working                         10:10:32

  11     on Apple CarPlay, and there was some                                  10:10:34

  12     suggestion that I think this was sort of                              10:10:37

  13     misleading because it wasn't publicly                                 10:10:39

  14     announced to consumers until 2014.          But                       10:10:41

  15     remember, Apple was developing it; it was                             10:10:44

  16     talking with car companies.        CarPlay is                         10:10:46

  17     coming, right.     What are we going to do?        How                10:10:48

  18     are you guys going to support it?                                     10:10:51

  19                  And Aptiv, then Unwired, was                             10:10:53

  20     working with one of its customers, with Jaguar                        10:10:56

  21     and Land Rover.     And as a function of that,                        10:10:59

  22     and Mr. Voto said, in some ways, they were                            10:11:01

  23     lucky, right?     Jaguar and Land Rover were                          10:11:03

  24     forward-thinking, they were trying to figure                          10:11:07


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   1     out how to deal with CarPlay.                                         10:11:09

   2                  Now, there was some suggestion                           10:11:10

   3     that maybe Unwired got some unfair head-start,                        10:11:13

   4     some inside information.       And you may remember                   10:11:17

   5     we asked Mr. Voto about this.        He was asked,                    10:11:20

   6     "Did you get any information you shouldn't                            10:11:23

   7     have about Apple's requirements?"                                     10:11:25

   8                  And he said no, right?         He said                   10:11:28

   9     let me be very clear.      This was normal stuff;                     10:11:29

  10     right?   They were working with their customer,                       10:11:32

  11     their customer wanted to support CarPlay, so                          10:11:34

  12     they got a sense of what it was that Apple was                        10:11:37

  13     going to be looking for.                                              10:11:40

  14                  And you heard Mr. Voto say, and                          10:11:41

  15     this is Exhibit 192, that they looked at                              10:11:43

  16     different options.     One option they looked at                      10:11:47

  17     was using the Microchip Flex connection, but                          10:11:49

  18     they identified some disadvantages.          And one                  10:11:54

  19     of the disadvantages is they weren't going to                         10:11:56

  20     be able to support CarPlay or USB connectivity                        10:11:58

  21     all the way through the car.                                          10:12:02

  22                  So Mr. Voto said they thought                            10:12:04

  23     about doing something that he at least thought                        10:12:07

  24     was really new and exciting, which was this                           10:12:09


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   1     idea of creating this new host-to-host                                10:12:12

   2     bridging function that would require them to                          10:12:15

   3     do a bunch of custom work, but would allow                            10:12:18

   4     both for this single-lane solution that the                           10:12:21

   5     car companies wanted and to have USB                                  10:12:24

   6     connectivity throughout the car.                                      10:12:26

   7                    And that's what they did.       And you                10:12:28

   8     heard they spent, between their own internal                          10:12:30

   9     resources and what they paid AyDeeKay, about                          10:12:33

  10     $10 million.     They spent a lot of time and                         10:12:39

  11     they took a huge risk.      Because, as you heard                     10:12:42

  12     Mr. Voto say, there was no guarantee it was                           10:12:44

  13     going to work, no guarantee the car companies                         10:12:46

  14     were going to accept it and no guarantee Apple                        10:12:49

  15     was going to accept it.                                               10:12:52

  16                    You remember when he said they                         10:12:53

  17     went to Apple and they were like, can you give                        10:12:54

  18     us a hint?     And Apple was like no, you know,                       10:12:56

  19     put it in, send it to us, looks good.          But at                 10:12:59

  20     the end of the day, it's on you, right, no                            10:13:01

  21     guarantee it was going to work.         But it did.                   10:13:03

  22                    Now, the Microchip side of this.                       10:13:05

  23     Microchip was also talking to the car                                 10:13:10

  24     companies.     This is an internal email from                         10:13:12


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   1     June of 2018, and there's a reference to Dave.                         10:13:15

   2     And you remember Dave came up in a number of                           10:13:20

   3     emails.    He was at Chrysler.       So Microchip was                  10:13:22

   4     talking to the folks at Chrysler about this                            10:13:24

   5     same thing, how are we going to deal with                              10:13:26

   6     CarPlay?                                                               10:13:28

   7                   But the tone of this is very                             10:13:29

   8     different, because what Microchip is saying is                         10:13:32

   9     with USB, you've got one host, you've got                              10:13:35

  10     multi-devices, this is critical, we need to                            10:13:39

  11     emphasize you cannot do CarPlay and own the                            10:13:42

  12     other ports with one USB data lane.                                    10:13:49

  13                   In other words, Microchip's                              10:13:51

  14     reaction to this problem was to say to                                 10:13:52

  15     Chrysler, cannot be done, right?          Impossible.                  10:13:55

  16     And that became the consistent theme for the                           10:13:59

  17     next, hmm, roughly eight months, right?                                10:14:03

  18                   Mr. Obolsky testified, and I will                        10:14:06

  19     say, I think he was actually pretty                                    10:14:09

  20     straightforward in his testimony about this.                           10:14:11

  21     I mean, I said, Microchip was telling its                              10:14:14

  22     customers this one-lane persistent USB thing                           10:14:16

  23     isn't going to work, and instead, you should                           10:14:19

  24     go with FlexConnect which isn't going to allow                         10:14:22


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   1     you to have that connectivity.         He said,                       10:14:25

   2     that's about right.                                                   10:14:29

   3                  July of 2014, Microchip learns                           10:14:29

   4     about Aptiv, Exhibit 246.       They've got flex on                   10:14:32

   5     every port and connectivity throughout the                            10:14:35

   6     car.   And again, further on in that same                             10:14:39

   7     email, "It is difficult to believe the                                10:14:44

   8     carmakers would commit to an ASIC from a small                        10:14:46

   9     company like Unwired."                                                10:14:49

  10                  You heard me say in opening the                          10:14:50

  11     first of the three Ds; right?        Dismiss.      And                10:14:52

  12     that is exactly what happened.         Microchip                      10:14:55

  13     initially just dismissed the Unwired solution.                        10:14:58

  14                  I asked Mr. Obolsky, they were a                         10:15:00

  15     small stand-alone company and so you dismissed                        10:15:03

  16     their solution?     His answer, yes.                                  10:15:06

  17                  And we kept going.        Now we're in                   10:15:08

  18     July of 2014.     Microchip is trying to debunk                       10:15:11

  19     the Unwired solution.      So they want to put out                    10:15:15

  20     some information to customers, draw out                               10:15:19

  21     responses.   They want to better understand                           10:15:22

  22     what Unwired is doing.      That's fine, that's                       10:15:25

  23     fair, but they are investigating our solution.                        10:15:27

  24                  They learn some information about                        10:15:30


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   1     it.     They get statements from a bunch of their                      10:15:33

   2     customers about what Unwired is doing.             What                10:15:35

   3     conclusion do they draw?        The architecture is                    10:15:38

   4     flawed, it's not going to work.          And the                       10:15:41

   5     problems they identify with Unwired, we don't                          10:15:44

   6     really understand how it works, we don't think                         10:15:47

   7     it's going to be CarPlay compliant, it's a big                         10:15:49

   8     risk, we shouldn't do that.                                            10:15:52

   9                    And, in fact, in an email in                            10:15:54

  10     August, this is now Exhibit 252, "We pointed                           10:15:56

  11     this out at the design that we looked at,"                             10:15:59

  12     that's the Unwired-like architecture, "and                             10:16:02

  13     ruled it out due to CarPlay compliance                                 10:16:05

  14     concerns."                                                             10:16:08

  15                    And they go on to say basically                         10:16:09

  16     look, if Apple approves it, then we'll think                           10:16:10

  17     about doing it.      But you heard from Mr. Voto,                      10:16:13

  18     Apple doesn't approve it until it's ready to                           10:16:15

  19     be in a car.                                                           10:16:18

  20                    So this sort of creates a circular                      10:16:19

  21     loop.     We don't want to do it unless Apple is                       10:16:20

  22     going to approve it, but Apple is not going to                         10:16:23

  23     approve it unless we show that we can do it.                           10:16:25

  24     Microchip wanted to just sit it out.                                   10:16:28


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   1                   We'll now fast forward to August.                       10:16:30

   2     Again, more discussions about this internally                         10:16:32

   3     at Microchip.     It's not compliant, it's not                        10:16:34

   4     standard USB.     There's no way it can be                            10:16:37

   5     guaranteed.     This isn't going to work, right?                      10:16:40

   6     It's not compliant.                                                   10:16:42

   7                   More here in October.       Consistent                  10:16:44

   8     theme.   How is this possible?       They couldn't                    10:16:48

   9     figure out how this would work.         I have no                     10:16:52

  10     idea.                                                                 10:16:55

  11                   David Sroka, we saw his name on a                       10:16:58

  12     bunch of these documents.       Marketing guy but                     10:17:01

  13     also engineer at Microchip.        "When persistent                   10:17:04

  14     USB is a requirement we have run into a wall."                        10:17:07

  15                   December of 2014.      They have now                    10:17:13

  16     been thinking about this problem for months                           10:17:16

  17     and months.     "We wish we could provide a                           10:17:18

  18     solution but we don't have it."                                       10:17:21

  19                   More information is needed.         Upper               10:17:24

  20     management has gotten involved.         And you may                   10:17:29

  21     remember, this goes up to the very highest                            10:17:32

  22     levels of Microchip, right?        Upper management,                  10:17:34

  23     including Mr. Obolsky, is aware of the market,                        10:17:40

  24     the requirements, proposed solution.          We need                 10:17:42


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   1     more information, it's going to take time, we                         10:17:44

   2     need a business case, December of 2014.                               10:17:46

   3                   And I asked Mr. Obolsky, your                           10:17:49

   4     response wasn't absolutely, we'll get right on                        10:17:52

   5     it; your response was yeah, we'll think about                         10:17:55

   6     it and see if that's something we want to do.                         10:17:59

   7     That's the response here, December of 2014,                           10:18:01

   8     months and months and months after the                                10:18:03

   9     customers had been asking for a solution.                             10:18:04

  10                   January 6, 2015, finally Microchip                      10:18:07

  11     says okay, we're going to develop a solution                          10:18:12

  12     of our own.    We are planning to develop a next                      10:18:15

  13     generation solution, in part based on Tecvox's                        10:18:17

  14     feedback, in part in response to the Unwired                          10:18:21

  15     solution, which we had dismissed when they                            10:18:23

  16     were a small stand-alone company.                                     10:18:25

  17                   January 6th, again, Mr. Obolsky:                        10:18:28

  18     "We have been working on the business case and                        10:18:32

  19     technical details to provide a single                                 10:18:35

  20     connection solution similar to Unwired.           Still               10:18:37

  21     not sure if the return on investment justifies                        10:18:40

  22     it.   It's going to cost one-and-a-half to                            10:18:43

  23     $2 million, but at least, you know, we think                          10:18:46

  24     probably maybe this makes sense.         Still need a                 10:18:48


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   1     little more information."                                             10:18:51

   2                   I asked him, "Now, sir, you said                        10:18:52

   3     yesterday in your direct examination that                             10:18:55

   4     Microchip always does what its customers                              10:18:57

   5     want."   I don't know if you remember that                            10:19:00

   6     testimony.    Always does it.                                         10:19:02

   7                   His answer, "Eventually, yes."          I               10:19:03

   8     think that was very candid, because that is,                          10:19:06

   9     in fact, what the evidence shows.                                     10:19:09

  10                   Now, you heard some criticism                           10:19:10

  11     directed to Mr. Voto that maybe Unwired should                        10:19:13

  12     have gone to Microchip back in 2013 as it was                         10:19:17

  13     working with Jaguar and Land Rover and                                10:19:21

  14     realized FlexConnect would work and should                            10:19:23

  15     have said to Microchip, oh, will you create                           10:19:26

  16     this solution for us?                                                 10:19:28

  17                   Can you imagine what Microchip's                        10:19:30

  18     reaction would have been?       Unwired was this                      10:19:31

  19     small stand-alone company.        Microchip's                         10:19:34

  20     mindset, no boss can serve two masters.           It's                10:19:36

  21     not going to be CarPlay compliant, not going                          10:19:41

  22     to be USB compliant, can't be guaranteed to be                        10:19:43

  23     successful.    It's not going to be worth the                         10:19:45

  24     investment.    We've got FlexConnect; we think                        10:19:47


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   1     it's great.     You've got to sell this to upper                      10:19:50

   2     management like the CEO of the company.           We'll               10:19:53

   3     think about it maybe, eventually.         That was                    10:19:55

   4     not a viable solution.                                                10:19:58

   5                   So Unwired did what companies do                        10:19:59

   6     in response to trying to meet their customers'                        10:20:02

   7     demands and came up with a solution completely                        10:20:05

   8     on their own.                                                         10:20:07

   9                   Now, you heard from the four fact                       10:20:08

  10     witnesses in this case, each of whom gave                             10:20:11

  11     their perspective on what happened, and you                           10:20:14

  12     can evaluate their testimony relative to the                          10:20:17

  13     documents in the case.      But there is one thing                    10:20:20

  14     that I want to note about Mr. Bohm.                                   10:20:23

  15                   Mr. Bohm obviously is proud of his                      10:20:27

  16     patent, and I think he did the best that he                           10:20:29

  17     could, but let's take a look at some of his                           10:20:32

  18     testimony.    He was asked, "Did Microchip have                       10:20:35

  19     any other CarPlay solutions in mind around the                        10:20:38

  20     time when you were looking into the CarPlay                           10:20:42

  21     issue in 2013?"     2013.                                             10:20:44

  22                   "Yes, yes.    In that timeframe,                        10:20:48

  23     especially once we began to engage with the                           10:20:50

  24     carmakers, we were recognizing a third                                10:20:52


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   1     scenario, which would be a single upstream,                           10:20:55

   2     but with multi-host device controller so we                           10:20:57

   3     could actually maintain connectivity of two                           10:21:00

   4     hosts simultaneously."                                                10:21:03

   5                  Athens, that's FlexConnect, did                          10:21:04

   6     not have that capability.       2013?    You have                     10:21:07

   7     seen all of the documents from 2014 into the                          10:21:11

   8     beginning of 2015 when they couldn't get it to                        10:21:14

   9     work.   They knew it wasn't compliant; they                           10:21:17

  10     didn't have any solution at all.                                      10:21:19

  11                  There's not a single document to                         10:21:21

  12     suggest that this is anything that anyone at                          10:21:24

  13     Microchip was thinking about back in 2013.                            10:21:28

  14                  And we heard Mr. Bohm's testimony,                       10:21:31

  15     "And then the second was after going through                          10:21:36

  16     this process and realizing this was a great                           10:21:36

  17     opportunity for the multi-host device                                 10:21:39

  18     controller patent, we also learned of our                             10:21:42

  19     competitor, Aptiv, offering a very                                    10:21:44

  20     similar-sounding solution."                                           10:21:47

  21                  We had this great idea and then we                       10:21:48

  22     heard that Aptiv had the same thing.          That,                   10:21:50

  23     again, I think, is not what the documents                             10:21:54

  24     show.   What the documents show is that                               10:21:56


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   1     Microchip thought this was not possible until                          10:21:59

   2     they learned that Aptiv had done it, and then                          10:22:01

   3     spent months and months trying to figure out                           10:22:04

   4     how.                                                                   10:22:07

   5                   And finally, I don't want to                             10:22:09

   6     belabor the point, but Mr. Bohm said -- and                            10:22:10

   7     again, this is just the timeline -- Mr. Bohm                           10:22:14

   8     said, the second was after going through this                          10:22:17

   9     process and realizing this was a great                                 10:22:20

  10     opportunity for the multi-host device                                  10:22:22

  11     controller patent, we also learned of our                              10:22:25

  12     competitor with a similar-sounding solution.                           10:22:27

  13     Again, I think just the timeline does not bear                         10:22:30

  14     that out.                                                              10:22:32

  15                   So why are we here talking about                         10:22:33

  16     patents?    In January of 2015, Microchip                              10:22:35

  17     decides that they have got to take action and                          10:22:40

  18     initiate business and technical actions to                             10:22:43

  19     combat the Unwired threat.         Why?    Because that                10:22:47

  20     is the same timeframe in which they decide                             10:22:50

  21     that they are going to try to make a chip to                           10:22:53

  22     meet this demand, too.                                                 10:22:55

  23                   So what do they do?         They send the                10:22:57

  24     letter to us, to Aptiv, saying, "Our patents                           10:23:00


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   1     cover key aspects of any multi-host USB device                        10:23:04

   2     controller-based solution that might be                               10:23:07

   3     implemented within the automotive infotainment                        10:23:09

   4     system environment."      Any solution to CarPlay,                    10:23:11

   5     anything at all, we own it.                                           10:23:14

   6                  And this is the same time that                           10:23:17

   7     they have decided maybe it's technically                              10:23:19

   8     feasible to move forward with the project, so                         10:23:22

   9     we are going to try to build a chip of our                            10:23:25

  10     own.                                                                  10:23:27

  11                  Now, one of the things you heard                         10:23:27

  12     in Microchip's opening statement was the                              10:23:29

  13     following assertion:      "As soon as Microchip                       10:23:31

  14     heard about Aptiv's device, Microchip wrote a                         10:23:34

  15     letter to give Aptiv notice about the '243                            10:23:36

  16     Patent at issue in this case.        Aptiv refused                    10:23:39

  17     to stop infringing, and that is why we are                            10:23:42

  18     here."                                                                10:23:44

  19                  I would suggest that what the                            10:23:45

  20     documents show is that it is more that as soon                        10:23:48

  21     as Microchip decided to build its own solution                        10:23:52

  22     in January of 2015, Microchip wrote a letter                          10:23:54

  23     giving Aptiv notice.      It had known that Aptiv                     10:23:59

  24     had a solution for months.        It was right at                     10:24:02


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   1     the same time that it decided that it wanted                           10:24:05

   2     to have one, too, that it sent the notice                              10:24:07

   3     letter.                                                                10:24:09

   4                   And it was on this same date,                            10:24:11

   5     January 12th, that they decided aha, we're                             10:24:13

   6     going to pursue our own solution, and you know                         10:24:16

   7     what we're going to call it?         We're going to                    10:24:19

   8     be really clever, we are going to call it the                          10:24:21

   9     multi-host device controller because we have                           10:24:24

  10     that name in our patent.                                               10:24:27

  11                   One of the things counsel said                           10:24:29

  12     that I agree with, pay particular -- trust the                         10:24:30

  13     documents before the parties got into a                                10:24:32

  14     dispute.    After the parties get into a dispute                       10:24:34

  15     may be a little bit dicier, right?           Because                   10:24:36

  16     they are building the record that is going to                          10:24:39

  17     be presented to you.                                                   10:24:40

  18                   And I think that is exactly what                         10:24:41

  19     happened with Microchip's use of the name                              10:24:43

  20     multi-host device controller from its patents                          10:24:46

  21     when it started talking about the product that                         10:24:49

  22     it was going to make.                                                  10:24:52

  23                   Now, Aptiv/Delphi answered that                          10:24:53

  24     letter right away.      You heard Mr. Voto say, we                     10:24:57


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   1     got it, sat down with Mr. Petku, studied it,                          10:24:59

   2     could not figure out why they thought we                              10:25:02

   3     infringed, the letter had no details,                                 10:25:04

   4     responded right away, January 30th, three                             10:25:06

   5     weeks later, two-and-a-half weeks later, and                          10:25:10

   6     then silence.                                                         10:25:12

   7                  No response from Microchip.                              10:25:13

   8     Nothing, right?     For months and months and                         10:25:15

   9     months.   No response.     Except you know one                        10:25:17

  10     thing that happened?      March 26, 2015, Aptiv's                     10:25:20

  11     first patent application became public.           That                10:25:26

  12     publication date is on the face of the patent.                        10:25:30

  13     The patent is Exhibit 187, March 26, 2015.                            10:25:33

  14     They read our patent and they learn everything                        10:25:38

  15     about our solution.                                                   10:25:42

  16                  And then, including all these                            10:25:45

  17     details, you heard Mr. Voto talk about it,                            10:25:47

  18     block diagrams, explanation of our two-host,                          10:25:50

  19     two-device system.                                                    10:25:54

  20                  And then what do we see in July, a                       10:25:55

  21     little bit later?     Product Business Plan for                       10:25:58

  22     Sandia, right?    And now all of the sudden,                          10:26:00

  23     Microchip has a solution that's going to work                         10:26:04

  24     that looks exactly like what Aptiv did.                               10:26:07


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   1                   Multi-host to bridge, in between,                        10:26:10

   2     wait for the two hosts to communicate with                             10:26:14

   3     each other, just like what we had thought of.                          10:26:16

   4                   And Mr. Obolsky said in his                              10:26:19

   5     testimony, "At this point, we said we're going                         10:26:23

   6     to do a chip and I put the burden on them,                             10:26:25

   7     we're late," which is true, "we have to use                            10:26:29

   8     all the IP we already have."                                           10:26:31

   9                   I think that was intended maybe to                       10:26:33

  10     be a reference to the patent at issue in this                          10:26:35

  11     lawsuit, but if you look at Exhibit 25, which                          10:26:37

  12     is that document, that plan for Sandia, what                           10:26:40

  13     you're going to see is when he talks about                             10:26:42

  14     reusing IP from previous programs, he is                               10:26:45

  15     talking about other chips they have.           He is                   10:26:47

  16     not actually talking about the patent.                                 10:26:49

  17                   And then we roll forward to                              10:26:51

  18     October of 2015, the meeting at which Mr.                              10:26:55

  19     Obolsky was present, Mr. Voto was present, Mr.                         10:26:58

  20     Dreon was present.      And you remember you heard                     10:27:00

  21     it started out okay and then went off the                              10:27:02

  22     rails when Mr. Obolsky brought up patents, Mr.                         10:27:05

  23     Voto said we read them, that was back in                               10:27:08

  24     January.    You have been silent.        We don't                      10:27:10


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   1     understand why you would think we infringed.                          10:27:13

   2                  And Mr. Obolsky said well, we are                        10:27:14

   3     going to get a hub and we are going to test.                          10:27:16

   4                  So here's the basic timeline,                            10:27:18

   5     right?   We get the assertion letter, our                             10:27:21

   6     patent application publishes, Microchip then                          10:27:23

   7     starts really working in earnest on Sandia,                           10:27:26

   8     they have this meeting, things break down.                            10:27:28

   9     And as you have heard, the ultimate outcome of                        10:27:30

  10     that was this lawsuit.                                                10:27:33

  11                  Now, again, the story here that                          10:27:34

  12     you are being asked to decide, was Mr. Bohm                           10:27:39

  13     just way ahead of his time, or is it the case,                        10:27:42

  14     after looking at all of this evidence, that                           10:27:46

  15     the conclusion is that Microchip made a bad                           10:27:48

  16     business decision, they missed the                                    10:27:51

  17     opportunity, and now, they are looking for a                          10:27:54

  18     way to catch up?                                                      10:27:57

  19                  I think when you consider the                            10:27:57

  20     answer to that question and you look at the                           10:27:59

  21     documents, the vast weight of that is all on                          10:28:00

  22     our side.   There is not a single document in                         10:28:04

  23     the case that suggests otherwise.                                     10:28:07

  24                  Now, I also want to talk a little                        10:28:10


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   1     bit about the experts.       You heard from three                      10:28:13

   2     experts:    Mr. Zatkovich and Mr. Levy on the                          10:28:15

   3     one hand, Mr. Garney on the other.           And you                   10:28:18

   4     may remember at the very beginning of the                              10:28:21

   5     case, the Court instructed you with respect to                         10:28:23

   6     how to think about expert testimony.                                   10:28:25

   7                    And one of the things the Court                         10:28:27

   8     said is that in deciding whether to rely on                            10:28:29

   9     that testimony, you can think about any bias                           10:28:31

  10     that the witness might have, including                                 10:28:34

  11     evidence that he or she testifies regularly                            10:28:36

  12     and makes a large part of his or her income                            10:28:38

  13     from testifying in court.                                              10:28:41

  14                    So Microchip brought you two                            10:28:44

  15     experts.    They're both very skilled experts.                         10:28:46

  16     They both, you know, advertise on the                                  10:28:51

  17     Internet.     They are experts that you can hire.                      10:28:54

  18     And I think they're both really good.           They do                10:28:56

  19     it a lot, right?      60 plus times they have                          10:28:59

  20     testified at trials, in front of juries like                           10:29:01

  21     you, a lot.                                                            10:29:04

  22                    We brought you Mr. Garney.                              10:29:05

  23     There's a reason for that, right?          He's been                   10:29:08

  24     our expert for five years.         He wrote the USB                    10:29:10


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    1    specification.    We think he is the real                             10:29:14

    2    expert.                                                               10:29:15

    3                  Now, one thing that's interesting                       10:29:16

    4    here about Mr. Zatkovich and Mr. Levy, you                            10:29:18

    5    heard each of them testify.        They both                          10:29:20

    6    testified about infringement, they both                               10:29:22

    7    testified about validity.       They're both                          10:29:24

    8    competent to do all of those things, but here                         10:29:27

    9    they were silent, right?                                              10:29:30

   10                  Mr. Zatkovich talked about                              10:29:31

   11    infringement, didn't try to be consistent with                        10:29:32

   12    what Dr. Levy was saying about validity.           Dr.                10:29:35

   13    Levy testified about validity, didn't have                            10:29:38

   14    access to anything that Mr. Zatkovich said,                           10:29:40

   15    couldn't be sure that his opinions were being                         10:29:43

   16    consistent.                                                           10:29:45

   17                  I would just pause for a moment                         10:29:46

   18    and ask yourself, if you're Microchip, why                            10:29:47

   19    would you do that?     Why would you have two                         10:29:50

   20    different people testifying about that when                           10:29:53

   21    each of them is capable to do the whole thing?                        10:29:55

   22    Something worth thinking about, right?                                10:29:58

   23                  And Mr. Levy, again, no effort to                       10:30:00

   24    make sure the opinions that were being                                10:30:03


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    1    presented were consistent, not only with Mr.                          10:30:05

    2    Zatkovich's opinions, but with what the                               10:30:08

    3    earlier expert that Microchip had hired in the                        10:30:10

    4    patent office had said before.                                        10:30:13

    5                   Now, I said we brought you Mr.                         10:30:16

    6    Garney.     Obviously not experienced as a                            10:30:19

    7    witness, said he's never done this before,                            10:30:21

    8    never testified at trial.       But when it comes                     10:30:23

    9    to the USB specification, he is the guy.           He                 10:30:25

   10    was the chair of the working group.                                   10:30:28

   11                   That's why we brought him, to                          10:30:31

   12    testify with respect to the USB standard, not                         10:30:34

   13    as someone who is a professional, but as                              10:30:37

   14    someone who was the guy who was back there at                         10:30:39

   15    the time.                                                             10:30:41

   16                   So let's talk about the '243                           10:30:41

   17    Patent.     What does Microchip say that patent                       10:30:45

   18    is about?     Well, Microchip's counsel, in                           10:30:47

   19    opening, said what's this case about?          It's                   10:30:50

   20    about Microchip's patent on a device for                              10:30:52

   21    connecting between two computers which today                          10:30:54

   22    is used for Apple CarPlay.        That's what they                    10:30:56

   23    characterize their patent as, a device for                            10:30:59

   24    connecting two computers.       So they're                            10:31:01


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    1    basically saying here is what we got a patent                         10:31:02

    2    on, right?    A way to connect two computers.                         10:31:05

    3                  Not so much.     Mr. Bohm was asked,                    10:31:07

    4    "You don't mention host-to-host communication                         10:31:11

    5    in your patent; right?                                                10:31:13

    6                  "Not that I recall."                                    10:31:14

    7                  Mr. Ghosh, you may remember,                            10:31:15

    8    testified by deposition.       "Can you point to                      10:31:18

    9    where in the patents host-to-host                                     10:31:19

   10    communication is described?                                           10:31:22

   11                  "No."   He agreed, nothing in all                       10:31:23

   12    of the prior art references that were listed                          10:31:27

   13    that he could identify that was about                                 10:31:29

   14    host-to-host communication.                                           10:31:31

   15                  And Dr. Levy, I asked him, "You                         10:31:33

   16    don't say the inventors showed a way for two                          10:31:36

   17    computers to be able to talk to each other?"                          10:31:38

   18                  He said, "I didn't even address                         10:31:40

   19    that."                                                                10:31:42

   20                  Mr. Levy again, "Since                                  10:31:42

   21    host-to-host communication is not mentioned in                        10:31:45

   22    the body of the patent or in the claims, I did                        10:31:47

   23    not consider that aspect."                                            10:31:49

   24                  So is it a patent about a way for                       10:31:52


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    1    two computers to connect, to communicate with                         10:31:56

    2    each other?     I would suggest the answer to                         10:31:59

    3    that question is no.                                                  10:32:01

    4                  Now, what do we say the patent is                       10:32:01

    5    about?    We say the patent is about a way for                        10:32:04

    6    two USB hosts to share one USB device by                              10:32:07

    7    alternating access to it.       You've got the                        10:32:14

    8    patent.    You can read the abstract.        That's                   10:32:17

    9    what it says.     And it was the solution to this                     10:32:19

   10    problem that Mr. Bohm had identified.                                 10:32:23

   11                  You've got off-the-shelf USB                            10:32:26

   12    devices like printers.      You could only connect                    10:32:28

   13    them up to one host.      Wouldn't it be great to                     10:32:31

   14    have a way for both of those hosts to be able                         10:32:33

   15    to control and use that one peripheral device?                        10:32:35

   16    That was the problem.      The patent was the                         10:32:38

   17    solution to it.                                                       10:32:40

   18                  Now, we know from the USB                               10:32:41

   19    specification, you've heard this a lot,                               10:32:44

   20    there's only one host in any USB system,                              10:32:45

   21    right?    One host, multiple devices.        And so                   10:32:48

   22    what that means is that Mr. Bohm's invention                          10:32:51

   23    was not standard USB by definition.                                   10:32:54

   24                  And you heard this, this was from                       10:32:56


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    1    counsel's opening statement, Microchip's                              10:32:58

    2    opening statement.     USB standard, one host,                        10:33:02

    3    one device.     Mr. Bohm's invention, two hosts                       10:33:04

    4    one device, non-standard USB.                                         10:33:07

    5                   And Mr. Bohm said repeatedly                           10:33:09

    6    throughout his testimony, he explained to you                         10:33:12

    7    what it means for this to be a non-standard                           10:33:15

    8    solution.     "Why do you consider that to be                         10:33:17

    9    non-standard?                                                         10:33:19

   10                   Well, the USB specification,                           10:33:20

   11    itself, is written so there's a single-host                           10:33:22

   12    controller that's in charge of the USB bus and                        10:33:24

   13    that all devices connect into.         So all of the                  10:33:27

   14    devices are designed to be talking to a                               10:33:29

   15    single-host computer.      And the multi-host                         10:33:31

   16    device controller idea is one that allows a                           10:33:34

   17    device to talk to more than one host.          And                    10:33:37

   18    that's why it is outside of the USB                                   10:33:40

   19    specification, itself.                                                10:33:42

   20                   Hold that thought.      It's going to                  10:33:45

   21    be really important.                                                  10:33:46

   22                   Let's continue with Mr. Bohm.                          10:33:47

   23    "Can you give us some examples you mentioned                          10:33:49

   24    of going outside the USB spec?"         What does he                  10:33:53


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    1    say?                                                                  10:33:55

    2                  "One of the non-standard features                       10:33:56

    3    is the multi-host device controller that is                           10:33:58

    4    the discussion of some of the patents in this                         10:34:01

    5    case."                                                                10:34:03

    6                  And again, he testified, "The                           10:34:03

    7    device would need to support being configured                         10:34:05

    8    and accessed by multi-hosts and would                                 10:34:07

    9    therefore be a custom device.                                         10:34:12

   10                  "And by custom device, I would                          10:34:13

   11    kind of count that into it's outside of the                           10:34:15

   12    USB specification."      Right?                                       10:34:17

   13                  So that's the patented invention.                       10:34:19

   14    We're doing this thing that's not part of the                         10:34:22

   15    USB specification.     It is not USB compliant.                       10:34:24

   16    You didn't hear anything about that in                                10:34:28

   17    Microchip's closing, but that's a really                              10:34:30

   18    important point.     It's not USB compliant.                          10:34:34

   19                  Let's talk about why we don't                           10:34:37

   20    infringe.   First point I wanted to make, you                         10:34:40

   21    guys are the first ones to think about this                           10:34:43

   22    question and make a decision, right?          Nobody                  10:34:45

   23    else has looked at infringement before.           Mr.                 10:34:47

   24    Zatkovich agreed with that.        No dispute                         10:34:49


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    1    between the parties.      You get to make this                        10:34:52

    2    decision in the first instance, blank slate.                          10:34:54

    3                  Now, the first reason we don't                          10:34:56

    4    infringe, we do not have two hosts that share                         10:34:59

    5    one USB device block.      That's what claim 23                       10:35:04

    6    requires; a shared USB device block that is                           10:35:08

    7    operable to be simultaneously configured by                           10:35:12

    8    two or more hosts, two hosts share one device.                        10:35:15

    9                  And Mr. Zatkovich said each host                        10:35:21

   10    must be able to access and share the same                             10:35:23

   11    segment of the USB device and perform the same                        10:35:25

   12    function in it.     So again, right, that's the                       10:35:29

   13    invention we have seen.       Two hosts, one                          10:35:31

   14    device.                                                               10:35:34

   15                  And you heard from Mr. Voto, when                       10:35:35

   16    he looked at the patent, the reason he could                          10:35:37

   17    not figure out why Microchip was saying that                          10:35:39

   18    Aptiv infringed?     We don't have two hosts that                     10:35:43

   19    are trying to share one USB device.          How do                   10:35:47

   20    you guys know that?      How are you going to                         10:35:51

   21    answer that question?                                                 10:35:54

   22                  Here are some things you can look                       10:35:55

   23    at.   First, every single document in this case                       10:35:57

   24    shows two USB devices.      Every single one,                         10:36:01


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    1    Device A and Device B.       And there is a bunch                      10:36:05

    2    of them.     Here are some of the exhibits you                         10:36:09

    3    can look at, some of the different technical                           10:36:11

    4    documents.     Every single one says Device A and                      10:36:13

    5    Device B and shows those two USB devices.                              10:36:16

    6                   Now, you heard comments about that                      10:36:20

    7    sometimes they talk about a bridge device,                             10:36:23

    8    right?     That's true.    And we asked Mr. Voto                       10:36:25

    9    about that.     Is that whole cable sometimes                          10:36:28

   10    referred to as a bridge device, sort of                                10:36:31

   11    colloquially, and he said sure.          We can call                   10:36:33

   12    the whole thing a device if you want, but                              10:36:37

   13    technically speaking, there's two different                            10:36:39

   14    device controllers inside of there to talk to                          10:36:41

   15    two different hosts.                                                   10:36:44

   16                   And that was, I think, the point                        10:36:45

   17    Mr. Petku was making as well in the deposition                         10:36:47

   18    that you saw played twice; right?          Sure, you                   10:36:49

   19    might talk about it loosely as a bridge                                10:36:51

   20    function, but technically if you want to be                            10:36:53

   21    accurate, you've got two different devices in                          10:36:55

   22    there, and as we're going to see, performing                           10:36:57

   23    two different functions.                                               10:37:00

   24                   But this fact that there are two                        10:37:01


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    1    USB device controllers in there, that is in                           10:37:03

    2    every single technical document.         It's not                     10:37:05

    3    even in dispute.     Each of those devices only                       10:37:08

    4    responds to requests from its own host.                               10:37:11

    5                  Also not in dispute, this was a                         10:37:14

    6    slide that Mr. Zatkovich presented.          This was                 10:37:17

    7    one of his demonstratives.        He said the first                   10:37:19

    8    controller responds to USB requests from the                          10:37:21

    9    first host, the second controller responds to                         10:37:24

   10    USB requests from the second host.          His slide.                10:37:27

   11    Each device reports a different device                                10:37:31

   12    descriptor and a different function.                                  10:37:33

   13                  Now, we heard something about sort                      10:37:35

   14    of addresses and having different addresses.                          10:37:37

   15    I'm not saying anything about addresses.            This              10:37:39

   16    is different.     Each device gets asked, as part                     10:37:42

   17    of the configuration process, what are you,                           10:37:45

   18    right?   Who are you and what do you do?          And                 10:37:48

   19    responds here's -- here's who I am, here's my                         10:37:51

   20    device descriptor and here's what I do.           Here                10:37:54

   21    is my function.                                                       10:37:56

   22                  And we know from the USB                                10:37:57

   23    specification, one USB device has one device                          10:38:00

   24    descriptor.     If it has two things, it will say                     10:38:02


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    1    I do these two things, but it's going to say                          10:38:05

    2    the same thing to every single host.                                  10:38:07

    3                  What about in the Aptiv system?                         10:38:09

    4    One of these presents a vendor-specific                               10:38:12

    5    function, right?     One of the USB devices had a                     10:38:15

    6    vendor-specific function.       The other USB                         10:38:17

    7    device says I have an NCM and iAP2 function.                          10:38:21

    8    Different device descriptors, different                               10:38:25

    9    functions because they are different devices.                         10:38:27

   10                  And indeed, Mr. Bohm admitted he                        10:38:30

   11    doesn't say anything in the patent about the                          10:38:33

   12    idea that you could have one device reporting                         10:38:35

   13    different device descriptors to different                             10:38:39

   14    hosts.    And he's right.     By the way, there's                     10:38:41

   15    nothing in the patent about that; it doesn't                          10:38:45

   16    even make sense.                                                      10:38:47

   17                  Each device and host pair is on a                       10:38:48

   18    different USB network.      What do we mean by                        10:38:51

   19    that?    Fundamentally, each host talks to its                        10:38:54

   20    own device.    And this was asked of Mr. Voto                         10:38:58

   21    and he explained, we've got two USB networks,                         10:39:01

   22    two different networks.       So no data is going                     10:39:05

   23    back and forth.     One host is talking to its                        10:39:08

   24    device, the other host is talking to its                              10:39:10


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    1    device; there's no cross-talk on those USB                            10:39:12

    2    networks.     And that means that the head unit                       10:39:15

    3    and the iPhone, as Mr. Voto also said, are not                        10:39:18

    4    sharing the USB device.                                               10:39:20

    5                   What does this look like?       This is                10:39:23

    6    that diagram that we've seen a bunch of times.                        10:39:26

    7    The blue is one network; that is the iPhone                           10:39:29

    8    talking to its device.      Red is the other USB                      10:39:31

    9    network; that is the head unit talking to                             10:39:35

   10    Device A and to other peripheral devices that                         10:39:37

   11    might be in the car.      There is no USB                             10:39:39

   12    connection between them.                                              10:39:42

   13                   That bridge in there, that's not                       10:39:44

   14    even a USB connection.      That is two sets of                       10:39:46

   15    buffers where data just goes back and forth                           10:39:49

   16    not in USB.     But these two USB networks,                           10:39:51

   17    completely separate, no cross-talk.          Don't                    10:39:54

   18    talk to each other.      Each host acts                               10:39:56

   19    independently.                                                        10:39:59

   20                   You may remember the scissors                          10:40:01

   21    analogy that came up in Microchip's opening.                          10:40:02

   22    And, in fact, I think counsel said please                             10:40:06

   23    remember our scissor discussion when you see                          10:40:08

   24    Aptiv's three boxes.                                                  10:40:10


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    1                   Now, we haven't heard a lot about                      10:40:12

    2    the scissors since then, but I think it's                             10:40:13

    3    because if you think about it, it doesn't make                        10:40:16

    4    a lot of sense, right?      Each of these hosts is                    10:40:18

    5    independent.     You've never seen two people try                     10:40:21

    6    to use one pair of scissors.        The whole point                   10:40:23

    7    of scissors is you need one person to be                              10:40:26

    8    holding the scissors and using them.                                  10:40:28

    9                   We don't have that in our system.                      10:40:30

   10    We don't have one host that is using two                              10:40:32

   11    devices, two pieces of a pair of scissors.                            10:40:35

   12    We've got two hosts, each of which is using                           10:40:38

   13    their own device.                                                     10:40:42

   14                   It is more like two telephones.                        10:40:42

   15    I've got my phone; that's mine.         I can pick it                 10:40:45

   16    up and call you.     You've got your phone; it's                      10:40:48

   17    yours.   You can pick it up and call me.                              10:40:51

   18    There's a wire running in between, but we                             10:40:53

   19    still each have our own phone.         That is a much                 10:40:55

   20    closer analogy to how this works.         Each host                   10:40:58

   21    can talk to its device any time it wants.                             10:41:01

   22                   Mr. Zatkovich agreed with that.         I              10:41:06

   23    asked him, "So in the Aptiv device, each host                         10:41:08

   24    accesses its device basically whenever it                             10:41:10


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    1    wants?"                                                                10:41:13

    2                   He said, "Yes, that's accurate."                        10:41:13

    3                   The dual role hub doesn't need a                        10:41:15

    4    way to arbitrate access.        The whole point of                     10:41:17

    5    the patent is -- and this is one of the things                         10:41:19

    6    the patent office found -- the whole point of                          10:41:21

    7    the patent is you need a capability to                                 10:41:25

    8    arbitrate among multi-host requests.           Adding                  10:41:27

    9    that feature is at the heart of the purported                          10:41:32

   10    invention of the '243 Patent, the point of                             10:41:35

   11    novelty.                                                               10:41:37

   12                   In other words, the whole point of                      10:41:38

   13    the patent was one device, two hosts.           You                    10:41:40

   14    need a way to figure out which host is going                           10:41:42

   15    to get to talk to that device at any point in                          10:41:44

   16    time.     That was the invention.                                      10:41:47

   17                   We don't need that.       Why don't we                  10:41:48

   18    need that?     Because we have two hosts talking                       10:41:50

   19    to two devices who can talk whenever they                              10:41:52

   20    want.     So you don't need to have this concept                       10:41:54

   21    of taking turns.      It made sense in the context                     10:41:57

   22    of the problem Mr. Bohm was trying to solve,                           10:42:00

   23    doesn't make any sense here.                                           10:42:02

   24                   And indeed, Mr. Zatkovich, in his                       10:42:04


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    1    testimony, admitted the point of the                                  10:42:07

    2    multi-host controller is that it's acting as                          10:42:09

    3    an arbiter, and this is this thing we were                            10:42:12

    4    talking about about stop signs.                                       10:42:17

    5                  The patent talks about two ways to                      10:42:19

    6    do this arbitration function.        One of them is                   10:42:21

    7    kind of like stop signs.       Both of the                            10:42:23

    8    computers connect, they hit the stop signs and                        10:42:26

    9    then they get to alternate because the                                10:42:28

   10    multi-host device controller alternates that                          10:42:31

   11    access.                                                               10:42:34

   12                  The other thing the patent                              10:42:34

   13    describes is that you can have this hold-off.                         10:42:35

   14    We are going to talk a little bit more about                          10:42:37

   15    that, but hold-off is a little bit more like                          10:42:39

   16    lights; lets one go, then lets the other go.                          10:42:41

   17                  And you're seeing it sending                            10:42:45

   18    something back.     We are going to talk about                        10:42:46

   19    this; that's called a NAK.        That's basically                    10:42:48

   20    like I'm full, I'm dealing with this guy,                             10:42:50

   21    right?    You stop, deal with this guy, let that                      10:42:52

   22    guy go through and then I'll talk to you                              10:42:54

   23    later.                                                                10:42:56

   24                  And the patent explains which of                        10:42:56


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    1    these mechanisms you're going to use.           That                   10:42:59

    2    depends on the particular device that you                              10:43:01

    3    want.     But you're going to need one of them                         10:43:03

    4    because you need some way to arbitrate this                            10:43:06

    5    access.                                                                10:43:07

    6                   Well, we don't.      We let our host                    10:43:08

    7    talk to our devices whenever they want.                                10:43:11

    8                   And finally, though this may be                         10:43:13

    9    the most important and the simplest, and it's                          10:43:16

   10    interesting because you heard nothing about it                         10:43:19

   11    in Microchip's presentation, which is the dual                         10:43:21

   12    role hub, the Aptiv product, is USB compliant,                         10:43:24

   13    right?                                                                 10:43:27

   14                   The entire point of the patent is                       10:43:28

   15    that it is a solution that is not USB                                  10:43:30

   16    compliant.     Our device is.      And the reason our                  10:43:32

   17    device is compliant is the same reason that we                         10:43:36

   18    don't infringe their patent, which is we don't                         10:43:38

   19    have two hosts breaking the USB spec by trying                         10:43:41

   20    to talk to the same device.         We have two                        10:43:45

   21    hosts, each of whom has their own device.                              10:43:47

   22                   Mr. Voto explained, we submitted                        10:43:50

   23    the Boston 2 for certification to one of the                           10:43:53

   24    certification labs.       It passed.     And that was                  10:43:57


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    1    a requirement from the beginning, right, that                         10:44:01

    2    Unwired set, that they wanted something that                          10:44:03

    3    was going to be USB compliant.                                        10:44:06

    4                  Think back to all of those emails                       10:44:08

    5    that we saw from Microchip, right, in 2014                            10:44:10

    6    where they are like, it's noncompliant, it's                          10:44:12

    7    noncompliant, it's noncompliant.         We set                       10:44:15

    8    compliance as a requirement from day one and                          10:44:17

    9    we have a compliance solution.         And everything                 10:44:19

   10    got USB certified.                                                    10:44:22

   11                  Take a look at Exhibit 16.          It's                10:44:24

   12    the data sheet for the Boston chip.          And one                  10:44:26

   13    of the things it says is, "USB 2.0 compliant."                        10:44:29

   14                  Now, Mr. Obolsky actually                               10:44:35

   15    testified about how you get certification.               He           10:44:36

   16    said you submit your product to a USB logo                            10:44:39

   17    place, they run some tests on it, and if it                           10:44:42

   18    passes those tests, you get a USB logo.            He                 10:44:44

   19    said that's right.                                                    10:44:47

   20                  And he also testified, he was                           10:44:48

   21    explaining what USB stands for, you may have                          10:44:50

   22    seen the USB logo on your products and that's                         10:44:52

   23    what it looks like.      You've seen a bunch of                       10:44:55

   24    reference to that.     That's that little logo --                     10:44:57


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    1    it actually is kind of cute, one host,                                10:44:59

    2    multiple different devices.        That's the little                  10:45:02

    3    USB logo.                                                             10:45:04

    4                   So take a look at Exhibit 366.                         10:45:05

    5    You are going to have it in the jury room.                            10:45:08

    6    That's the actual Unwired accused product.                            10:45:10

    7    Guess what?     It's got the USB logo on it.         You              10:45:12

    8    know why it has the USB logo on it?          Because                  10:45:15

    9    it's USB compliant because we are not using                           10:45:18

   10    the patent.                                                           10:45:20

   11                   Mr. Voto explained this.       The                     10:45:21

   12    reason you're seeing two hosts and no USB                             10:45:23

   13    violation is because it's actually two USB                            10:45:27

   14    networks.     It's not one USB network.       You have                10:45:29

   15    a host talking to a device.        There's nothing                    10:45:32

   16    wrong with that.     You have another host                            10:45:34

   17    talking to another device.        They are separate                   10:45:36

   18    networks.     No violation of having two hosts                        10:45:38

   19    with one device.     In other words, not using                        10:45:41

   20    the patent.                                                           10:45:44

   21                   The patent is about a noncompliant                     10:45:45

   22    solution.     We have a compliant solution.         That              10:45:48

   23    is the first reason that we do not infringe.                          10:45:52

   24                   The second reason that we don't                        10:45:55


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    1    infringe, we do not have the possibility for                          10:45:59

    2    two hosts to configure a device                                       10:46:02

    3    simultaneously.     Now, we don't have two hosts                      10:46:06

    4    talking to one device at all.        But also,                        10:46:08

    5    configuration for the two hosts happens at two                        10:46:11

    6    completely different points in time.          And that                10:46:14

    7    is a feature of the system and the way that it                        10:46:16

    8    was designed.                                                         10:46:18

    9                  The claim requires, claim 23, a                         10:46:20

   10    shared USB device block operable to be                                10:46:22

   11    simultaneously configured by two or more                              10:46:24

   12    hosts.    Simultaneously means at the same time.                      10:46:27

   13                  What is -- and I asked Mr.                              10:46:31

   14    Zatkovich, is one of the features of the                              10:46:33

   15    system is that it can happen simultaneously,                          10:46:35

   16    this can happen simultaneously?                                       10:46:37

   17                  So what's configuration?                                10:46:39

   18    Configuration is a request from a host to a                           10:46:42

   19    device to figure out what it is and what it                           10:46:46

   20    can do.    That's in the USB specification.                           10:46:48

   21    It's Exhibit 186, "A USB device must be                               10:46:51

   22    configured before its function may be used."                          10:46:54

   23                  So first configuration has to                           10:46:57

   24    happen before you can use the thing.          The host                10:46:59


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    1    is responsible for configuring it.          The host                  10:47:01

    2    typically requests configuration information                          10:47:03

    3    to determine the device's capabilities.                               10:47:06

    4    There's a configuration process, the host sets                        10:47:08

    5    the device configuration, and where necessary,                        10:47:11

    6    selects the appropriate alternate settings for                        10:47:14

    7    the interfaces and then configuration is done.                        10:47:16

    8                  You may have heard Mr. Garney say                       10:47:19

    9    it can take up to about five seconds.          That is                10:47:20

   10    the process of configuration.                                         10:47:23

   11                  And indeed Mr. Zatkovich said, he                       10:47:24

   12    admitted, configuration is a request to a                             10:47:27

   13    device to ask the device to identify what type                        10:47:31

   14    of device it is and what capabilities it has.                         10:47:33

   15    That's what configuration means.                                      10:47:36

   16                  The '243 Patent provides separate                       10:47:39

   17    configuration interfaces for both hosts.                              10:47:43

   18    Well, this actually is part of what Mr. Bohm                          10:47:47

   19    wrote in his invention disclosure when he was                         10:47:50

   20    explaining what it was he thought he had                              10:47:53

   21    invented.   And he said -- he is talking about                        10:47:56

   22    the USB specification, the structure -- "So                           10:47:59

   23    every device is configured and accessed by a                          10:48:01

   24    single host."                                                         10:48:04


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    1                  And he says, "The invention meets                       10:48:05

    2    that need by providing a separate                                     10:48:06

    3    configuration and access interface for each                           10:48:09

    4    host."   So each host has its own configuration                       10:48:11

    5    interface.                                                            10:48:15

    6                  What that means in the context of                       10:48:16

    7    the invention, each host can do this whenever                         10:48:18

    8    it wants.    And we see this in Figure 3, right?                      10:48:20

    9    Each host has the ability to go down and                              10:48:23

   10    configure that multi-host device controller                           10:48:26

   11    whenever it wants, which means they can both                          10:48:28

   12    do it simultaneously; one is not dependent on                         10:48:30

   13    the other.                                                            10:48:34

   14                  So in the patent, each host can                         10:48:34

   15    configure its device independently.          In the                   10:48:38

   16    patent, what that means is there's no need to                         10:48:41

   17    hold on one host's attempt to configure to                            10:48:45

   18    wait for the other host to complete                                   10:48:48

   19    configuration.                                                        10:48:51

   20                  This is something that was found                        10:48:52

   21    to be significant in the patent office in                             10:48:53

   22    describing the invention.       This is a statement                   10:48:56

   23    from one of Microchip's experts in that                               10:48:58

   24    proceeding, and he says, "There would be" --                          10:49:01


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    1    this is Exhibit 30, page 2541.         "There would                   10:49:03

    2    be no need to hold on one host's attempt to                           10:49:07

    3    configure the device while the other was also                         10:49:10

    4    configuring the device."                                              10:49:12

    5                  So he was explaining the invention                      10:49:14

    6    saying both hosts can do that configuration                           10:49:15

    7    step at the same time.      You don't have to                         10:49:17

    8    arbitrate that, right?      You don't have to hold                    10:49:20

    9    on one while the other one does it.                                   10:49:22

   10                  Now, there is -- and I asked Mr.                        10:49:24

   11    Zatkovich, going back to Figure 3, he agreed,                         10:49:26

   12    and you remember, there was a bit of fighting                         10:49:29

   13    about this, but he ultimately agreed that in                          10:49:32

   14    the context of Figure 3, "You don't have to                           10:49:35

   15    hold off one host's attempt to configure the                          10:49:37

   16    device while the other host is configuring it.                        10:49:41

   17    Since the multi-controller handles                                    10:49:43

   18    simultaneous access and responses, in theory,                         10:49:47

   19    if you happen to plug in both hosts at the                            10:49:49

   20    same time, they could theoretically configure                         10:49:52

   21    the device at the same time."                                         10:49:54

   22                  Now, he said, "I don't think that                       10:49:56

   23    would happen very often."       Configuration takes                   10:49:58

   24    five seconds.    You've got them both plugged                         10:50:00


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    1    in, you power on.      I don't know that it's                          10:50:02

    2    going to be that unlikely, but that's not only                         10:50:04

    3    the point.     The point is it allows for that.                        10:50:06

    4    It is set up that way because those two lanes                          10:50:09

    5    are independent and one host is not dependent                          10:50:11

    6    on the other.                                                          10:50:13

    7                   In the patent, I asked Dr. Levy,                        10:50:14

    8    "There's no need to hold off one host's                                10:50:17

    9    attempt to configure the device if the other                           10:50:20

   10    host is in the process of configuring it?"                             10:50:22

   11                   And it's interesting, Mr.                               10:50:24

   12    Zatkovich fought a lot.        He was the                              10:50:26

   13    infringement guy.      Dr. Levy is the validity                        10:50:27

   14    guy, not important to his opinions, he just                            10:50:30

   15    gave it up.     "That's right.      That's the way                     10:50:32

   16    the patent works."                                                     10:50:35

   17                   And here's the thing in the Aptiv                       10:50:36

   18    product.     The dual role hub, two hosts cannot                       10:50:39

   19    configure their devices at the same time.            It                10:50:42

   20    has to be different times.         That's not a                        10:50:45

   21    factor in dispute.      Both sides agree about                         10:50:47

   22    that.                                                                  10:50:50

   23                   Mr. Zatkovich talked about this.                        10:50:50

   24    I asked him, So the first, that's the first                            10:50:51


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    1    host, first the car head unit connects as a                           10:50:54

    2    host and configures its device.         So when you                   10:50:56

    3    power up CarPlay, the first thing that                                10:50:59

    4    happens, the host that's in the computer in                           10:51:01

    5    the car, it comes on, it configures its                               10:51:02

    6    device.                                                               10:51:06

    7                   And then the iPhone connects                           10:51:06

    8    initially as a device?      Correct.                                  10:51:08

    9                   And then it role reverses,                             10:51:11

   10    switches from being a device to a host; right?                        10:51:14

   11                   Right.                                                 10:51:17

   12                   Then it connects as a host; right?                     10:51:17

   13    And then it configures the device; right?                             10:51:20

   14                   Right.                                                 10:51:23

   15                   No fighting about that.       That was                 10:51:23

   16    actually in one of the graphics that Mr.                              10:51:27

   17    Zatkovich showed you.      It's a pretty fancy                        10:51:30

   18    diagram, but fundamentally, he's got the                              10:51:33

   19    series of steps laid out here, one, two,                              10:51:38

   20    three, four.                                                          10:51:40

   21                   And if you take a look at it, it's                     10:51:41

   22    a little bit tricky to see, but No. 3, the EP                         10:51:43

   23    Bridge device through the first upstream port                         10:51:46

   24    on device controller, that's where the                                10:51:49


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    1    configuration happens for the head unit.           And                10:51:52

    2    then No. 4, iPhone host enumerates and                                10:51:54

    3    configures, that's where the iPhone                                   10:51:59

    4    configures.                                                           10:51:59

    5                  And I asked him about this                              10:52:05

    6    specifically.    "IPhone host enumerates into                         10:52:06

    7    Figure 4; right?     4 happens after 3; right?                        10:52:10

    8                  "That's right."                                         10:52:13

    9                  This is a sequential process.                           10:52:13

   10    Because in the Aptiv system, in order for the                         10:52:16

   11    iPhone to be able to role reverse and then do                         10:52:18

   12    the configuration, it has to have data that's                         10:52:23

   13    coming from the host.                                                 10:52:26

   14                  There is no way in the Aptiv                            10:52:27

   15    solution for these two things to happen at the                        10:52:28

   16    same time because it is a fundamentally                               10:52:30

   17    different architecture.       We don't infringe.                      10:52:33

   18                  I could stop here and sit down                          10:52:37

   19    because we should be done, and I'm not going                          10:52:39

   20    to take up that much more of your time, but I                         10:52:42

   21    do want to talk about the invalidity issues at                        10:52:45

   22    least briefly.     And the first invalidity issue                     10:52:49

   23    is written description and enablement.                                10:52:52

   24                  And what these requirements are                         10:52:54


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    1    basically is part of the patent bargain with                          10:52:56

    2    the patent office and the patent system.           You                10:53:00

    3    want to apply for a patent.        You have to say                    10:53:02

    4    what you invented, which is like all of what                          10:53:05

    5    you invented, and you have to teach people how                        10:53:07

    6    to make and use what is called the full scope                         10:53:09

    7    of your invention.     Right?     If you want to get                  10:53:12

    8    a patent this big, you gotta describe it as                           10:53:14

    9    being this big, you gotta let people use it as                        10:53:17

   10    being that big.                                                       10:53:20

   11                  So going back to our little deed                        10:53:20

   12    on the piece of land, right, this is what you                         10:53:23

   13    stake out as your invention.        You say, here is                  10:53:25

   14    what I invented.     And in this case, we think                       10:53:27

   15    what Mr. Bohm and Mr. Ghosh said they invented                        10:53:30

   16    was this idea of two hosts sharing one USB                            10:53:33

   17    device.   Then that's what you get.         That's how                10:53:36

   18    you've got to describe that.                                          10:53:39

   19                  But if you come along and somebody                      10:53:40

   20    else does something a little bit different,                           10:53:42

   21    maybe like some form of host-to-host                                  10:53:45

   22    communication, and you look at that and you                           10:53:47

   23    say that's nifty, I would like to have that,                          10:53:50

   24    too, and you say now I think my patent is                             10:53:52


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    1    actually big enough to cover all of that so I                         10:53:55

    2    own what you came up with, too, you better                            10:53:57

    3    have said that really clearly in your patent                          10:54:00

    4    or your patent is invalid.                                            10:54:03

    5                  So in this case, Microchip is                           10:54:05

    6    saying that Aptiv infringes because our                               10:54:09

    7    host-to-host bridge is the thing that                                 10:54:12

    8    infringes.    Now, you heard Microchip's counsel                      10:54:15

    9    say you don't have to describe every feature                          10:54:17

   10    of the product, itself.       That's true, right?                     10:54:19

   11                  So we've got like fancy lighting.                       10:54:22

   12    Remember you heard about the kind of cool                             10:54:25

   13    lighting that Mr. Dreon talked about, you                             10:54:27

   14    know, around the modules and stuff like that?                         10:54:28

   15    They don't have to describe that in their                             10:54:30

   16    patent.   That's not the thing they are saying                        10:54:32

   17    they invented and it wouldn't be a defense for                        10:54:34

   18    us to say we've got fancy lighting.                                   10:54:37

   19                  But if the thing you are accusing                       10:54:39

   20    of infringement is a host-to-host                                     10:54:40

   21    communication mechanism, then you better say                          10:54:42

   22    that you invented a host-to-host communication                        10:54:45

   23    mechanism and you better teach people how to                          10:54:47

   24    use it if you are going to say that is                                10:54:50


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    1    something that you had already invented, and                          10:54:52

    2    that is not something that Microchip did in                           10:54:54

    3    this case.                                                            10:54:56

    4                  It's not what the patent says.                          10:54:56

    5    The patent says, "One USB device can be shared                        10:54:58

    6    across multiple hosts."       There is nothing in                     10:55:00

    7    there that says we invented a way for two                             10:55:03

    8    hosts to talk to each other.                                          10:55:05

    9                  Mr. Garney said there's no hint in                      10:55:07

   10    the patent of host-to-host communication.           Mr.               10:55:09

   11    Bohm, I asked him, "You didn't mention                                10:55:12

   12    host-to-host communication in your patent?"                           10:55:14

   13    He said, "Not that I recall."                                         10:55:16

   14                  Mr. Ghosh, "Could you point me to                       10:55:18

   15    where in the patents host-to-host                                     10:55:20

   16    communication is described?                                           10:55:21

   17                  "Nope."                                                 10:55:23

   18                  Dr. Levy, "Since host-to-host                           10:55:25

   19    communication is not mentioned in the body of                         10:55:27

   20    the patent or in the claims, I didn't consider                        10:55:30

   21    it."                                                                  10:55:34

   22                  That's exactly right, because the                       10:55:35

   23    patent and the claims are not actually                                10:55:39

   24    directed to host-to-host communication.           But                 10:55:41


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    1    if they were, that is not something they said                         10:55:43

    2    they invented and that is not a valid claim.                          10:55:45

    3                  Now, that's the written                                 10:55:48

    4    description part.     What did you say you                            10:55:50

    5    invented?   The other half of it is enablement;                       10:55:52

    6    did you teach people how to use it.                                   10:55:55

    7                  It's kind of funny, the patent                          10:55:57

    8    office, when they were looking at the '243                            10:55:59

    9    specification, said it was more sparse                                10:56:02

   10    regarding design details than the prior art of                        10:56:03

   11    record; in particular, Dickens.         In other                      10:56:05

   12    words, as patents go, it's pretty thin and it                         10:56:07

   13    doesn't say that much about how to do it.                             10:56:10

   14                  Mr. Bohm had recognized this is                         10:56:14

   15    not an easy thing to do in general, even what                         10:56:16

   16    he was trying to do in the patent, there would                        10:56:18

   17    be technical challenges to overcome and he was                        10:56:20

   18    really thinking about that arbitration                                10:56:23

   19    mechanism, right?     How are you going to get                        10:56:24

   20    the two hosts to share that one device?            That               10:56:26

   21    was going to be technically challenging.            And               10:56:28

   22    they proposed some arbitration mechanisms to                          10:56:30

   23    deal with that.                                                       10:56:30

   24                  But there is nothing in the patent                      10:56:34


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    1    that is a solution to the technical challenges                         10:56:36

    2    that were faced in figuring out a way to                               10:56:39

    3    implement this host-to-host communication                              10:56:41

    4    mechanism and nothing in the patent that would                         10:56:43

    5    teach someone of skill in the art how to do                            10:56:45

    6    that.                                                                  10:56:48

    7                  And indeed, their expert on                              10:56:48

    8    invalidity didn't even think about the answer                          10:56:51

    9    to that.    He admitted, he thought about                              10:56:53

   10    enablement sort of at a high level, but he did                         10:56:56

   11    not consider host-to-host communication at                             10:56:58

   12    all.                                                                   10:57:00

   13                  Now, I want you to think about                           10:57:01

   14    this for a minute.      Microchip is saying we got                     10:57:04

   15    this patent back in 2006 and we taught the                             10:57:07

   16    whole world how to use the full scope of our                           10:57:10

   17    invention, right, which would include                                  10:57:12

   18    host-to-host communication.                                            10:57:13

   19                  But what happens over the course                         10:57:15

   20    of time?    It's not just that Microchip didn't                        10:57:16

   21    teach it to the world, they couldn't have                              10:57:19

   22    taught it to the world because they didn't                             10:57:21

   23    know how to do it themselves.                                          10:57:22

   24                  And we know that when we actually                        10:57:25


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    1    look at the record at what happened in this                           10:57:26

    2    case; when they tried to figure out a solution                        10:57:28

    3    to CarPlay, they couldn't come up with one.                           10:57:30

    4    They couldn't come up with one because they                           10:57:32

    5    had not already invented the thing that wound                         10:57:34

    6    up being the solution.      That was our                              10:57:36

    7    invention.                                                            10:57:40

    8                  I want to touch very briefly on                         10:57:41

    9    this question of obviousness.        Now, you heard                   10:57:43

   10    in, again, Microchip's opening statement, they                        10:57:48

   11    said at some length, you know, two different                          10:57:50

   12    patent examiners looked at this patent and                            10:57:52

   13    concluded that it was valid, which is true.                           10:57:54

   14                  It's also true that we know that                        10:57:57

   15    they made a mistake, at least in part.           And I                10:58:00

   16    asked Mr. Levy, "We know the patent office did                        10:58:03

   17    make a mistake by issuing some of the claims."                        10:58:05

   18    He said, "By making a mistake, you mean that                          10:58:08

   19    they subsequently got invalidated?"          He said,                 10:58:10

   20    "In that sense, yes."      Right?                                     10:58:14

   21                  The original examiners did not                          10:58:15

   22    have a copy of the Dickens patent.          There's a                 10:58:16

   23    lot of prior art out there in the world,                              10:58:19

   24    you're never going to look at all of it.           They               10:58:20


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    1    didn't have Dickens, they couldn't consider                            10:58:22

    2    Dickens.     They didn't realize that Mr. Dickens                      10:58:24

    3    had already done a lot of what Mr. Bohm had                            10:58:26

    4    said he had done in the patent.          Fair game.                    10:58:29

    5                   But the result of that is that the                      10:58:33

    6    patent office said claim 1 is invalid in view                          10:58:35

    7    of Dickens.     And what that means, I asked Mr.                       10:58:38

    8    Bohm, "So everything shown here in Figure 3                            10:58:41

    9    that we just went over is covered by invalid                           10:58:43

   10    claim 1?"     He is the inventor, and he said                          10:58:46

   11    yeah, it's the claim 1 you walked through.                             10:58:49

   12                   And you may remember, you know, I                       10:58:51

   13    asked him -- or actually I didn't ask him, my                          10:58:54

   14    colleague, Mr. Saulsbury, asked him, "But                              10:58:56

   15    what's the difference between claim 1 and                              10:58:58

   16    claim 23?"     You are the inventor.       What did                    10:59:00

   17    you understand the difference here to be?                              10:59:02

   18                   Remember, he thought about it for                       10:59:04

   19    a really long time, he studied it really                               10:59:05

   20    carefully, and at the end of that he said,                             10:59:08

   21    "Seems to me that it's about the same."                                10:59:10

   22                   And actually sort of doubled down                       10:59:12

   23    because he got asked again, you're remember,                           10:59:15

   24    on redirect and he said, "No, no, really it                            10:59:16


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    1    does look to me like it's the same."                                  10:59:19

    2                  It's interesting, Dr. Levy was                          10:59:21

    3    proffered as the expert on validity; right?                           10:59:24

    4    So you would think, as the expert on validity,                        10:59:26

    5    if the patent office had looked at the                                10:59:28

    6    validity of the claims, one of the things you                         10:59:30

    7    would do is try to understand what the patent                         10:59:32

    8    office thought and why they did it and what                           10:59:34

    9    implications that would have for your opinion.                        10:59:36

   10                  Not something he did.       You didn't                  10:59:39

   11    hear him talk about the patent office decision                        10:59:40

   12    in any detail.    He had no analysis comparing                        10:59:42

   13    claim 1 to claim 23, even though he knew claim                        10:59:45

   14    1 was invalid; so he sort of widely glossed                           10:59:49

   15    over that particular fact because it is a                             10:59:53

   16    really inconvenient fact for Microchip.                               10:59:55

   17                  What the patent office found --                         10:59:57

   18    and to be clear, patent office did not                                11:00:00

   19    invalidate claim 23.      Right?    I want to be                      11:00:02

   20    very clear about that.      That is true.      That is                11:00:04

   21    our burden in this case, right?         That's one of                 11:00:06

   22    the reasons we're here.                                               11:00:08

   23                  But what the patent office said is                      11:00:09

   24    the substantive differences between claim 23                          11:00:11


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    1    and claim 1, the function block needs to be                            11:00:14

    2    operable to be simultaneously configured by                            11:00:17

    3    two or more hosts.      That's it.      That's a                       11:00:19

    4    difference, right?                                                     11:00:22

    5                  So claim 1, everything in there                          11:00:23

    6    Dickens did; claim 23, the thing that the                              11:00:25

    7    patent office didn't see, this idea of                                 11:00:27

    8    simultaneous configuration.                                            11:00:30

    9                  Now, point one, you may remember,                        11:00:31

   10    we don't actually do that.         But point two,                      11:00:33

   11    just that idea of adding simultaneous                                  11:00:38

   12    configuration, we do think that was obvious.                           11:00:40

   13    And we think it was obvious based on stuff                             11:00:43

   14    that the patent office didn't have in this                             11:00:46

   15    proceeding.                                                            11:00:48

   16                  So this is Dickens.        Dickens is a                  11:00:50

   17    way for more than one computer, so they are up                         11:00:53

   18    there at the top, to talk to more than one                             11:00:55

   19    peripheral device, they are down there at the                          11:00:58

   20    bottom, keyboard, speakers and other kind of                           11:01:00

   21    old-looking things.       That's Dickens.                              11:01:03

   22                  Belkin is also a way for more than                       11:01:06

   23    one computer to talk to one or more peripheral                         11:01:10

   24    devices.                                                               11:01:14


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    1                   Now, the question was well, if                          11:01:15

    2    you're looking at Dickens, why would you go                            11:01:16

    3    look at a device like Belkin?         And you may                      11:01:19

    4    remember I asked Dr. Levy about that.           I said,                11:01:22

    5    let's say you've got Dickens, it's pretty old                          11:01:24

    6    by this point in time, it's pretty                                     11:01:27

    7    complicated.     What if you wanted to make it                         11:01:30

    8    easier?    Would you go look to see how other                          11:01:31

    9    people had solved similar problems?           And he                   11:01:33

   10    said yeah, that makes sense.                                           11:01:35

   11                   It does make sense.       And that one                  11:01:36

   12    thing you might want to do is say hey, is                              11:01:38

   13    there a way to make this Dickens system                                11:01:40

   14    simpler?     What would you do?      You'd go look at                  11:01:42

   15    Belkin.                                                                11:01:46

   16                   Now, you heard there was sort of a                      11:01:46

   17    Yelp review of Belkin that the patent office                           11:01:47

   18    looked at.     That's right.     You have it.      It is               11:01:51

   19    in Exhibit 3, it is page 1293.          So if you want                 11:01:52

   20    to look at it, you may want to write that down                         11:01:56

   21    because you are going to have a hard time                              11:01:58

   22    going through everything, but it's like a Yelp                         11:02:00

   23    review.                                                                11:02:02

   24                   It doesn't have a lot of detail,                        11:02:02


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    1    but it says two things that I think are                               11:02:04

    2    important.    It was around in February of 2004,                      11:02:06

    3    which would make it prior art, and it's got                           11:02:09

    4    the F1U400 model number, just the same thing                          11:02:11

    5    that Mr. Garney looked at.        But it doesn't                      11:02:14

    6    really have any detail about how Belkin                               11:02:16

    7    worked.   What Mr. Garney did is try to                               11:02:18

    8    actually figure out, okay, I've got this                              11:02:20

    9    product, what does it do?                                             11:02:21

   10                  Now, I want to note, you've heard                       11:02:23

   11    that Microchip admits the product, both                               11:02:24

   12    products, US-98 and Belkin F1U400, were sold                          11:02:28

   13    in the U.S. prior to April of 2005, and that's                        11:02:32

   14    this sort of prior art date that we are                               11:02:35

   15    talking about.                                                        11:02:37

   16                  Now, you heard some questioning of                      11:02:38

   17    Mr. Garney about some of the numbers on there                         11:02:40

   18    and things like that.      The point I want to                        11:02:43

   19    make is just in the document that they showed                         11:02:45

   20    him, and you heard this in redirect, was a                            11:02:48

   21    product spec sheet for a different chip, not                          11:02:50

   22    this chip, and it listed lots and lots of                             11:02:52

   23    different things that you might have three                            11:02:55

   24    digit number codes for, right?         Top mark code,                 11:02:58


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    1    you know, part number, suffix, blah-blah-blah.                        11:03:04

    2    So you look at this, you've got numbers                               11:03:07

    3    everywhere.                                                           11:03:10

    4                  I would suggest, I don't think you                      11:03:11

    5    can really draw any particular conclusions                            11:03:12

    6    from any of the numbers.       And Mr. Garney said                    11:03:14

    7    he had no idea what those numbers actually                            11:03:15

    8    represented, not because he doesn't know, but                         11:03:17

    9    he just can't tell, from looking at the                               11:03:19

   10    number, what exactly it might be.                                     11:03:21

   11                  We do have some information,                            11:03:24

   12    though, about the date of the thing that                              11:03:26

   13    matters, which is, the functionality that's                           11:03:28

   14    important to Mr. Garney's analysis is the                             11:03:30

   15    Philips chip.    He said that.      It's what's                       11:03:32

   16    going on in the Philips chip that is                                  11:03:34

   17    important.                                                            11:03:36

   18                  You've got the data sheet for the                       11:03:36

   19    Philips chip; it is in evidence.         It's from                    11:03:38

   20    July of 1999.    And that is the functionality                        11:03:40

   21    that's important here.                                                11:03:43

   22                  So what are we talking about?          The              11:03:44

   23    Philips chip in the Belkin device has this                            11:03:46

   24    functionality of having endpoint buffers that                         11:03:49


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    1    can send NAKs.     You may remember I asked Dr.                        11:03:52

    2    Levy about that and he agreed that that was in                         11:03:55

    3    the documentation for the Philips chip.                                11:03:57

    4                   So why would this be important if                       11:04:00

    5    you were thinking about a way to make Dickens                          11:04:02

    6    easier?     Dickens has this very complicated                          11:04:04

    7    arbitration mechanism.       You heard it uses this                    11:04:06

    8    other form of connection to try to arbitrate                           11:04:08

    9    between all of these hosts and all of these                            11:04:11

   10    devices.     It's complicated.      You have these                     11:04:13

   11    emulation layers as a result.                                          11:04:16

   12                   So this NAK thing that's in                             11:04:18

   13    Philips, this hold-off, right, I'm full is the                         11:04:21

   14    way to think about a NAK, right?          Not me.                      11:04:24

   15    That's a very standard USB function; Dr. Levy                          11:04:28

   16    agreed with that.      It's been around for a long                     11:04:31

   17    time.     He agreed with that, too.                                    11:04:33

   18                   And basically there's some                              11:04:35

   19    technical information in the Philips thing                             11:04:36

   20    about what it means, but basically, you sent a                         11:04:39

   21    full flag.     It's just saying hey, I'm full.                         11:04:43

   22    And if you think about it, that's a way to                             11:04:45

   23    arbitrate.                                                             11:04:46

   24                   So you could take that idea of                          11:04:47


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    1    having endpoint buffers with these NAKs, you                          11:04:50

    2    could put them into Philips -- I mean into                            11:04:52

    3    Dickens and say hey, why don't we just use                            11:04:56

    4    that as the arbitration mechanism.                                    11:04:58

    5                   Now you're wondering, why didn't                       11:04:59

    6    Dickens think of that?      Remember, Dickens was                     11:05:01

    7    from very close in time to when the USB spec                          11:05:03

    8    came out.     USB was really new when Dickens is                      11:05:06

    9    doing this.                                                           11:05:09

   10                   But now, 2005, USB has been around                     11:05:09

   11    for a while.     People know about NAKs, people                       11:05:12

   12    know about endpoint buffers.        Way easier to                     11:05:14

   13    deal with arbitration, just have it send back                         11:05:16

   14    something that says, like, I'm full.                                  11:05:18

   15                   And guess what?     That's exactly                     11:05:20

   16    what Mr. Bohm did.     It's exactly the same                          11:05:22

   17    solution that he came up with.         If you took                    11:05:24

   18    Dickens and you just used that NAK endpoint                           11:05:26

   19    buffer functionality to say to one host, I'm                          11:05:29

   20    full while you're dealing with the other host,                        11:05:32

   21    that is exactly what Mr. Bohm did.                                    11:05:34

   22                   That is the arbitration mechanism                      11:05:36

   23    in the patent.     It is the combination of those                     11:05:39

   24    two things.     And it allows for a way for each                      11:05:40


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    1    of the hosts to configure the device and then                          11:05:45

    2    arbitrate access to it.                                                11:05:50

    3                   Now, claim 24, claim 25, Dr. Levy                       11:05:51

    4    said no opinion there that the Belkin devices                          11:05:55

    5    don't have those additional limitations.              So               11:05:59

    6    sum and substance, we think it would have been                         11:06:02

    7    obvious to combine those things.                                       11:06:04

    8                   So why are we here?       Why are we                    11:06:06

    9    still arguing about this?        You've heard, you                     11:06:09

   10    know, a letter was sent seven years ago.                               11:06:11

   11    You've heard about five years of proceedings,                          11:06:13

   12    right?     Why are we still here?                                      11:06:16

   13                   I asked Mr. Obolsky a little bit                        11:06:19

   14    about this.     And one of the things you heard                        11:06:22

   15    is that Microchip used to control 100 percent                          11:06:25

   16    of sales of microchips to The Big 3, 100                               11:06:27

   17    percent.     They are basically a monopolist.                          11:06:32

   18    And I think the evidence shows that they like                          11:06:36

   19    it that way.     You know, one of the nice                             11:06:38

   20    features of being a monopolist is you can                              11:06:40

   21    charge a lot for your products because you                             11:06:42

   22    don't have any competition, right?           That's                    11:06:44

   23    kind of what it means to be a monopoly.                                11:06:45

   24                   Now, you've heard, too, Aptiv, we                       11:06:47


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    1    are not in the chip business; right?           We make                 11:06:50

    2    these boxes that chips go into.          We're not in                  11:06:54

    3    the chip business.      But, you know, we are                          11:06:57

    4    looking for the best solution for our                                  11:07:00

    5    customers.                                                             11:07:02

    6                   This is one of the emails.         This                 11:07:03

    7    is November 2015.      This is a little bit after                      11:07:04

    8    that sort of bad October meeting between the                           11:07:07

    9    parties.     And this is an internal report at                         11:07:10

   10    Microchip on what had happened.          And they                      11:07:13

   11    said -- the "they" is talking about Aptiv.                             11:07:15

   12    Aptiv reiterated they'll always evaluate new                           11:07:18

   13    alternatives to ensure they have the most                              11:07:21

   14    competitive solution in the market, even if                            11:07:22

   15    that means cancelling their existing silicon                           11:07:25

   16    development efforts.                                                   11:07:27

   17                   What does that mean?       We've                        11:07:29

   18    developed this custom chip, we are having it                           11:07:31

   19    made, but hey, if we can do that with                                  11:07:32

   20    something that's, like, better or at least as                          11:07:35

   21    good from you, great.       Right?    We're not in                     11:07:37

   22    the chip business, but we're not -- it's not                           11:07:40

   23    going to be okay with us if it's a lot worse,                          11:07:42

   24    right?     We want the solution that's going to                        11:07:45


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    1    be the best and the most competitive solution                          11:07:46

    2    for our customers, so show us what you've got                          11:07:48

    3    in a competitive marketplace.                                          11:07:51

    4                  And that is the thing that                               11:07:52

    5    Microchip really didn't like.         That is the                      11:07:55

    6    thing that caused the conversation to flip and                         11:07:58

    7    to turn and to start being about patents.                              11:08:00

    8                  And you see this also in the                             11:08:04

    9    Microchip documents.       This is Exhibit 42, and                     11:08:06

   10    it's actually long, and there's a really                               11:08:09

   11    interesting back and forth in there about                              11:08:11

   12    pricing commitments and honoring them or not                           11:08:14

   13    honoring them.     But this is the thing from Mr.                      11:08:17

   14    Moorthy.    Remember, he becomes the CEO of                            11:08:21

   15    Microchip after this.                                                  11:08:23

   16                  "Ideally we want Delphi to cease                         11:08:24

   17    development of new products that continues to                          11:08:26

   18    destroy our business, that discussion takes                            11:08:28

   19    time and we need some negotiating leverage."                           11:08:31

   20                  We don't like competition, we need                       11:08:34

   21    negotiating leverage, we've got these patents,                         11:08:36

   22    they might be good leverage.                                           11:08:39

   23                  So they sue us and send a letter                         11:08:42

   24    to all of our customers saying hey, these guys                         11:08:44


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    1    infringed our patents.       And Mr. Obolsky was                       11:08:47

    2    really up front about why they sent that,                              11:08:49

    3    right?     We didn't want them to do business                          11:08:52

    4    with Aptiv; we wanted them to do business with                         11:08:53

    5    us.                                                                    11:08:55

    6                   Now, Microchip's original                               11:08:56

    7    position, remember, was we own it all, right?                          11:08:58

    8    CarPlay, any solution to CarPlay, we own it,                           11:09:01

    9    that's in our patents.                                                 11:09:04

   10                   And Mr. Zatkovich actually sort of                      11:09:07

   11    bought that.     He said in his expert report,                         11:09:10

   12    any hub supporting the three features would                            11:09:13

   13    necessarily infringe the '243 Patent in                                11:09:16

   14    general.     Okay.   Remember, though, we're not                       11:09:19

   15    talking about the '243 Patent in general.                              11:09:22

   16                   Now, when he made that statement,                       11:09:25

   17    he said he had picked claim 1 as being                                 11:09:27

   18    representative.      Remember, he is the                               11:09:29

   19    infringement guy, not the validity guy, so he                          11:09:31

   20    didn't look at what the patent office had                              11:09:34

   21    done, which is invalidated claim 1.           He said                  11:09:36

   22    claim 1 is representative, you would need                              11:09:40

   23    claim 1 to be able to do CarPlay.                                      11:09:42

   24                   Well, okay.     But remember,                           11:09:44


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    1    Microchip didn't invent claim 1.         We know that                 11:09:45

    2    now; Mr. Dickens did.      So Microchip didn't                        11:09:48

    3    invent the solution to CarPlay that's in claim                        11:09:51

    4    1.   If anyone did, that was Mr. Dickens.                             11:09:55

    5                  The only thing we are here talking                      11:09:57

    6    about is this idea of being simultaneously                            11:09:59

    7    configured by two hosts.       Is that something                      11:10:01

    8    that you need for CarPlay?        Well, I would say,                  11:10:04

    9    one, obviously not, because we don't do it.                           11:10:07

   10    But also, two, you haven't heard any testimony                        11:10:10

   11    from anyone that that is something that's                             11:10:14

   12    important for CarPlay.       Nobody.                                  11:10:17

   13                  And Dr. Becker was asked, "You                          11:10:21

   14    don't have any basis for offering an opinion                          11:10:24

   15    about the difference between the claims that                          11:10:26

   16    were invalidated?"     And claim 23, like claim                       11:10:28

   17    1, is in the prior art, right?         That's public.                 11:10:33

   18    Anyone can use claim 1.       Microchip doesn't own                   11:10:35

   19    that anymore.    That's invalid.       Anyone can use                 11:10:37

   20    that.                                                                 11:10:40

   21                  What's the value of adding claim                        11:10:41

   22    23 onto that?    No opinion.      In terms of what                    11:10:43

   23    they're worth, nothing.                                               11:10:47

   24                  So, damages.     I really don't want                    11:10:48


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    1    to talk about damages.      I want to talk about                      11:10:52

    2    it even less than I wanted to talk about                              11:10:54

    3    invalidity because I don't think we need to                           11:10:56

    4    talk about it, which, to be clear, is why we                          11:10:58

    5    didn't call a damages expert, because we                              11:11:02

    6    didn't think we needed to because the right                           11:11:04

    7    damages number in this case is zero because we                        11:11:06

    8    don't infringe and the patents are not valid.                         11:11:09

    9                   But I want to talk a little bit                        11:11:12

   10    about the theory that they put forward because                        11:11:14

   11    I think it's a bit revealing more generally.                          11:11:16

   12                   We do our own independent work                         11:11:18

   13    developing the Boston chip, right?          No input                  11:11:20

   14    from Microchip; we do it ourselves.          They                     11:11:22

   15    learn about the fact that we've got contracts.                        11:11:24

   16    They start to do their own development work.                          11:11:26

   17    You can take a look at the documents.          I think                11:11:27

   18    it's pretty clear.     Why did they start to do                       11:11:29

   19    that?   Because they learned about us, because                        11:11:32

   20    we had a solution.                                                    11:11:34

   21                   They were pushing FlexConnect.                         11:11:35

   22    They were perfectly happy to keep pushing                             11:11:37

   23    FlexConnect.     They got dragged pretty much                         11:11:40

   24    kicking and screaming into a competing                                11:11:42


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    1    solution because we were out there showing                            11:11:44

    2    that it was possible.                                                 11:11:46

    3                  And in the entire lead-up to this,                      11:11:46

    4    what do we see?     We don't want to do it.        It's               11:11:49

    5    not critical; it's not compliant; it's not                            11:11:52

    6    possible; it's not worth it; it's too risky;                          11:11:54

    7    it's too much money.                                                  11:11:57

    8                  So what is the premise of Dr.                           11:11:58

    9    Becker's lost profits calculation?          Well, he                  11:12:00

   10    was asked, "You asked him" -- the "him" is Mr.                        11:12:03

   11    Obolsky -- "hey, if Unwired had not come out                          11:12:06

   12    with its solution, would Microchip still have                         11:12:08

   13    developed the Sandia chip?"                                           11:12:10

   14                  So why did Dr. Becker ask Mr.                           11:12:11

   15    Obolsky that in the first place?         He asked it                  11:12:14

   16    because the whole point of lost profits is I                          11:12:16

   17    lost profits because of what you did, point                           11:12:19

   18    one.                                                                  11:12:22

   19                  And point two, the only lost                            11:12:22

   20    profits analysis that Dr. Becker proffered was                        11:12:26

   21    for the Sandia chip.                                                  11:12:28

   22                  You heard he was super clear about                      11:12:29

   23    that.   I've got a lost profits number on                             11:12:31

   24    Sandia; I don't have one on Athens because                            11:12:33


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    1    Athens is different, and I've got a different                          11:12:36

    2    damages model for that and it's not lost                               11:12:39

    3    profits.                                                               11:12:43

    4                   For Dr. Becker, the starting point                      11:12:43

    5    was would Microchip have developed a                                   11:12:45

    6    single-lane persistent USB chip if it wasn't                           11:12:47

    7    for us.     Okay.   I think the answer to that                         11:12:50

    8    question is just flat out no.         There is no                      11:12:52

    9    reason to think they would have gone there if                          11:12:54

   10    they hadn't had to.                                                    11:12:56

   11                   And you see this in the documents,                      11:12:57

   12    right?     We pointed it out as a design that we                       11:12:59

   13    looked at and ruled out due to CarPlay                                 11:13:01

   14    compliance concern and maybe if it gets                                11:13:04

   15    approved by Apple, we'll think about it,                               11:13:06

   16    except it can't be approved by Apple until it                          11:13:08

   17    is designed, so it's never going to be                                 11:13:11

   18    approved by Apple.      So in short, they're never                     11:13:13

   19    going to do it.                                                        11:13:16

   20                   This, I think, is kind of funny.                        11:13:17

   21    Dr. Becker goes on to say -- he was asked, "If                         11:13:19

   22    Obolsky told you Unwired hadn't come out with                          11:13:22

   23    the Boston 2, Microchip would have developed                           11:13:24

   24    the Sandia chip even faster, right?"                                   11:13:26


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    1                   They are saying no, no, no,                             11:13:28

    2    learning about the Unwired competition slowed                          11:13:30

    3    us down.                                                               11:13:32

    4                   You guys read the documents for                         11:13:32

    5    yourselves.     I don't think you are going to                         11:13:34

    6    conclude that that is a remotely credible                              11:13:36

    7    assertion.                                                             11:13:38

    8                   That's the lost profit case.         If                 11:13:39

    9    they never would have done it, absent us, they                         11:13:40

   10    don't get lost profits.                                                11:13:43

   11                   Let's talk about a reasonable                           11:13:44

   12    royalty.     What is a reasonable royalty in this                      11:13:46

   13    case?   A few predicate facts, right?          What do                 11:13:48

   14    you think about?      Microchip doesn't get                            11:13:51

   15    compensated for our contributions, our                                 11:13:52

   16    intellectual property.       They don't get                            11:13:54

   17    compensation for what Mr. Dickens did and what                         11:13:56

   18    was already in the prior art.                                          11:13:59

   19                   They don't get compensated for                          11:14:00

   20    their bad business decision; that's on them.                           11:14:02

   21    I mean, that's not on us.                                              11:14:04

   22                   So how do you think about this?                         11:14:06

   23    The negotiating table, March of 2014, parties                          11:14:08

   24    are sitting across from each other and we're                           11:14:11


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    1    thinking hey, we're going to have to invest                           11:14:14

    2    like 10 million bucks for a small company.                            11:14:16

    3    It's a big deal, super risky, may not get                             11:14:18

    4    certification.    Apple may not like it, may not                      11:14:21

    5    sell well.    We've got all of our own IP that                        11:14:24

    6    we've developed in the course of this, that                           11:14:26

    7    ought to be worth a lot, right.                                       11:14:28

    8                  What is Microchip thinking?         Not                 11:14:30

    9    possible, not compliant, it's not even worth                          11:14:32

   10    one-and-a-half to $2 million to develop, or at                        11:14:34

   11    least we're not sure that it is.                                      11:14:37

   12                  That is the context in which the                        11:14:39

   13    parties would have been thinking about this.                          11:14:41

   14    I say this not to put forward a different                             11:14:43

   15    damages number because there's one different                          11:14:46

   16    damages number and it is zero.         But the fact                   11:14:48

   17    that Dr. Becker comes in here and says                                11:14:50

   18    $84 million relative to that probably tells                           11:14:53

   19    you something about what is motivating this                           11:14:59

   20    case and why we wound up here in court.                               11:15:00

   21                  So you have a verdict form to fill                      11:15:03

   22    out.   The first question, Is there direct                            11:15:06

   23    infringement?    Do we infringe?       The answer to                  11:15:09

   24    that question is no.                                                  11:15:11


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    1                   Next question is do we willfully                        11:15:14

    2    infringe?     I actually just find this                                11:15:15

    3    offensive.     Willful infringement means like                         11:15:18

    4    you did something really extra special bad.                            11:15:20

    5                   So what are the facts here; right?                      11:15:22

    6    We develop our thing ourselves independently,                          11:15:24

    7    they send us a letter that says any solution                           11:15:27

    8    infringes and they don't say anything specific                         11:15:29

    9    about our product.                                                     11:15:32

   10                   We write back and say no, we don't                      11:15:33

   11    think so.     They go silent for months and                            11:15:35

   12    months and months and months; say nothing.                             11:15:38

   13    Pop up in October, say we think you might                              11:15:40

   14    infringe.     We're going to test, and then go                         11:15:43

   15    silent again and then sue us.                                          11:15:45

   16                   And that is the record on which                         11:15:47

   17    they want you to conclude that we are the ones                         11:15:49

   18    who are willful in this case.         Just think                       11:15:52

   19    about that.                                                            11:15:53

   20                   Is the patent valid?       First, is it                 11:15:54

   21    obvious?     That's the Dickens/Belkin thing.          We              11:15:57

   22    think the answer to that question is yes.                              11:16:00

   23                   Is it invalid because it doesn't                        11:16:03

   24    describe an invention that is host-to-host                             11:16:06


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    1    communication?     The answer to that question is                     11:16:09

    2    yes, given the positions that they are taking                         11:16:11

    3    in the case.                                                          11:16:12

    4                   Is it invalid because it doesn't                       11:16:13

    5    teach people how to do that?        Yeah.    Look at                  11:16:16

    6    how much work it took them to try to figure                           11:16:19

    7    out a way to make this work.                                          11:16:21

    8                   That is the verdict form that you                      11:16:24

    9    will fill out in the case.                                            11:16:25

   10                   Now, I want to close with this.                        11:16:26

   11    Mr. Bohm came up with an idea to have a way                           11:16:29

   12    for two computers to share one peripheral                             11:16:34

   13    device, printer, whatever.        He said                             11:16:38

   14    off-the-shelf standard USB device, go get one,                        11:16:39

   15    this will be a way to share it.                                       11:16:43

   16                   And he was super clear, not USB                        11:16:44

   17    compliant, because there are two hosts and one                        11:16:46

   18    device.   That's the patent.                                          11:16:49

   19                   Unwired came up with a completely                      11:16:50

   20    different solution.      That solution was having                     11:16:53

   21    each host get its own device.        That is why it                   11:16:56

   22    is USB compliant.     You heard nothing about                         11:16:59

   23    that in Microchip's closing, but that is the                          11:17:03

   24    core fundamental difference between these                             11:17:09


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    1    products.                                                             11:17:12

    2                  So I want to end where we started,                      11:17:14

    3    which sort of is how we got here.         You saw it                  11:17:16

    4    in Mr. Obolsky's email which I showed to you                          11:17:20

    5    at the very beginning of the opening                                  11:17:23

    6    statement, right?     "Bottom line we missed it."                     11:17:25

    7                  In that email he points the finger                      11:17:27

    8    a lot at other people at Microchip, and on the                        11:17:29

    9    stand, he took blame for it himself.          He said                 11:17:33

   10    I'm one of the "we," right?        They did miss it.                  11:17:36

   11                  But fundamentally, that's on them.                      11:17:39

   12    Microchip is trying to use this lawsuit to                            11:17:46

   13    make up for its own bad business decision.                            11:17:49

   14                  We're very grateful that we are                         11:17:54

   15    here at this point after five years of                                11:17:56

   16    proceedings between the parties because this                          11:17:59

   17    is where it ends.     We're done.                                     11:18:01

   18                  I want to thank all of you.         I                   11:18:05

   19    don't get to talk to you again, at least not                          11:18:08

   20    until this is all over.       I do want to echo                       11:18:09

   21    what Mr. Slayden said about the diligence and                         11:18:14

   22    care with which you have listened to the                              11:18:17

   23    evidence.   It's hugely appreciated.                                  11:18:19

   24                  This case is really, really                             11:18:21


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    1    important to us.      It matters a lot to the                          11:18:23

    2    future of the business and we really                                   11:18:25

    3    appreciate your care and thoughtfulness and                            11:18:27

    4    attention to it.      So thank you.                                    11:18:31

    5                  THE COURT:     All right.                                11:18:37

    6                  So as I said yesterday, I have                           11:18:39

    7    just a few brief instructions for you on what                          11:18:42

    8    to do as you return to the jury room to begin                          11:18:44

    9    your deliberations.                                                    11:18:47

   10                  When you retire to the jury room                         11:18:51

   11    to deliberate, you may take with you these                             11:18:52

   12    instructions, your notes and the exhibits that                         11:18:55

   13    the Court has admitted into evidence.           Note                   11:18:58

   14    that some exhibits may appear missing in the                           11:19:00

   15    binders.    However, this is intentional.          You                 11:19:02

   16    should not draw any inferences from it.                                11:19:05

   17                  You should select one member of                          11:19:07

   18    the jury as your foreperson.         That person will                  11:19:09

   19    preside over the deliberations and speak for                           11:19:11

   20    you here in open court.                                                11:19:13

   21                  You have two main duties as                              11:19:14

   22    jurors.    The first one is to decide what the                         11:19:18

   23    facts are from the evidence you saw and heard                          11:19:20

   24    here in the court.      Deciding what the facts                        11:19:22


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    1    are is your job, not mine, and nothing that I                          11:19:24

    2    have said or done during this trial was meant                          11:19:27

    3    to influence your decision about the facts in                          11:19:29

    4    any way.                                                               11:19:31

    5                  Your second duty is to take the                          11:19:31

    6    law that I give you, apply it to the facts and                         11:19:33

    7    decide if, under the appropriate burden of                             11:19:36

    8    proof, the parties have established their                              11:19:39

    9    claims.                                                                11:19:41

   10                  It is my job to instruct you about                       11:19:41

   11    the law and you are bound by the oath that you                         11:19:44

   12    took at the beginning of the trial to follow                           11:19:46

   13    the instructions that I give you, even if you                          11:19:48

   14    personally disagree with them.          This includes                  11:19:50

   15    the instructions that I gave you before and                            11:19:52

   16    during the trial and these instructions.            All                11:19:54

   17    the instructions are important and you should                          11:19:57

   18    consider them together as a whole.                                     11:19:58

   19                  Perform these duties fairly.          Do                 11:20:00

   20    not let any bias, sympathy, or prejudice that                          11:20:02

   21    you may feel toward one side or the other                              11:20:05

   22    influence your decision in any way.                                    11:20:08

   23                  As jurors, you have a duty to                            11:20:10

   24    consult with each other and to deliberate with                         11:20:12


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    1    the intention of reaching a verdict.           Each of                 11:20:14

    2    you must decide the case for yourself, but                             11:20:16

    3    only after a full and impartial consideration                          11:20:19

    4    of all of the evidence with your fellow                                11:20:21

    5    jurors.                                                                11:20:24

    6                   Listen to each other carefully.                         11:20:24

    7    In the course of your deliberations, you                               11:20:26

    8    should feel free to re-examine your own views                          11:20:28

    9    and to change your opinion based on the                                11:20:30

   10    evidence.     But you should not give up your                          11:20:33

   11    honest convictions about the evidence just                             11:20:35

   12    because of the opinions of your fellow jurors.                         11:20:37

   13    Nor should you change your mind just for the                           11:20:39

   14    purpose of obtaining enough votes for a                                11:20:41

   15    verdict.                                                               11:20:45

   16                   When you start deliberating, do                         11:20:45

   17    not talk to Mr. Koehler, to me, another jury                           11:20:47

   18    officer, or to anyone but each other about the                         11:20:50

   19    case.     During your deliberations, you must not                      11:20:53

   20    communicate with or provide any information to                         11:20:56

   21    anyone by any means about this case.                                   11:20:58

   22                   You may not use any electronic                          11:21:01

   23    device or media, such as a cell phone, tablet,                         11:21:03

   24    or computer of any kind; the Internet, any                             11:21:05


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    1    Internet service, or any text or messaging                            11:21:07

    2    service like Twitter; or any Internet chat                            11:21:10

    3    room, blog, website, or social networking                             11:21:12

    4    service, such as Facebook, LinkedIn,                                  11:21:15

    5    Instagram, TikTok, Snapchat, GroupMe, or                              11:21:18

    6    YouTube, to communicate to anyone any                                 11:21:22

    7    information about this case or to conduct any                         11:21:24

    8    information about this case until I accept                            11:21:26

    9    your verdict.                                                         11:21:27

   10                   You may not use electronic means                       11:21:28

   11    to investigate or communicate about the case                          11:21:30

   12    because it is important that you decide this                          11:21:32

   13    case based solely on the evidence presented in                        11:21:34

   14    this courtroom.     Information on the Internet                       11:21:36

   15    or available for social media might be wrong,                         11:21:38

   16    incomplete, or inaccurate.        Information that                    11:21:41

   17    you might see on the Internet or on social                            11:21:42

   18    media has not been admitted into evidence and                         11:21:44

   19    the parties have not had a chance to discuss                          11:21:47

   20    it with you.     You should not seek to obtain                        11:21:49

   21    such evidence and it might -- and it must not                         11:21:51

   22    influence your decision in this case.                                 11:21:55

   23                   If you have any questions or                           11:21:57

   24    messages for me, you must write them down on a                        11:21:58


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    1    piece of paper, have the foreperson sign them                          11:22:01

    2    and give them to Mr. Koehler or another jury                           11:22:03

    3    officer.    The officer will give them to me,                          11:22:06

    4    and I will respond as soon as I can.           I may                   11:22:09

    5    have to talk to the lawyers about what you                             11:22:12

    6    have asked, so it may take some time to get                            11:22:14

    7    back to you.                                                           11:22:16

    8                   One more thing about messages.                          11:22:17

    9    Never write down or tell anyone how you stand                          11:22:19

   10    on your votes.     For example, do not write down                      11:22:21

   11    or tell anyone that a certain number has voted                         11:22:23

   12    one way or the other.       Your votes should stay                     11:22:26

   13    secret until you're finished.                                          11:22:29

   14                   Your verdict must represent the                         11:22:31

   15    considered judgment of each juror.           In order                  11:22:33

   16    for you as a jury to return a verdict, each                            11:22:34

   17    juror must agree to the verdict.          Your verdict                 11:22:37

   18    must be unanimous.                                                     11:22:39

   19                   A form of verdict has been                              11:22:41

   20    prepared for you.      It has a series of                              11:22:43

   21    questions for you to answer.         You will take                     11:22:45

   22    this form to the jury room and when you have                           11:22:47

   23    reached unanimous agreement as to your                                 11:22:49

   24    verdict, you will fill it in, and have your                            11:22:51


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    1    foreperson date and sign the form.          You will                  11:22:52

    2    then return to the courtroom and your                                 11:22:54

    3    foreperson will give you -- your foreperson                           11:22:56

    4    will give your verdict.       Unless I direct you                     11:23:00

    5    otherwise, do not reveal your answers until                           11:23:02

    6    you are discharged.      After you have reached a                     11:23:04

    7    verdict, you are not required to talk with                            11:23:07

    8    anyone about the case unless I order you to do                        11:23:09

    9    so.                                                                   11:23:12

   10                   Once again, I want to remind you                       11:23:12

   11    that nothing about my instructions and nothing                        11:23:14

   12    about the form of the verdict is intended to                          11:23:16

   13    suggest or convey in any way or manner what I                         11:23:19

   14    think your verdict should be.        I have not                       11:23:22

   15    indicated any opinion on my part concerning                           11:23:24

   16    the weight you should give to the evidence or                         11:23:27

   17    to any part of it.     I do not want you to think                     11:23:29

   18    that I have.     It's up to you and you alone to                      11:23:31

   19    decide the believability of each witness.                             11:23:34

   20                   I have one addendum to that.                           11:23:37

   21    During the course of the trial, I think you                           11:23:39

   22    heard reference a couple times to exhibits                            11:23:41

   23    that were described as "native exhibits."                             11:23:43

   24    What that means is that it's an exhibit that's                        11:23:45


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    1    something like a spreadsheet, which is not                            11:23:49

    2    easily translated into a document or a piece                          11:23:51

    3    of paper that we can put up on the screen for                         11:23:54

    4    you.                                                                  11:23:56

    5                  So my understanding is you are                          11:23:57

    6    going to receive a computer that will give you                        11:23:58

    7    the ability to access those spreadsheets.           So                11:24:01

    8    I said don't use a computer, don't use a                              11:24:04

    9    computer, but use the computer for the limited                        11:24:06

   10    purpose of looking at the spreadsheets if you                         11:24:08

   11    decide you want to look at them.         Okay?                        11:24:10

   12                  And with that, you can retire to                        11:24:12

   13    the jury room and you will be sworn in before                         11:24:15

   14    you begin your deliberations.                                         11:24:19

   15                  (Whereupon, the jury retired to                         11:24:19

   16    the jury room for deliberations.)                                     11:24:49

   17                  THE COURT:    All right.      You can be                11:24:49

   18    seated.   They are going to take their oath.                          11:24:50

   19                  Anything we need to tackle?                             11:24:53

   20                  MS. DURIE:    No, Your Honor.       I am                11:24:55

   21    just curious as to, on a leash, I mean, we are                        11:24:56

   22    all back at the hotel, have cell phones, I                            11:25:00

   23    assume that's okay?                                                   11:25:02

   24                  THE COURT:    That's fine with me.                      11:25:03


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    1    You know, I don't know how quickly I'm likely                          11:25:08

    2    to get any kind of question from them, but I                           11:25:10

    3    would get you back here, so if people want to                          11:25:13

    4    pack up...                                                             11:25:15

    5                   MS. DURIE:    We're five minutes                        11:25:16

    6    away.                                                                  11:25:18

    7                   THE COURT:    I know you are.          Not              11:25:18

    8    too far.     That's fine with me.       If you're back                 11:25:20

    9    at the hotel, that's fine.         Just make sure Mr.                  11:25:24

   10    Koehler has the right contact.          We want to                     11:25:27

   11    contact one person for each side, and whoever                          11:25:30

   12    that is, they will contact everyone else.                              11:25:32

   13                   MS. DURIE:    Thank you, Your Honor.                    11:25:35

   14                   THE COURT:    All right.      We'll                     11:25:36

   15    stand in recess.      You can obviously go about                       11:25:37

   16    cleaning up; I am going to do the same.               I                11:25:41

   17    have a lot of witness binders up here.            I                    11:25:44

   18    don't know that I need them for anything.                              11:25:46

   19                   MS. DURIE:    I think we can relieve                    11:25:48

   20    you of them.                                                           11:25:52

   21                   THE COURT:    Yeah, somebody can                        11:25:53

   22    probably take them.                                                    11:25:54

   23                   (Whereupon, the Court stood in                          11:25:59

   24    recess for jury deliberations.)                                        11:26:01


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    1                                   - - -                                   12:56:32

    2                  (Whereupon, the Court resumed                            12:56:32

    3    proceedings at 1:05 p.m. )                                             12:56:39

    4                  THE COURT CLERK:         All rise.                       12:58:10

    5                  THE COURT:     All right.        Have a                  13:01:05

    6    seat, please.     All right.                                           13:01:07

    7                  So we got a question from the                            13:01:10

    8    jury.   The question reads, "Does the                                  13:01:14

    9    foreperson have to read each question and the                          13:01:16

   10    answer?"                                                               13:01:18

   11                  And then it's signed by Mr.                              13:01:21

   12    Sisofo, I guess that's -- I don't know how you                         13:01:26

   13    pronounce that, but I guess he's the                                   13:01:28

   14    foreperson.                                                            13:01:31

   15                  So my thought is to just call them                       13:01:32

   16    in and give them an overview of the process,                           13:01:36

   17    which is that when they reach a verdict, Mr.                           13:01:39

   18    Koehler will read for them each question on                            13:01:43

   19    the verdict sheet and then ask the foreperson                          13:01:45

   20    to answer.    Okay?                                                    13:01:48

   21                  MS. DURIE:     Yep.      Fine.                           13:01:50

   22                  THE COURT:     Okay.      Mr. Koehler,                   13:01:51

   23    bring them in.                                                         13:01:54

   24                  (Whereupon, the jury entered the                         13:02:32


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    1    courtroom.)                                                            13:02:36

    2                  THE COURT:     Everybody can have a                      13:03:02

    3    seat.   All right.     So I got a question from                        13:03:09

    4    you that says, "Does the foreperson have to                            13:03:12

    5    read each question and the answer," signed by                          13:03:16

    6    Mr. Sisofo.                                                            13:03:20

    7                  So just by way of overview, the                          13:03:21

    8    way the process will work is whenever you do                           13:03:23

    9    reach a verdict, we'll bring you in.           Mr.                     13:03:27

   10    Koehler will ask each question that's on the                           13:03:30

   11    verdict sheet, and whoever the foreperson is                           13:03:36

   12    will respond with whatever your answer is.              A              13:03:40

   13    lot of them are yes/no questions; some of them                         13:03:43

   14    are not.    So that's the process that we'll use                       13:03:45

   15    whenever you reach a verdict.                                          13:03:47

   16                  Okay?    All right.     So with that,                    13:03:49

   17    we can take you back to resume your                                    13:03:53

   18    deliberations.                                                         13:03:55

   19                  (Whereupon, the jury was excused                         13:03:56

   20    from the courtroom to resume deliberations.)                           13:03:58

   21                  THE COURT:     Okay.    And I don't                      13:04:15

   22    know if we'll -- I don't know what the process                         13:04:16

   23    is locally, if we save these or not, but I'll                          13:04:19

   24    mark it as Question 1 and we'll add it.              Okay.             13:04:23


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    1    So we are going to mark this as Question 1.                            13:04:26

    2                   (Whereupon, the Jury Note was                           13:04:26

    3    marked as Question 1.)                                                 13:04:29

    4                   THE COURT CLERK:      Sure.                             13:04:29

    5                   THE COURT:    And we'll stand in                        13:04:30

    6    recess until we hear from them again.                                  13:04:31

    7                   MS. DURIE:    All right.                                13:04:33

    8                   (Whereupon, the Court stood in                          13:04:34

    9    recess for jury deliberations.)                                        13:04:37

   10                   (Whereupon, the Court resumed                           13:08:58

   11    proceedings at 1:10 p.m.)                                              13:09:02

   12                   THE COURT:    All right.      Have a                    13:11:42

   13    seat.     And I gather we have a verdict, so Mr.                       13:11:44

   14    Koehler, why don't you get the jury.                                   13:11:49

   15                   (Whereupon, the jury entered the                        13:13:02

   16    courtroom.)                                                            13:13:06

   17                   THE COURT:    All right.      You can be                13:13:07

   18    seated.                                                                13:13:08

   19                   I understand we have a verdict; is                      13:13:09

   20    that correct?                                                          13:13:11

   21                   THE FOREPERSON:      Yes.                               13:13:11

   22                   THE COURT:    So I am going to ask                      13:13:13

   23    Mr. Koehler to proceed, and we'll ask the                              13:13:15

   24    foreman to rise.                                                       13:13:24


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    1                  THE COURT CLERK:      Section 1,                        13:13:27

    2    Direct Infringement.                                                  13:13:29

    3                  "Question 1:     Has Microchip proven                   13:13:30

    4    by a preponderance of the evidence that Aptiv                         13:13:32

    5    directly infringed the following asserted                             13:13:35

    6    claims?                                                               13:13:38

    7                  "'Yes' is in favor of Microchip                         13:13:38

    8    and 'No' is in favor of Aptiv."                                       13:13:40

    9                  With regards to the '243 Patent,                        13:13:43

   10    claim 23?                                                             13:13:45

   11                  THE FOREPERSON:      No.                                13:13:47

   12                  THE COURT CLERK:      Claim 24?                         13:13:50

   13                  THE FOREPERSON:      No.                                13:13:51

   14                  THE COURT CLERK:      Claim 25?                         13:13:52

   15                  THE FOREPERSON:      No.                                13:13:53

   16                  THE COURT CLERK:      "Question 3:                      13:14:00

   17    Has Aptiv proven by clear and convincing                              13:14:04

   18    evidence that the following claims are invalid                        13:14:06

   19    as obvious based on the Dickens prior art in                          13:14:09

   20    view of the US-98 physical device or the                              13:14:12

   21    Dickens prior art in view of the Belkin                               13:14:15

   22    physical device?                                                      13:14:18

   23                  "'Yes' is in favor of Aptiv and                         13:14:19

   24    'No' is in favor of Microchip."                                       13:14:21


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    1                   In regards to the '243 Patent,                         13:14:23

    2    claim 23?                                                             13:14:25

    3                   THE FOREPERSON:     No.                                13:14:27

    4                   THE COURT CLERK:     Claim 24?                         13:14:28

    5                   THE FOREPERSON:     No.                                13:14:29

    6                   THE COURT CLERK:     Claim 25?                         13:14:30

    7                   THE FOREPERSON:     No.                                13:14:31

    8                   THE COURT CLERK:     "Question 4,                      13:14:34

    9    Validity.     Has Aptiv proven by clear and                           13:14:36

   10    convincing evidence that the following claims                         13:14:39

   11    are invalid due to a lack of adequate written                         13:14:41

   12    description?                                                          13:14:45

   13                   "'Yes' is in favor of Aptiv and                        13:14:45

   14    'No' is in favor of Microchip."                                       13:14:47

   15                   In regards to the '243 Patent,                         13:14:49

   16    claim 23?                                                             13:14:51

   17                   THE FOREPERSON:     No.                                13:14:52

   18                   THE COURT CLERK:     Claim 24?                         13:14:53

   19                   THE FOREPERSON:     No.                                13:14:55

   20                   THE COURT CLERK:     Claim 25?                         13:14:56

   21                   THE FOREPERSON:     No.                                13:14:56

   22                   THE COURT CLERK:     Question 5,                       13:14:59

   23    Enablement.                                                           13:15:01

   24                   "Has Aptiv proven by clear and                         13:15:02


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    1    convincing evidence that the following claims                         13:15:04

    2    are invalid for failure to enable the claimed                         13:15:06

    3    invention?                                                            13:15:09

    4                   "'Yes' is in favor of Aptiv and                        13:15:10

    5    'No' is in favor of Microchip."                                       13:15:12

    6                   In regards to the '243 Patent,                         13:15:14

    7    claim 23?                                                             13:15:17

    8                   THE FOREPERSON:        No.                             13:15:18

    9                   THE COURT CLERK:        Claim 24?                      13:15:19

   10                   THE FOREPERSON:        No.                             13:15:21

   11                   THE COURT CLERK:        Claim 25?                      13:15:21

   12                   THE FOREPERSON:        No.                             13:15:23

   13                   THE COURT:     All right, you can                      13:15:49

   14    have a seat.     All right.                                           13:15:50

   15                   Mr. Slayden, any requests, polling                     13:15:51

   16    or anything like that?                                                13:15:54

   17                   MR. SLAYDEN:     No, Your Honor.                       13:15:55

   18                   THE COURT:     Okay.     All right.                    13:15:57

   19    Then ladies and gentlemen, that does conclude                         13:16:01

   20    your service.     I want to thank you.        I want to               13:16:02

   21    echo what both Ms. Durie and Mr. Slayden said                         13:16:05

   22    during closings.     I was watching, too, during                      13:16:12

   23    the trial.     You all were paying attention,                         13:16:14

   24    listening to the evidence, taking it in,                              13:16:16


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    1    processing it and being very attentive, even                          13:16:20

    2    when I was giving my instructions, you seemed                         13:16:23

    3    pretty focused on that as well.         So I give you                 13:16:25

    4    a lot of credit.     It is not an easy job, but                       13:16:27

    5    it's a vital one.                                                     13:16:30

    6                  As I said at the beginning, our                         13:16:31

    7    system doesn't function without it and I know                         13:16:33

    8    it's an inconvenience, but it is an important                         13:16:36

    9    one.                                                                  13:16:38

   10                  The last thing I'll say on this is                      13:16:38

   11    most people's conceptions of what happens in a                        13:16:42

   12    courtroom unfortunately comes from what they                          13:16:46

   13    see on TV and in the movies.        As you have now                   13:16:48

   14    seen for the last week, there is some current                         13:16:52

   15    truth in that, but it is not necessarily an                           13:16:55

   16    accurate depiction, and so I'll just ask that                         13:16:56

   17    each of you can be an ambassador on this score                        13:17:00

   18    and tell people what happened here so that                            13:17:03

   19    they have a better picture of it.         If you want                 13:17:05

   20    to talk about your experiences, relate your                           13:17:07

   21    experiences, I think it's a valuable service                          13:17:11

   22    to do that to give some specific education                            13:17:14

   23    about what does happen in a courtroom.                                13:17:17

   24                  All right.    So with that, I'll                        13:17:19


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    1    release you to the back.        I am going to ask                      13:17:21

    2    you, unless someone has somewhere vital to be,                         13:17:23

    3    probably not, you thought you were going to be                         13:17:26

    4    here a little longer, if you can just hang on                          13:17:28

    5    for another 5 to 10 minutes just so that I can                         13:17:30

    6    come back and thank you myself a little more                           13:17:33

    7    personally, I'd appreciate it.          Okay.       All                13:17:36

    8    right.     Thank you for your service.          I                      13:17:38

    9    appreciate it.                                                         13:17:40

   10                   (Whereupon, the jury was excused.)                      13:17:40

   11                   THE COURT:    All right.      You can be                13:18:03

   12    seated.                                                                13:18:05

   13                   My general practice under the                           13:18:05

   14    circumstances is to ask the jury if they are                           13:18:11

   15    willing to stick around and chat with you for                          13:18:14

   16    a few minutes.     I assume that's something                           13:18:16

   17    everybody would be interested in.          If they're                  13:18:19

   18    willing?                                                               13:18:20

   19                   MS. DURIE:    Yes.                                      13:18:21

   20                   THE COURT:    Okay.    My general                       13:18:22

   21    approach to that, just because I find it's                             13:18:24

   22    easiest, is to just, first of all, if one of                           13:18:28

   23    them doesn't want to, they can go obviously;                           13:18:31

   24    it's their call.      If they are willing to, what                     13:18:34


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    1    I might just do is bring them back out here                           13:18:36

    2    and let them sit in the jury box and they can                         13:18:39

    3    chat with you sort of as a collective group                           13:18:41

    4    with sort of the questions you have.                                  13:18:44

    5                  MS. DURIE:     Great.    Thank you.                     13:18:45

    6                  THE COURT:     Anything else we need                    13:18:46

    7    to take up before I adjourn?                                          13:18:47

    8                  MS. DURIE:     No.                                      13:18:49

    9                  MR. SLAYDEN:     No.                                    13:18:50

   10                  THE COURT:     So I am going to go                      13:18:50

   11    back and chat with them for a few minutes, and                        13:18:51

   12    then I'll see if they want to come out.           All                 13:18:54

   13    right.   Thanks.                                                      13:18:57

   14                  (Whereupon, the Court concluded                         13:18:57

   15    proceedings.)

   16

   17

   18

   19

   20

   21

   22

   23

   24


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   1                               C E R T I F I C A T E
   2
   3                        I do hereby certify that I am a
         Notary Public in good standing, that the
   4     aforesaid; proceedings were taken before me,
         pursuant to notice, at the time and place
   5     indicated; that the proceedings were correctly
         recorded in machine shorthand by me and
   6     thereafter transcribed under my supervision
         with computer-aided transcription; that the
   7     transcript is a true and correct record of the
         proceedings; and that I am neither of counsel
   8     nor kin to any party in said action, nor
         interested in the outcome thereof.
   9
                            WITNESS by hand and official seal
  10     this 13th day of April, 2022.
  11                                                   __________________
                                                            Notary Public
  12
  13
  14
  15     Job No. 5162172
  16
  17
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